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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                                                     21 cv 7532 (CM)
In re:                                               21 cv 7585 (CM)
                                                     21 cv 7961 (CM)
PURDUE PHARMA L.P., et al.,
                                                     21 cv 7962 (CM)
BANKRUPTCY APPEALS
                                                     21 cv 7966 (CM)
                                                     21 cv 7969 (CM)
                                                     21 cv 8034 (CM)
                                                     21 cv 8042 (CM)
This Filing Relates to                               21 cv 8049 (CM)
                                                     21 cv 8055 (CM)
                                                     21 cv 8139 (CM)
                                                     21 cv 8258 (CM)
                                                     21 cv 8271 (CM)
               ALL MATTERS                           21 cv 8548 (CM)
                                                     21 cv 8566 (CM)
                                                     On Appeal from the United
                                                     States Bankruptcy Court for the
                                                     Southern District of New York

                         BRIEF OF THE DEBTORS-APPELLEES

                                       Marshall S. Huebner
                                       (marshall.huebner@davispolk.com)
                                       Benjamin S. Kaminetzky
                                       (ben.kaminetzky@davispolk.com)
                                       Eli J. Vonnegut
                                       (eli.vonnegut@davispolk.com)
                                       James I. McClammy
                                       (james.mcclammy@davispolk.com)
                                       Marc J. Tobak
                                       (marc.tobak@davispolk.com)
                                       Gerard X. McCarthy
                                       (gerard.mccarthy@davispolk.com)


                                       DAVIS POLK & WARDWELL LLP
                                       450 Lexington Avenue
                                       New York, New York 10017
                                       Telephone: (212) 450-4000
                                       Facsimile: (212) 607-7984

                                       Counsel to the Debtors-Appellees
                                       and Debtors in Possession
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                        CORPORATE DISCLOSURE STATEMENT

       Purdue Pharma L.P. (“PPLP”) and its affiliates that are debtors and debtors in possession

in the above-captioned chapter 11 proceedings (collectively, the “Debtors”), by and through

undersigned counsel, respectfully represent:

       1.      Non-Debtor Pharmaceutical Research Associates L.P. directly owns 100% of the

ownership interests of PPLP. Non-Debtor PLP Associates Holdings L.P. directly owns

approximately 99.5061% of the ownership interests of Pharmaceutical Research Associates L.P.

Non-Debtor BR Holdings Associates L.P. directly owns 100% of the ownership interests of PLP

Associates Holdings L.P. Non-Debtor Beacon Company and non-Debtor Rosebay Medical

Company L.P. each directly owns 50% of the ownership interests of BR Holdings Associates

L.P. Non-Debtor Heatheridge Trust Company Limited, as Trustee under Settlement dated 31

December 1993 directly owns 100% of the ownership interests of Beacon Company. Richard S.

Sackler, M.D. and Cedar Cliff Fiduciary Management Inc., as Trustees under Trust Agreement

dated November 5, 1974, directly own 98% of the ownership interests of Rosebay Medical

Company L.P. To the best of the Debtors’ knowledge and belief, no other person or entity

directly or indirectly owns 10% or more of the ownership interests of PPLP.

       2.      Non-debtor Banela Corporation directly owns 50% of the ownership interests of

Debtor Purdue Pharma Inc. (“PPI”); non-debtor Linarite Holdings LLC directly owns 25% of

the ownership interests of PPI; and non-debtor Perthlite Holdings LLC directly owns 25% of the

ownership interests of PPI. Non-debtor Millborne Trust Company Limited, as Trustee of the

Hercules Trust under Declaration of Trust dated 2 March 1999, directly owns 100% of the

ownership interests of Banela Corporation. Non-debtor Data LLC, as Trustee under Trust

Agreement dated December 23, 1989, directly owns 100% of the ownership interests of Linarite

Holdings LLC. Non-debtor Cornice Fiduciary Management LLC, as Trustee under Trust


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Agreement dated December 23, 1989, directly owns 100% of the ownership interests of Perthlite

Holdings LLC. To the best of the Debtors’ knowledge and belief, no other person or entity

directly or indirectly owns 10% or more of the ownership interests of PPI.

       3.     PPLP directly owns 100% of the ownership interests of the following Debtors:

Purdue Transdermal Technologies L.P., Purdue Pharmaceuticals L.P., Purdue Pharma

Manufacturing L.P., Adlon Therapeutics L.P., Imbrium Therapeutics L.P., Greenfield

BioVentures L.P., Nayatt Cove Lifescience Inc., Purdue Pharmaceutical Products L.P., Rhodes

Associates L.P., Avrio Health L.P., Seven Seas Hill Corp., and Ophir Green Corp. PPLP directly

owns 99% of the ownership interests of Debtor Purdue Neuroscience Company. PPI directly

owns the remaining 1% of the ownership interests of Purdue Neuroscience Company.

       4.     Debtor Rhodes Associates L.P. directly owns 100% of the ownership interests of

the following Debtors: Rhodes Technologies, Rhodes Pharmaceuticals L.P. and Paul Land Inc.

       5.     Debtor Rhodes Technologies directly owns 100% of the ownership interests of

Debtor UDF L.P. and Debtor SVC Pharma Inc.

       6.     Debtor UDF LP directly owns 100% of the ownership interests of Debtor Button

Land L.P. and Debtor Quidnick Land L.P. Debtor UDF LP directly owns 99% of the ownership

interests of Debtor SVC Pharma LP. Debtor SVC Pharma Inc. directly owns 1% of the

ownership interests of Debtor SVC Pharma LP.

       7.     Debtor Seven Seas Hill Corp. and Debtor Ophir Green Corp. each directly owns

50% of the ownership interests of Debtor Purdue Pharma of Puerto Rico.




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                               JURISDICTIONAL STATEMENT

       Judge Robert D. Drain of the United States Bankruptcy Court for the Southern District of

New York (“Bankruptcy Court”) had subject matter jurisdiction to enter a final order

confirming the Twelfth Amended Plan of Reorganization (App. A3049 (“Plan”)) and the order

confirming the Plan (App. A3537 (“Confirmation Order”)) of Purdue Pharma L.P. and its

affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, “Debtors” or “Purdue”) pursuant to 28 U.S.C. § 157(a) and (b) and 1334(a).1

This Court has jurisdiction to hear this appeal under 28 U.S.C. § 158(a)(1), which confers

jurisdiction to district courts to hear appeals “from final judgments, orders, and decrees” of

bankruptcy courts. 28 U.S.C. § 158(a)(1).

                     COUNTER STATEMENT OF ISSUES ON APPEAL

       1.      Did the Bankruptcy Court correctly determine that the Plan’s Shareholder

Releases are appropriate under governing Second Circuit law?

       2.      Did the Bankruptcy Court abuse its discretion in determining that the Shareholder

Settlement is fair and equitable and in the best interests of the estates?

       3.      Did the Bankruptcy Court correctly determine that the Plan is in the “best

interest” of creditors under section 1129(a)(7) of the Bankruptcy Code?

       4.      Did the Bankruptcy Court correctly determine that the Shareholder Releases and

the Plan’s classification scheme were proper as to certain Canadian entities?




       1
          All capitalized terms not defined herein shall have the meaning ascribed to such terms
in the Plan. (See Plan § 1.1.) For reference, see Debtors Glossary of Terms, Dkt. No. 115, State
of Washington v. Purdue Pharma L.P. (In re Purdue Pharma L.P.), Case No. 21-cv-7532 (CM)
(S.D.N.Y).



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       5.      Did the Bankruptcy Court abuse its discretion by issuing the Order (I) Approving

the Disclosure Statement for Fifth Amended Joint Chapter 11 Plan (II) Solicitation and Voting

Procedures, (III) Forms of Ballots, Notices and Notice Procedures in Connection Therewith, and

(IV) Certain Dates with Respect Thereto (the “Disclosure Statement Order”) (App. A0374) and

Order (I) Authorizing the Debtors to Fund Establishment of the Creditor Trusts, the Master

Disbursement Trust, and TopCo (II) Directing Prime Clerk LLC to Release Certain Protected

Information, and (III) Granting Other Related Relief (Sept. 15, 2021) (App. A3372) (the

“Advance Order”)?

                           STANDARD OF REVIEW ON APPEAL

       A bankruptcy court’s factual findings are reviewed for clear error and legal conclusions

are reviewed de novo. See Elliot v. Gen. Motors LLC (In re Motors Liquidation Co.), 829 F.3d

135, 157 (2d Cir. 2016) (“Motors Liquidation”). The clearly erroneous standard of review is

highly deferential, and where a bankruptcy court’s “account of the evidence is plausible in light

of the record viewed in its entirety, the court of appeals may not reverse it even though

convinced that had it been sitting as the trier of fact, it would have weighed the evidence

differently.” Amadeo v. Zant, 486 U.S. 214, 223 (1988) (internal quotation and citation omitted).

The reasonableness of a bankruptcy court’s application of Federal Rule of Bankruptcy Procedure

9019 in determining whether to approve a settlement is reviewed for abuse of discretion. See In

re Iridium Operating LLC, 478 F.3d 452, 461 n.13 (2d Cir. 2007). A bankruptcy court’s legal

conclusions, including a determination that it has subject matter jurisdiction, are reviewed de

novo. See Motors Liquidation, 829 F.3d at 152.




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                                        INTRODUCTION

       According to the Appellants,2 because the Plan received support from “only” 95% of

120,000 voting creditors (including 97% of almost 5,000 voting governmental creditors)—

instead of absolute unanimity and 100% voter participation from the more than 600,000

contingent creditors—the law mandates that billions of dollars of value that could be dedicated to

abate the opioid crisis, compensate victims, and provide life-saving medications must be

destroyed in a liquidation. Appellants prefer that creditors instead spend years pursuing

uncertain recoveries in thousands of separate, uncoordinated, and protracted races to the

courthouse. The fact—as found by the Bankruptcy Court—that this massive destruction of value

would occur, and that creditors, including the Appellants, would likely recover nothing from

Purdue if the Plan is not consummated, was not contested by the Appellants at trial. They

nevertheless continue to assert that the law compels this tragic result.

       Thankfully, they are wrong. For more than 30 years, Second Circuit law has authorized

bankruptcy courts to confirm plans of reorganization that enjoin, channel, and non-consensually

release claims between creditors of a chapter 11 debtor and third parties in extraordinary

circumstances where, as here, the reorganization of the debtors and adjustment of the debtor-

creditor relationship requires that inextricably linked third-party claims be resolved as

well. After receiving testimony from 41 confirmation witnesses and entering into evidence more

than 2,800 exhibits, the Bankruptcy Court issued a 159-page ruling making detailed factual

       2
         “Appellants” means, jointly, the United States Trustee (“U.S. Trustee”), the States of
California, Washington, Connecticut, Delaware, Rhode Island, Vermont, Maryland, Oregon, and
the District of Columbia (collectively, the “State Appellants”), the City of Grande Prairie, the
City of Brantford, the City of Lethbridge, and the City of Wetaskiwin (collectively, the
“Canadian Municipalities”), The Peter Ballantyne Cree Nation and The Lac La Ronge Indian
Band (collectively, “Canadian First Nations,” together with the Canadian Municipalities,
“Canadian Appellants”), Ronald Bass, Ellen Isaacs, and Maria Ecke.



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findings supporting confirmation of the Plan. The record definitively established that the third-

party releases included in the Plan, including those targeted by the Appellants under Section 10.7

of the Plan (“Shareholder Releases”) were necessary, both because the Debtors’ ultimate

owners (“Sacklers” or “Sackler Families”) would not agree to contribute billions of dollars to

the Plan without receiving those releases in return and because the creditors—who outnumber

the Appellants many thousands of times over—would “never agree to a structure under which

their own recoveries [under the Plan] were delayed and in fact exposed to the threat of complete

dissipation if other similarly situated creditors asserting claims in the billions of dollars were

allowed to pursue their claims to judgment . . . against the Sacklers.” (App. A4618 (Aug. 23,

2021 Conf. Hr’g Tr.) at 97:14-98:7.) Without the Sacklers’ settlement payments and the

Shareholder Releases, the Plan’s many complex intercreditor settlements collapse. This too was

found by the trier of fact. With that collapse would come protracted and costly intercreditor

litigation where creditors would vie against one another for shares of an ever-shrinking pie, and

liquidation would likely ensue. Moreover, to leave no doubt that the Shareholder Releases fit

squarely within Second Circuit law, the Bankruptcy Court repeatedly and significantly narrowed

their scope, ultimately conditioning confirmation of the Plan on a final narrowing of the

Shareholder Releases to cover only claims for which the Debtors’ conduct is a “legal cause” or a

“legally relevant factor.” (App. A3508 (Modified Bench Ruling (“MBR”) at 131.)

       Because the facts found at trial and decades of established precedent support the Plan’s

releases, the Appellants must resort to asking this Court to create new law to achieve their

preferred outcome. The Appellants’ attack on controlling law is most obvious when they argue

that the Second Circuit should reverse 33 years of consistent jurisprudence on non-consensual

third-party releases, depart from the majority of other Circuits, and newly hold that such releases




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are categorically forbidden. The State Appellants go even further in seeking to overturn settled

law and ask the Court to give them and only them a brand-new bespoke exception from the

Second Circuit’s third-party release case law for so-called “police power” claims. But it is well

established that bankruptcy courts have the power to enjoin state “police power” actions

(especially those for money damages for past conduct) when such actions interfere with (and in

this case preclude) a reorganization. The grab-bag of federalism doctrines that the Appellants

cite neither have any application to a basic exercise of federal bankruptcy law nor justify

inventing a new exception that would give a single governmental actor the right to veto any plan,

even if supported by tens or hundreds of thousands of others.

       The Appellants next argue that the Bankruptcy Court lacked subject matter jurisdiction to

issue the channeling injunction and Shareholder Releases. They are wrong. Under Second

Circuit law, the confirmation hearing and injunction contained in the Confirmation Order “arises

in” the chapter 11 cases, and the claims subject to the release easily surpass the minimum

“conceivable effect” on the estate necessary to support “related to” jurisdiction. SPV OSUS, Ltd.

v. UBS AG, 882 F.3d 333, 339-40 (2d Cir. 2017). The Appellants ask this Court to ignore the

Bankruptcy Court’s detailed factual findings of manifold and inextricable connections between

the claims subject to the Shareholder Releases and the Debtors’ estates—and Judge Drain’s order

limiting the releases to claims where the “Debtor’s conduct, or a claim asserted against the

Debtor” is a “legal cause of the released claim, or a legally relevant factor to the third-party

cause of action against the shareholder released party.” (App. A3508 (MBR) at 131).)

       The U.S. Trustee (and the United States Department of Justice (“DOJ”), in its “Statement

of Interest”) goes even further in its attempt to nullify existing and governing third-party release

case law by arguing that due process requires full-scale litigation on the merits—literally every




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single claim—before a claim can be released or enjoined without claimants’ consent. But this, of

course, is directly contrary to decades of decisions authorizing third-party releases and would

eviscerate the bankruptcy system’s ability to resolve complex mass tort matters. It also

improperly conflates litigation on the merits with the power to enjoin and release such litigation

as part of a bankruptcy plan. And it ignores the truly extraordinary (and extraordinarily costly)

notice of the bar date that reached an estimated 98% of the U.S. adult population, with an

average frequency of exposure of eight times, and separately of the confirmation hearing that

reached an estimated 87% of the U.S. adult population with an average frequency of message

exposure of five times, as shown by uncontested evidence at trial. The Appellants’ hodgepodge

of other arguments—including that the Bankruptcy Court allegedly lacked constitutional or

statutory authority to enter a final order confirming a plan of reorganization that contained third-

party releases or that the Plan somehow violates the Bankruptcy Clause—are equally without

merit.

         Bereft of legal or factual support for their arguments, many Appellants advance two

overarching, false narratives. One is that, as Maryland and others shockingly claim, there is “no

question that [the] Debtors would be able to successfully reorganize here without the Sackler

contribution.” (Md. Br. at 56.) As explained above, the evidence demonstrates that is not

so. Indeed, the states themselves, including all of the State Appellants, expressly conditioned

their Phase One Mediation agreements with the private creditors on a settlement with the

Sacklers. Another is that, as the U.S. Trustee in a grievous, baseless insult to creditors and their

professionals, who spent years crafting this plan, asserts that Purdue “substituted its judgment for

the victim’s own judgment about whether it was best” to accept the settlements and recoveries

under the Plan rather than pursue their third-party claims. (UST Br. at 30.) Here, too, the




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evidence is exclusively and overwhelmingly to the contrary. Testimony from the many

architects of the years-long legal strategy that forced Purdue into bankruptcy and brought the

Sacklers to the negotiating table, and from an advisor to the Official Committee of Unsecured

Creditors (“UCC”) that serves as the fiduciary for all unsecured creditors in the cases,

demonstrated that creditors led a more than two-year effort to extract maximum value from the

Sacklers, and ultimately, to accept the Plan’s resolution of their claims against the Sacklers.

These efforts included exhaustive discovery (likely the broadest discovery ever conducted in a

chapter 11 case), grueling negotiations, and multi-party, multi-state mediation guided by three

preeminent mediators.

       Tellingly, although one would not know it from the Appellants’ briefs, every single

organized creditor group in the Debtors’ chapter 11 cases supports the Plan, including (1) the

UCC; (2) the Ad Hoc Committee of Governmental and Other Contingent Litigation Claimants

(“Ad Hoc Committee”) (which includes the court-appointed Plaintiffs’ Executive Committee

and Co-Lead Counsel (“PEC”) in the Ohio multidistrict litigation (“MDL”) (where over 2,200

of the prepetition litigation has been consolidated); (3) the Multi-State Governmental Entities

Group (“MSGE”); (4) the Native American Tribes; (5) the Ad Hoc Committee of NAS Children

(“NAS Committee”); (6) the Ad Hoc Group of Hospitals (“Hospitals”); (7) the Ad Hoc Group

of Individual Victims (“PI Group”; (8) the Third-Party Payor group; (9) the group of ratepayer

mediation participants; (10) the group of public school districts; and (11) the majority of states

that formerly constituted the Non-Consenting States.3 Thus, the many groups of creditors who


       3
         The group formally known as the “Non-Consenting States” included California,
Colorado, Connecticut, Delaware, the District of Columbia, Hawaii, Idaho, Illinois, Iowa, Maine,
Maryland, Massachusetts, Minnesota, Nevada, New Hampshire, New Jersey, New York, North
Carolina, Oregon, Pennsylvania, Rhode Island, Vermont, Virginia, Washington, and
Wisconsin. However, the majority of this group (the underlined members) voted in favor of the
(….continued)


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actually represent the victims (on whose behalf the Trustee purports to object) support the Plan.

Intimations to the contrary are false and, of course, unsupported by a shred of evidence.

       For all of these reasons, and for the reasons set forth below,4 the Confirmation Order

should be affirmed.

                                 STATEMENT OF THE CASE

I.     The Pre-Petition Litigation Against the Debtors and Related Parties

       Before initiating their chapter 11 cases, the Debtors were defendants in more than 2,600

civil actions in dozens of courts and other fora around the country (“Pending Actions”). (App.

A2095 (JX-3044) (Declaration of Jesse DelConte) (“DelConte Fact Decl.”) ¶ 34 n.9.) Plaintiffs

generally alleged that the Debtors acted improperly in the marketing and sale of opioid

medications and sought monetary damages based on public nuisance, consumer protection laws,

unjust enrichment, false claims acts, and similar claims. See, e.g., Transfer Order, In re Nat’l

Prescription Opiate Litig., No. 17-MD-2804, at 3 (J.P.M.L. Dec. 12, 2017), Dkt. No. 1

(centralizing complaints where “[p]laintiffs variously bring claims for violation of RICO statutes,

consumer protection laws, state analogues to the Controlled Substances Act, as well as common

law claims such as public nuisance, negligence, negligent misrepresentation, fraud and unjust

enrichment” raising “common factual questions about, inter alia, the manufacturing and

distributor defendants’ knowledge of and conduct regarding the alleged diversion of these


                                                                                       (continued….)
Debtors’ Plan as a result of agreements reached during the Phase Three Mediation (defined
herein) and did not oppose the Debtors’ Plan at confirmation.
       4
         The Debtors acknowledge the severe consequences of the opioid crisis on individuals,
and recognize the courage of the pro se appellants to publicly share their views on the
Plan. Because the pro se appellants do not raise any legal or factual issues not raised by the
represented appellants, the Debtors do not separately address the briefs of Ms. Ecke or Ms.
Isaacs. (Mr. Bass has not yet filed his brief.)



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prescription opiates, as well as the manufacturers’ alleged improper marketing of such drugs”).

Although some of the plaintiffs also sought injunctive relief against the Debtors, such requests

were functionally claims for monetary relief, including abatement measures, to address past

misconduct. (App. 3530 (MBR) at 153.) Indeed, the conduct at issue in the Pending Actions

was discontinued years before the bankruptcy filing. In addition to Pending Actions against the

Debtors, the Debtors also were subject to investigation by multiple components of the DOJ since

at least June 2016.

       Prepetition litigation was not confined to the Debtors. Litigation arising out of the

Debtors’ opioid products also named the Debtors’ related parties as defendants, including certain

members of Sackler Families and current and former directors and officers. (See, e.g., App.

A5038 (JX-0783) (Compl., State of Oregon v. Richard Sackler, 19cv44161 (Cir. Ct. Or. Oct. 10,

2019) (“Oregon Compl.”) (complaint filed in 2019 naming related parties as defendants).)

Naming these parties as defendants—in addition to or in lieu of the Debtors—accelerated as

rumors of the Debtors’ impending bankruptcy swirled in the spring and summer of 2019. (See,

e.g., Appendix of Appellants The States of Washington, Connecticut, Delaware, Rhode Island

and Vermont, Dkt. No 103, In re Purdue Pharma L.P. Bankruptcy Appeals, Case No. 20-cv-

07532-CM (S.D.N.Y) (“Appealing States App’x.”) A-525 (JX-0840 (Second Am. Compl., filed

in State of Connecticut v. Purdue Pharma L.P. (X07 HHD-CV-XX-XXXXXXX-S, Conn. Super. Ct.),

dated July 1, 2019 (“Connecticut Compl.”)).)

       As is relevant here, all but one of State Appellants (Washington) has filed a lawsuit

against at least one member, and in some cases up to nine members, of the Sackler Families




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arising out of their ownership and management of the Debtors.5 These State Appellants either

name Purdue as a co-defendant in the same complaint or assert claims against Purdue in an

earlier-filed complaint.6

       The State Appellants’ complaints against the Sacklers assert claims that are substantially

similar (and often identical) to those they assert against the Debtors and are predicated on similar

allegations and conduct. The general thrust of those allegations is that members of the Sackler

Families played an active role in and directed the Debtors’ wrongful conduct in connection with

the opioid crisis. (See e.g., Appealing States App’x. A-1298 (Del. Compl.) ¶¶ 7, 50) (alleging

that “[t]hrough their management, direction, and control of Purdue, the Sackler Defendants have

engaged, and in some cases continue to engage, in a massive marketing campaign to misstate and

conceal the risks of treating chronic pain with opioids” and that “Purdue’s misconduct . . . was

at the direction of the Sackler Defendants, who were the chief architects and beneficiaries of

Purdue’s deception”) (emphasis added); Appealing States App’x. A-2339 (Rhode Island

       5
          (See e.g., Appealing States App’x. A-1553 (JX-1649) (Compl. at ¶ 3, State of Vermont
v. Sackler (Super. Ct. Chittenden Unit (May 21, 2018) (“Purdue executed this scheme at the
direction of eight people in a single family that owned the company and controlled a majority of
the seats on the company’s board of directors: the Sacklers.”)); see also Appealing States App’x.
A-525 (Connecticut Compl.); App. A4838 (JX-1753) (Consumer Protection Division, Office of
the Attorney General v. Purdue Pharma, Amended Statement of Charges, dated May 29, 2019
(“Maryland Compl.”); App. A4974 (JX-0947) (First Amended Compl., The People of the State
of California v. Purdue Pharma L.P., 19STcv19045 (Super. Ct. Cal. Oct. 2, 2019) (“California
Compl.”)); Appealing States App’x. A-1289 (JX-1646) (Compl., State of Delaware v. Richard
Sackler, Case No. N19C-09-062 MMJ CCLD (Del. Superior Ct. Sept. 9, 2019) (“Del.
Compl.”)); App. A4814 (JX-1647) (Compl., State of Oregon v. Richard Sackler, 19cv22185
(Ore. Cir. Ct., Multnomah Cty. May 16, 2019) (“Oregon Compl.”); Appealing States App’x. A-
2322 (JX-2214) (Compl., Rhode Island v. Sackler, No. PC 2019-9399 (R.I. Super. Ct., Bristol
Cty.) (“Rhode Island Compl.”)).)
       6
        (E.g., App. A4974; compare Appealing States App’x. A-875 (JX-0948) (Compl., State
of Vermont v. Purdue Pharma L.P. (757-9-18, Super. Ct. Vt. October 31, 2018)) with Appealing
States App. A-1553 (JX-1649) (Compl., State of Vermont v. Richard Sackler, Case No. 469-5-19
(VT Superior Ct. Chittenden Unit, May 21, 2019).)



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Compl.) ¶ 71 (“[A]t the direction of the Sacklers, Purdue kept pushing opioids and people kept

dying.”) (emphasis added).) Some of the allegations against the Sackler Families are, in fact,

carbon copies of the allegations made against the Debtors, merely swapping out one name for the

other. (Compare Appealing States App’x. A-1534 (JX-1648) (Amended Compl., State of Rhode

Island v. Purdue Pharma L.P., Case No. PC 2018-4555 (R. I. Superior Ct. Providence Feb. 25,

2019) (“Rhode Island Purdue Compl.”) at ¶ 358)) (“Purdue . . . successfully mislead

healthcare providers and patients alike, and changed the perception and practices regarding

opioids.”) (emphasis added) with Appealing States App’x. A-2349 (Rhode Island Compl. at ¶

117) (“The Sacklers successfully mislead healthcare providers and patients alike, and changed

the perception and practices regarding opioids.”) (emphasis added); App. A4185 (JX-0537)

(Coleman Decl.) ¶ 18 (containing charts comparing allegations in complaints).) Notably, there is

not a single allegation that the Sacklers caused or exacerbated the opioid crisis outside of or

dissociated from their roles as owners, directors, and officers of Purdue. A representative sample

of such allegations from each of the State Appellants’ complaints, and from the complaints

submitted by the U.S. Trustee, is set out in the charts attached hereto as Annexes A and B,

respectively.

       By the summer of 2019, it had become apparent that litigation on the scale faced by the

Debtors was untenable and would result in their financial and operational destruction. It was

equally obvious that bankruptcy provided the only forum that could halt the immense destruction

of value associated with continued litigation of the Pending Actions and productively orient the

parties toward a potentially value-maximizing and equitable global resolution.

II.    Pre-Petition Negotiations and the Settlement Framework

       For the better part of the year preceding the Debtors’ chapter 11 petitions, a number of

plaintiff constituencies—including many state attorneys general and the PEC in the MDL—the


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Sackler Families, and Purdue engaged in discussions concerning a potential global resolution of

the Pending Actions. These negotiations, spearheaded by key plaintiff constituencies, resulted in

an agreement in principle on the structure of a global resolution of opioid litigation related to the

Debtors (“Settlement Framework”) in the days leading up to the Debtors’ bankruptcy filings.

(App. A0001 (Settlement Framework Term Sheet); App. A1814-15 (JX-3041) (Declaration of

John Guard (“Guard Decl.”) ¶¶ 56-60).)

       The Settlement Framework had, broadly speaking, three core pillars. Purdue’s

shareholders would: (1) relinquish their equity interests in the Debtors, which would be

converted into a public benefit company dedicated to abating the opioid crisis; (2) engage in a

sale process for their ex-U.S. pharmaceutical businesses; and (3) make a payment over time to

the Debtors’ estates of at least $3 billion, with potential upside above that. (See generally App.

A0001-12 (Settlement Framework Term Sheet).) The plaintiff constituencies that negotiated and

supported the Settlement Framework opposite the Sacklers included no fewer than 23 state

attorneys general and analogous officials from the five U.S. territories, as well as the PEC.

(App. A1815 (Guard Decl. ¶ 60).) The PEC comprised attorneys at law firms that collectively

represent over 1,000 municipalities (including cities, counties, towns, and villages), as well as

Native American tribes, individuals, and third-party payors. The Settlement Framework

therefore had substantial (but far from unanimous) support, and was later memorialized in an

unsigned term sheet among the Ad Hoc Committee, the Debtors, and the shareholders. (App.

A0001-12 (Settlement Framework Term Sheet).) While important, the Settlement Framework

was just that—a framework and starting place for potentially achieving a value-maximizing

resolution in the Debtors’ bankruptcy. (App. A1773-74 (JX-3037) (Declaration of John Dubel ¶

37) (“Dubel Decl.”).)




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III.   Chapter 11 Proceedings

       On September 15, 2019, the Debtors filed for chapter 11 protection. Shortly thereafter,

the Debtors sought and obtained a preliminary injunction enjoining pursuit of the Pending

Actions. See In re Purdue Pharma L.P., 619 B.R. 38, 57-62 (S.D.N.Y. 2020) (affirming

preliminary injunction). The Debtors requested this preliminary injunction—which was

supported by both the UCC and the AHC—not only to halt the destruction of value associated

with the Pending Actions but also provide the parties-in-interest with the respite necessary to

craft a resolution that would not be achievable outside bankruptcy. In an unprecedented step, the

Debtors concurrently asked the Bankruptcy Court to enjoin the Debtors from, among other

things, engaging in virtually all promotion of opioid products and providing financial support to

third parties for the purpose of promoting opioids or opioid products (“Voluntary Injunction”).

(App. A1795 (JX-3038) (Declaration of Jon Lowne ¶ 27) (“Lowne Decl.”).) Although the

Debtors had ceased marketing opioids in early 2018, the Debtors requested the Voluntary

Injunction to further assure the bankruptcy court, the parties, and the public that the Debtors

would not engage in the marketing conduct alleged in the Pending Actions. The Debtors’

compliance with the Voluntary Injunction has been overseen throughout the chapter 11 cases by

two highly respected monitors. Nearly all of the Voluntary Injunction’s obligations and terms

have, in fact, since been incorporated into the myriad governance obligations and covenants

under the Plan—to which no party objected—that are intended to ensure that NewCo (the public

benefit company that will emerge from the bankruptcy) operates in a responsible manner in the

public interest. (App. A3439 (MBR) at 62.)

       For the next two years, the Debtors and their various creditor stakeholders engaged in

dual-tracked work streams. The first was massive discovery and disclosure, which—as this

Court recognized—was a pre-condition to the preliminary injunction being entered. See In re


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Purdue Pharma L.P., 619 B.R. at 58-59. An extraordinary amount of discovery was provided by

the Debtors, the Sacklers, and third parties during the chapter 11 cases, with the Debtors alone

producing over 90 million pages of documents to estate stakeholders on a wide variety of issues,

including materials going to both estate claims and underlying opioid liability claims. (App.

A1788 (Lowne Decl. ¶ 7).) As the Bankruptcy Court commented, “more information has been

provided with respect to this [P]lan and more specifically with respect to the elements of a

settlement with the Sacklers than [the Bankruptcy Court] had[] ever seen, and [perhaps] ha[s]

ever been provided in any [c]hapter 11 case.” (App. A4521 (Hr’g Tr. 56:5-9 (Mar. 24, 2021));

App. A3455 (MBR) at 78.) This staggering amount of information enabled the parties to assess

potential claims against the Sackler Families and associated entities—of extreme interest to

many creditors—and was carefully weighed during the comprehensive investigations performed

by multiple parties in the cases, including the Special Committee of the Debtors’ Board of

Directors (“Special Committee”) and the UCC.

       The second was a series of mediated negotiations. While information sharing and various

investigations were ongoing, the relevant parties-in-interest, including all of the State Appellants,

engaged in over a year of mediation to resolve allocation issues among the Debtors’ creditors as

well as determine if a satisfactory agreement with the shareholders could be achieved. These

intense and often around-the-clock efforts, described in more detail below, culminated in the

hard-fought agreements that are now reflected in the Debtors’ overwhelmingly supported Plan.

       A.      Mediation and Resolution of Inter-Creditor Allocation Issues (Phase One
               Mediation)

       As the Special Committee and UCC investigations were progressing, the Debtors and

core creditor constituencies participated in mediation before two consensually selected and

highly respected mediators, the Honorable Layn Phillips (ret.) and Kenneth Feinberg, on the



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issue of allocation of the value of the Debtors’ estates between the Non-Federal Public Claimants

(as defined in the Mediation Order), on the one hand, and the Private Claimants (as defined in

the Mediation Order), on the other hand (“Phase One Mediation”). (See App. A0094 (Order

Appointing Mediators (Mar. 4, 2020)) ¶ 3.) The Bankruptcy Court and the parties alike

recognized these allocation issues as a critical gating item to the success of the Debtors’

reorganization.

       The Phase One Mediation facilitated the resolution of important issues in these chapter

11 cases. First, the Non-Federal Public Claimants made the historic commitment to dedicate all

value received by them to abate the opioid crisis. (App. A0120 (JX-1637) (Phase One

Mediators’ Report) ¶ 3.) Second, the Non-Federal Public Claimants resolved critical issues as to

allocation of value amongst themselves. (See id. ¶ 4; see also App. A1811 (Guard Decl.) ¶¶ 43-

44.) And third, agreement was reached on written term sheets with certain Private Claimant

groups that addressed allocation of estate value to each group. Under these agreements, the

Private Claimants would receive fixed cash payments over time. Moreover, the Ad Hoc Group

of Hospitals, the Third-Party Payor Group, and the NAS Committee (with respect to medical

monitoring) agreed to dedicate substantially all of their distributions to abate the opioid crisis.

(See App. A0121 (Phase One Mediators’ Report) ¶¶ 5-7).) The State Appellants, then part of the

Non-Consenting States, participated in these negotiations. All of the Phase One Mediation

term sheet agreements were (and remain) conditioned by the creditors—including all nine

State Appellants—on confirmation of a plan of reorganization that includes participation

by the Sackler Families, (see id. ¶ 12), as both governmental and Private Claimants

reaffirmed at the confirmation hearing. (See, e.g., App. A1817 (Guard Decl.) ¶ 67 (“Without

the availability of the Sackler assets, compromise between the Non-Federal Public Claimants and




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the Private Claimants would have not been possible.”); App. A4608 (Aug. 16, 2021 Confr. Hr’g

Tr. 143:14-144:10 (Atkinson) (“The UCC believes, with conviction, that the terms of the plan

represent the only viable conclusion for the Chapter 11 cases . . .”); App. A4615 (Aug. 23, 2021

Confr. Hr’g Tr. 58:8-25 (Debtors) (noting creditor group support)).) In large measure, these

agreements, premised on settlement payments from the Sacklers, form the basis of the

framework for the distributions contemplated under the Plan.

       B.      DOJ Resolution

       In November 2020, Purdue Pharma, L.P. (“PPLP”) entered into (i) a plea agreement

(“Plea Agreement”) by and between PPLP and the United States, and (ii) a civil settlement

agreement by and between PPLP and the United States (“Civil Settlement,” and together with

the Plea Agreement, the “DOJ Resolution”) to fully resolve the United States’ civil and criminal

investigations into the Debtors’ past practices related to the production, sale, marketing, and

distribution of opioid products. (App. A0288 (Order Granting Motion Pursuant to 11 U.S.C.

§ 105 and Fed. R. Bankr. P. 9019 Authorizing and Approving Settlements Between the Debtors

and the United States).) Pursuant to the Plea Agreement, among other things, the Debtors and

the United States agreed to a criminal forfeiture judgment in the amount of $2 billion

(“Forfeiture Judgment”) that will be entered upon the acceptance of the Plea Agreement, and

will be deemed to have the status of an allowed superpriority administrative expense claim

against PPLP at that time, regardless of the outcome on appeal. (App. A0127 (JX-2094) U.S.

Department of Justice Plea Agreement with Purdue Pharma L.P).) Critically for the success of

the chapter 11 cases, the United States further agreed to provide a credit offsetting the Forfeiture

Judgment (“Forfeiture Judgment Credit”) of up to $1.775 billion for value distributed or

otherwise conferred by PPLP under the Plan in respect of claims asserted by state, tribal, or local

government entities, provided that the Plan provides for the establishment of a public benefit


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company (or entity with a similar mission) and certain other terms and conditions described in

the Plea Agreement. The Plan contemplates that the Debtors will be able to utilize the full

amount of the Forfeiture Judgment Credit.

       C.      Mediation and Resolution of Creditor and Estate Claims against the Sackler
               Families (Phase Two Mediation)

       With key intercreditor allocation issues resolved, the Debtors and their creditors next

turned their focus toward a second phase of mediation to see if a settlement could be reached

with the Sackler Families.

       In September 2020, the Bankruptcy Court authorized the mediators—working full time—

to mediate potential claims or causes of action held by the creditors and the Debtors against

Sackler Families. This mediation is commonly referred to as the “Phase Two Mediation.”

(App. A0294 (JX-1638) (Phase Two Mediators’ Report) at 1.) This Phase Two Mediation was

critical because it was essential that any potential settlement of claims against the Sackler

Families that was to be reflected in the Debtors’ Plan receive substantial creditor support. (App.

A1773-74, A1778 (Dubel Decl.) ¶¶ 37-38, 46.) Without that support, any plan predicated upon

such a settlement would not have been viable.

       Ultimately, the Phase Two Mediation resulted in the terms of a settlement agreed to by

five of the six mediation parties (the Debtors, UCC, AHC, MSGE, and Sackler Families) that

included material improvements to the initial Settlement Framework.7 Specifically, the

guaranteed amount that the Sackler Families would be required to pay in the aggregate increased

from a minimum of $3 billion over seven years under the initial Settlement Framework to $4.275

billion over nine years (or ten years if certain amounts are paid ahead of schedule in the first six


       7
        Agreement could not be reached during the Phase Two Mediation with the final
mediation participant, the group formally known as the “Non-Consenting States.”


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years). $4.275 billion was the settlement amount jointly recommended by the mediators after

months of full time work (a fact that alone conclusively proves its reasonableness). (See App.

A0302 (JX-1638) (Phase Two Mediators’ Report) at 9.) The principal consideration for such

payments are the releases of any actual or potential claims or causes of action against parties

associated with the Sackler Families and related parties that are reflected in the Plan. (App.

A1778-79 (Dubel Decl.) ¶ 46.)

       A settlement with the Sackler Families without the Plan’s releases would not be possible

because creditors could not and would not allow opt-out parties to destroy what the vast majority

had worked for years to achieve. Six creditor groups—the UCC (a statutorily-appointed

fiduciary), the MSGE, AHC, the Ad Hoc Group of Personal Injury Claimants, the NAS

Committee and the Hospitals—so represented to the Court at confirmation. See, e.g., App.

A4615 (Aug. 23, 2021 Confr. Hr’g (Debtors)) Tr. 58:8-25 (noting that the UCC, AHC, the

MSGE, the PI Group, the NAS Committee, and the Hospitals had authorized the Debtors

to state on the record that those groups would “not support a plan that allows for opt-outs

that are material along the lines requested by the objecting states. Even if the Sacklers

consented to the carve out, everyone of those six groups would instantly . . . withdraw their

support for the plan and fiercely oppose it.”); App. A4624 (Aug. 23, 2021 Confr. Hr’g Tr.

120:9-22 (MSGE) (“[T]he releases are necessary as part . . . of th[e] global deal for the public

creditors and the private creditors to receive the funds they have been allocated under the [P]lan,

to put towards abatement of the opioid crisis.”).) In addition to supporting the terms of the

settlement, the UCC, Ad Hoc Committee, and MSGE were parties to the Phase Two Mediation

and heavily involved in its negotiation.




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       D.      Filing of the Debtors’ Plan of Reorganization and Disclosure Statement

       On Sunday, March 14, 2021, in advance of a full Board meeting, the Special Committee

considered whether to authorize the filing of the Plan, including the Shareholder Settlement

Term Sheet. (App. A1779, A1782 (Dubel Decl.) ¶¶ 47, 54) The Special Committee determined

that the terms of the settlement then reached by the five mediation parties and the settlement

amount jointly recommended by the mediators was fair, equitable, and reasonable and that the

settlement reflected a reasoned judgment as to the trade-off between a possible but uncertain

recovery of a larger amount through continued litigation versus an agreed recovery of settlement

payments that are certain but may be less than what the Debtors potentially could obtain in

litigation. (Id. at ¶¶ 49- 58.) The full board then authorized the filing of the Plan (id. at ¶ 54),

and its first iteration was filed on March 15, 2021.

       E.      Further Mediation Before Judge Chapman (Phase Three Mediation)

       Even with the Plan on file, however, the parties sought to expand its base of support and

to further improve the Shareholder Settlement, which the Bankruptcy Court facilitated by

ordering yet another round of mediation. Pursuant to a May 7, 2021 order, the Honorable

Shelley C. Chapman presided over an additional mediation between the Non-Consenting States

and the Sackler Families with respect to the then-existing terms of the Shareholder Settlement

(the “Phase Three Mediation”). (See App. A0673 (JX-1639) (Phase Three Mediator’s Report);

App. A1783-84 (Dubel Decl.) ¶ 57-58.) Over the next seven weeks, Judge Chapman held

approximately 145 telephonic meetings with the mediation parties, before presenting a

mediator’s proposal on June 28, 2021. (App. A0673 (Phase Three Mediator’s Report) ¶ 1.) The

in-person Phase Three Mediation then took place on June 30, 2021 and July 1, 2021 over the

course of 27 hours. (Id.) These “difficult and hard-fought negotiations,” which ran well into the




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night of July 1, resulted in a further improved Shareholder Settlement, agreed to by a majority of

participants and most of the remaining Non-Consenting States. (See id. ¶¶ 3-5.)

       Specifically, the Shareholder Settlement’s further improved terms included (i) additional

payments of $50 million by the Sackler Families, and the material acceleration of another $50

million in previously agreed settlement payments, resulting in total payments of $4.325 billion;

(ii) a “material expansion of the scope of the public document repository” to be established under

the Plan including the waiver of attorney-client and other privileges for many documents; (iii)

prohibitions with respect to the Sackler Families’ naming rights for charitable contributions until

they have fully paid all obligations under the Shareholder Settlement and exited all opioid

businesses worldwide; and (iv) timing for disposition of NewCo after the consummation of the

Plan. In addition, the individual trustees of NOAT, or other qualified parties chosen by the

Bankruptcy Court, will become the controlling members of the Raymond and Beverly Sackler

Foundation and the Raymond and Beverly Sackler Fund for the Arts and Sciences. (See id. ¶ 6.)

These foundations will have an aggregate value of at least $175 million, and their purposes will

be limited to those consistent with efforts to abate the opioid crisis. (See id.)

       As a result of the Phase Three Mediation, the attorneys general of fifteen additional

states—Colorado, Hawaii, Idaho, Illinois, Iowa, Maine, Massachusetts, Minnesota, Nevada, New

Jersey, New York, North Carolina, Pennsylvania, Virginia, and Wisconsin—agreed to support

the improved Shareholder Settlement. (See id. ¶ 4.) With these states, 60% of the formerly Non-

Consenting States—including some of the most previously vocal opponents—agreed to support

the materially improved Shareholder Settlement, adding to the already-broad consensus in favor

of the Plan among the stakeholders in the chapter 11 cases. (See id.) Of the 48 states, 38




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supported the Plan, joining every major organized creditor group in the cases. (App. A0737 (JX-

3028) (Declaration of Christina Pullo) (“Pullo Decl.”), Ex. B.)

       F.      The Plan

       The Plan, as amended to reflect the terms of the further improved Shareholder

Settlement, represents (by a very wide margin) the best available path to a value-maximizing

resolution of the chapter 11 cases for all creditors including the Appellants. (See App. A2083

(DelConte Fact Decl.) ¶ 4.) The core components of the Plan include the following:

       First, the Plan embodies many critical—and mutually independent—settlement

agreements reached during the three successive phases of mediation that together establish the

Plan’s historic, abatement-centric distribution framework. Under the Plan, the overwhelming

majority of Purdue’s current value, including the billions of dollars of proceeds secured by the

Shareholder Settlement, will be transferred to nine trusts (“Creditor Trusts”) that will fund

opioid abatement efforts and compensate personal injury claimants, including the NOAT, which

will make distributions to qualified governmental entities. (Id. ¶¶ 5-6.) Each of the Creditor

Trusts, with the exception PI Trust and PI Futures Trust, will make distributions solely for opioid

abatement purposes. (Id. ¶¶ 5-6.) The PI Trusts will make distributions to qualified personal

injury victims including children with NAS. (Id. ¶ 17.) The distribution of value from the

Debtors’ estates to the NOAT and the Tribe Trust, alone, is estimated to exceed $4 billion. (Id. ¶

31.) The private creditor trusts are estimated to receive in excess of $1 billion in value under the

Plan, including approximately $700-750 million of which will be used to compensate personal

injury claimants. (See id. ¶¶ 19-30; App. A3110-15 (Plan) §§ 5.2, 5.2(d).)

       Second, the Plan also delivers on an important commitment made by the Debtors at the

very outset of the chapter 11 cases: the creation of a public document repository—one that is

expected to make over 100 million pages of Purdue material available for public review. (App.


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A1788 (Lowne Decl.) ¶ 7.) The AHC testified at the confirmation hearing that the establishment

of this public document repository was among their highest priorities. (App. A4586-87](Aug.

13, 2021 Confr. Hr’g Tr. 151:17-152:9 (Weinberg) (“[O]f all the aspects of . . . the injunctive

relief part of [the Plan], [the public document repository] . . . is extremely important from the

standpoint of, not only what it is that we developed in terms of evidence, [but also] lessons to be

learned from the conduct that was uncovered and revealed.”)); App. A4598 (Aug. 16, 2021

Confr. Hr’g Tr. 83:20-22, 84:12-23 (Conroy) (“[I]it could be that the document repository is

actually the most valuable piece of this settlement.”).) The public document repository will be

hosted by an academic institution or library and will include more than 13,000,000 documents

(consisting of more than 100,000,000 pages) produced in the chapter 11 cases and tens of

millions of additional documents, including certain documents currently subject to the attorney-

client privilege that would not have been produced in litigation. (App. A1788 (Lowne Decl.) ¶

7.) The Plan ensures that scholars and the public can have access to all of these materials.

       Third, under the Plan, PPLP will cease to exist. Purdue’s current business operating

assets will be transferred to NewCo,8 a new entity that will be dedicated to mitigating the opioid

crisis with an operating structure aimed at ensuring that it operates in a responsible and

sustainable manner with “layers of oversight . . . informed by the public interest at every step”

(App. A3439 (MBR) at 62). PPLP, which has more than one billion dollars of cash on its

balance sheets (as well as valuable insurance policies), will transfer hundreds of millions of


       8
         Following the effective date, NewCo will operate under the name KNOA Pharma.
Press Release, Confirmed Plan of Reorganization of Purdue Pharma L.P. Facilitates Creation of
New Company – “Knoa Pharma”, Business Wire (Sept. 3, 2021), accessible at
https://www.businesswire.com/news/home/20210903005441/en/Confirmed-Plan-of-
Reorganization-of-Purdue-Pharma-L.P.-Facilitates-Creation-of-New-Company-%E2%80%93-
%E2%80%9CKnoa-Pharma%E2%80%9D.



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dollars on the effective date to the Creditor Trusts. PPLP will then be dissolved. No federal,

state, or local governmental entity will own the equity of NewCo. Instead, NewCo will be

indirectly owned by the Public Creditor Trusts. (App. A2086, A2088 (DelConte Fact Decl.) ¶¶

7, 14.) NewCo also will continue the Debtors’ development of opioid overdose reversal and

addiction treatment medications, and will be authorized to deliver millions of doses of such

medications at low or no cost when development is complete. Finally, under the terms of the

Shareholder Settlement, the Sackler Families will be subject to restrictions on participation in

any opioid business, and a variety of other critical covenants and limitations. (See App. A2219-

20 (Seventeenth Plan Supplement (Shareholder Settlement Agreement)) Ex. AA, § 8.09).)

       G.      Channeling Injunction and Shareholder Releases Under the Plan

       In order to facilitate the global, abatement-centric resolution of claims contemplated

above, the Plan channels claims against the Debtors, their shareholders, and their respective

related parties to Creditor Trusts for treatment according to applicable trust documents

(“Channeling Injunction”) (see App. A3182-84 (Plan) § 10.8) and also releases claims against

these parties. The target of the Appellants in these appeals is the so-called “third-party releases”

under Section 10.7(b) of the Plan, which release claims non-debtors have asserted or might assert

against the Shareholder Released Parties, including members of the Sackler Families and certain

of their related individuals and entities. The Shareholder Releases are repeatedly

mischaracterized by the Appellants in their briefing but, in reality, their operation is stringent.

       The final form of the Shareholder Releases is the result of extensive and hard fought

negotiation by creditors opposite the Sacklers—as well as multiple rounds of further narrowing

by the Bankruptcy Court. Indeed, as a condition to confirming the Plan, Judge Drain required

that the Shareholder Releases be limited to claims for which the Debtors’ liability is the cause or




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a legally relevant factor. (App. A3508 (MBR) at 131; App. A3348 (Twelfth Amended Plan

Blackline) at 129.)

        To be potentially subject to the Shareholder Releases, a claim must be: (1) held by a

“Releasing Party,” (2) against a “Shareholder Released Party,” (3) “based on or relating . . . to

the Debtors . . . their Estates or . . . the [c]hapter 11 [c]ases,” and (4) a claim as to which

“conduct, omission or liability of any Debtor or any Estate is the legal cause or is otherwise a

legally relevant factor.” (App. A3180-81 (Plan) § 10.7(b).) Even claims that satisfy all four of

these independent requirements, however, are not released if they fall into any one of six

separate categories of “Excluded Claims” (discussed below) or the independent exclusion for

“Non-Opioid Excluded Claims” (also discussed below). (Id.; see also id. at § 1.1.) The structure

of the Shareholder Releases therefore includes overlapping limitations and exclusions that

together operate to circumscribe their scope. To illustrate:

        First, the Shareholder Releases bind only “Releasing Parties,” which are, with a lone

exception believed to be a null set and governed by analogous language,9 limited to “Holders of

Claims against . . . the Debtors,” i.e., creditors of the Debtors. (See Plan § 1.1 at 34.) In other




        9
          “Releasing Parties” also includes “Holders of Future PI Channeled Claims” which
include claims against the Debtors or the Shareholder Released Parties. (Id.) This narrowly
addresses claims premised upon alleged prepetition wrongdoing that results in injuries that do
not arise until after the Petition Date (as defined in the Plan, PI Future Channeled Claims). As
the Bankruptcy Court found—and as no one contests on appeal—there are not likely to be any
such future claims that are viable. (App. A3583 (Findings of Fact, Conclusions of Law, and
Order Confirming the Twelfth Amended Plan) (“FOF/COL”) at 47.) The Bankruptcy Court
thus determined that this belt-and-suspenders means of ensuring the finality of the settlement
was fair and reasonable. (Id.) The Bankruptcy Court thus determined that this belt-and-
suspenders means of ensuring the finality of the settlement was fair and reasonable. (Id.) The
U.S. Trustee, tellingly, fails to mention any of this when describing this aspect of the
Shareholder Releases. (UST Br. at 18.)



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words, anyone with a present injury who was harmed by the Sacklers and not by the Debtors is

not bound by the releases.

       Second (and yet further tying to governing case law, as discussed below) claims subject

to the Shareholder Releases are limited to claims (1) that arise from or relate to the Debtors, their

estates, or their chapter 11 cases and (2) for which “any conduct, omission or liability of any

Debtor or any Estate is the legal cause or is otherwise a legally relevant factor.” (App. A3080-81

(Plan) § 10.7(b).) The Debtors, therefore, must be at the heart of the claim for that claim to be

subject to the Shareholder Releases. Through the exclusion of “Non-Opioid Excluded Claims,”

the Shareholder Releases are further limited to claims that arise from or relate to opioid-related

conduct or allegations made in pending opioid-related litigation or allege liability of the Sacklers

that is derivative of liability of the Debtors. “Non-Opioid Excluded Claim” is defined broadly to

exclude from the Shareholder Releases any non-derivative claim that (i) does not arise from or

relate to “Opioid-Related Activities,” the “Pending Opioid Actions” or opioid use or misuse or

the consequences thereof and (ii) is not based upon and does not arise from the same allegations

in the Pending Opioid Actions. (Id. at § 1.1.) If a claim does not pass all three of these tests,

then that claim against the shareholders is not released. Period.

       Third, the definition of “Shareholder Released Parties” is circumscribed to limit the

release recipients to those necessary to ensure that the parties to the settlement—creditors and the

principal Sacklers—receive their bargained-for protection from collateral attacks on the Plan. To

address concerns regarding the lack of specific identification of release recipients, Shareholder

Released Parties is defined to include the individuals and entities specifically identified on

Exhibit X to the Shareholder Settlement or that otherwise fall within one of the narrowly tailored

categories. (See id.) Moreover, the Plan specifically provides that persons that fall into one of




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these categories receive a release only in their capacity as a related party or transferee of the

Sacklers. In other words, in addition to the general limitations described above applicable to all

Shareholder Released Parties, none of these non-identified Shareholder Released Parties are

released in any way from “conduct or actions independent of [their] capacity” as a related party.

(Id. at § 1.1 (definition of “Shareholder Released Party”).) Recipients of funds from the

Sacklers, for instance, are released only as transferees and only for claims to recover from them

the funds transferred. (Id.) Furthermore, except for a tiny handful of such parties expressly

identified on Exhibit X to the Shareholder Settlement, no financial advisor, attorney, accountant,

investment banker, consultant, expert or other professional of the Sacklers is released by non-

debtors pursuant to the Shareholder Releases. (See id. at § 10.7(b).)

       The Appellants’ “descriptions” of the definition of “Shareholder Released Parties” omit

critical limitations and details. The U.S. Trustee, for example, makes much of the fact that

Shareholder Released Parties include “unborn” descendants of the Sackler Families (UST Br.

13), but fails to explain how anyone could have a tort claim against an unborn individual for past

conduct, much less a need to exercise police powers against her. (Id.) These individuals are of

course included in the releases to ensure that funds they may receive in the future from their

parents cannot be pursued—in other words to give effect to the core releases, not to expand

them. The DOJ points to the number of parties on Exhibit X of the Settlement Agreement

seemingly as evidence of the releases’ over breadth (DOJ Stmt. at 10), but fails to note that the

individuals and entities listed on Exhibit X consist of Sackler family trusts and trustees, entities

owned or controlled by the Sacklers, or officers, directors or advisors that have been or could be

targets of litigation concerning the Debtors. As the evidence at the confirmation trial established,

the scope of the Shareholder Released Parties that benefit from the releases is critical to ensuring




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that there is no avenue for litigants to circumvent or undermine the value-maximizing resolution

in the Plan by pursuing ever-more attenuated parties for claims that are, in essence, claims

against the Debtors or Sacklers for the Debtors’ alleged wrongdoing. Again, these parties are

included to give effect to the core release, not to expand it. In hundreds of settlements, the

entirely typical use of phrases like “and their present and future officers, directors, employees,

affiliates, representatives and advisors” would yield the identical and, in fact, broader list of

“hundreds of related parties.”

       Fourth, after all of the above limitations are applied, the Shareholder Releases also

overarchingly carve out “Excluded Claims” including (1) criminal claims, (2) income tax claims,

(3) claims related to conduct of Sackler entities organized in Canada and not based upon conduct

of the Debtors, and (4) claims against any party arising from such party’s conduct after the

Effective Date of the Plan. These exclusions protect a wide-swath of claims from release and

preserve, for example, the State Appellants’ ability to prosecute any released party in a criminal

action or to pursue any claims arising from any actions taken after the Effective Date.

       H.      Notice, Solicitation, and Voting

       Solicitation of the Plan commenced in June 2021. (See App A0374 (Order Approving

Disclosure Statement) (“Disclosure Stmt. Order”).)

       When votes were ultimately tallied, it became apparent that support for the Plan amongst

the Debtors’ creditors was overwhelming. (App. A3385-86 (MBR) at 8-9.) As Judge Drain

noted, “votes on most [c]hapter 11 plans, even in large cases, number between a few and a few

thousand.” (Id.) Here, over 120,000 creditors voted, with more than 95% of the ballots cast and

more than 96% of the amount of total voting dollars voted to accept the Plan. (See App. A0735

(Pullo Decl., Ex. A.)) Each and every class of creditors overwhelmingly voted to accept the




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Plan. The Debtors believe this to be the highest voter turnout in U.S. bankruptcy history—and

certainly one that exceeds any reasonable expectation even in the largest chapter 11 cases.

IV.    Confirmation Hearing and Order Confirming the Plan

       The confirmation hearing commenced on August 12, 2021. Arrayed against the

extraordinarily broad consensus in support of the Plan was a small group of objectors, including

eight States and the District of Columbia, that together amounted to less than one-fifth of one

percent of the claimants in these cases, as well as the United States Trustee. The objectors raised

several arguments, including that the Shareholder Settlement should not be approved, that the

Shareholder Releases were illegal and rendered the Plan unconfirmable as a matter of law, and

that the Plan was not in the “best interests” of creditors. Notwithstanding that its claims were not

subject to the Shareholder Releases, the DOJ also filed a “statement” challenging them.

       The trial record is extensive. Over the course of six full trial days, the Bankruptcy Court

received the testimony of over 40 fact and expert witnesses. Thirty-five of these witnesses were

introduced by the proponents and supporters of the Plan (of which nine had their direct, written

testimony entered into evidence without any cross examination by the objectors, and the majority

of whom were cross-examined for only a short period of time). The Bankruptcy Court also

accepted into evidence over 2,800 exhibits. For their part, the objectors—now Appellants—

proffered only 5 witness and a little over 350 exhibits, the bulk of which went to the underlying

merits of the Pending Actions. The only non-adverse witness called by the Appellants—the

expert called to opine on the Sacklers’ wealth—was so trampled on cross examination that he all

but conceded that his conclusions were invalid. (See Aug. 17, 2021 Conf. Hr’g Tr. at 170:14-

208:2, In re Purdue Pharma L.P., Case No. 19-23649 (Bankr. S.D.N.Y.) The Bankruptcy Court

then presided over more than two days of oral argument. On September 1, 2021, the Bankruptcy

Court overruled each of the objections and confirmed the Plan in a six-hour, comprehensive


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bench ruling that was later reduced to a written decision spanning more than 150 pages. The

Bankruptcy Court’s extensive factual findings—deeply rooted in the extraordinary factual

record—and holdings are described in greater detail in connection with the Debtors’ response to

the Appellants’ arguments in the Argument section. But in brief:

      Notice: The Bankruptcy Court found that notice of the confirmation hearing, including
       notice of the Plan’s proposed release of third-party claims against the Shareholder
       Released Parties, was “sufficient” and “unprecedentedly broad.” With respect to the
       Shareholder Releases, in particular, the Debtors’ notices, were “simple [and] in plain
       English,” “contemplated a broad release of the Sacklers and their related entities of civil
       claims pertaining to the Debtors, including claims against them held by third parties,” and
       reached an estimated 87% of the U.S. adult population an average of five times, including
       through billions of online and social media views. (App. A3382-85 (MBR) at 5-8.)

      Pro Se Objections and Good Faith Under Section 1129(a)(3): The Bankruptcy Court
       addressed each of the pro se objections respectfully and carefully. (Id. at 54-71.)
       Addressing a common thread throughout the pro se objections—that the Plan was
       somehow the “Sacklers’ Plan”— Judge Drain observed that this was “simply
       misleading.” (Id. at 68.) “This is not the Sacklers’ Plan. The Debtors are not the
       Sacklers’ company anymore. There is literally no evidence to the contrary – none.” (Id.
       (citing also Examiner’s report confirming the same.) As the Bankruptcy Court
       recognized, “these cases were driven as much, if not more, by the [UCC] and other
       creditors.” (Id. at 68-69.)

      Approval of the Shareholder Settlement: The Bankruptcy Court determined that the
       Shareholder Settlement was fair and reasonable and in the best interests of the estates.
       The Plan comprised “many interrelated settlements . . . that would not be achievable if
       either of the settlements with the Sacklers fell away,” including the “remarkabl[e]”
       agreement by all creditor constituencies (with the exception of the personal injury
       victims) to dedicate 100% of their recoveries to abatement.” (Id. at 71-72.) “Without the
       $4.325 billion being paid by the Sacklers under the [P]lan and the other elements of the
       Sackler settlements, those other elements of the [P]lan would not happen. The record is
       clear on that.” (Id. at 73.)

       Analyzing the Iridium factors, the Bankruptcy Court observed that he personally thought
       the settlement negotiated by the creditors might have been for a greater amount, but
       found that the Shareholder Settlement had been negotiated at arm’s length, the level of
       transparency provided had been staggering, the settlement had garnered overwhelming
       support, the risks of pursuing litigation (and subsequent risks of collection) were great,
       and the alternative to settlement was likely liquidation of the Debtors and no recoveries
       for unsecured creditors. (Id. at 78-103.)




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    For instance, the Bankruptcy Court found “[t]he [Shareholder Settlement] was clearly and
    unmistakably the result of arm’s length bargaining” and the efforts of “three outstanding
    mediators” and was preceded by the “most extensive discovery process” that the
    Bankruptcy Court had ever seen. (Id. at 78.) With respect to the likelihood of complex
    and protracted litigation, the Bankruptcy Court acknowledged that, at first impression, the
    Sackler Families’ aggregate net worth of over $11 billion might be seen to weigh against
    approval of the Shareholder Settlement. But the Sackler Families, the Bankruptcy Court
    noted, are “not a simple group of a few defendants.” (Id. at 85.) They are instead a
    diffuse group consisting of many branches and “pods” with “widely scattered” assets
    held, in significant part, in many offshore spendthrift trusts. (Id.)

    Moreover, the Bankruptcy Court noted that while the record contained evidence that the
    Sacklers were aware of the risk of opioid-related litigation against them and sought to
    “shield themselves,” the amount of money actually recoverable by the estates was
    potentially limited by a number of factors, including the fact that Purdue had plead guilty
    in 2007, over 40% of the payments to the Sackler Families were made for the purposes of
    paying taxes (and thus arguably were made for fair consideration), and the statute of
    limitations would limit the reach back by the estates to most claims. (Id. at 92-94.)

   Shareholder Releases: It is against this backdrop—simply omitted by the Appellants in
    their briefing before this Court—that the Bankruptcy Court approved the Shareholder
    Releases. After rejecting threshold arguments that it lacked jurisdiction and power to
    approve the Shareholder Releases that the Appellants target in their respective appeals,
    the Bankruptcy Court then concluded that the non-consensual release of a handful of
    holdout creditors was critical to the Plan, and if such claims were not channeled and
    released, the Plan would collapse. (Id. at 135.) In particular, the Bankruptcy Court found
    that the circumstances of the chapter 11 cases were “unique,” the settlement payments
    from the shareholders were “substantial,” the Plan was overwhelmingly accepted, the
    Shareholder Releases, as narrowed by the Court, were “narrowly tailored” to ensure the
    success of the Plan, and on balance, the settlement was fair to the non-consenting
    claimants. (Id. at 135-37.)

    The Bankruptcy Court also found that the non-consenting creditors’ claims “ultimately
    derive from the Debtors’ conduct to the extent that as a legal matter one or more of the
    Sacklers can be said to have directed it or have had the knowledge and power to have
    directed it but failed to do so.” (MBR at 139.) The Bankruptcy Court also reiterated that
    without Shareholder Releases, the estates could not secure the Shareholder Contribution,
    and without the Shareholder Contribution, “the [P]lan would unravel.” (Id. at 143.)

   Best Interests: The Bankruptcy Court held that the Plan was in the “bests interests” of
    creditors under section 1129(a)(7), including because the Bankruptcy Court found as a
    matter of fact that “the objectors’ aggregate net recovery on their claims against the
    Debtors and the [S]hareholder [R]eleased [P]arties would be materially less than their
    recovery under the Plan.” (Id. at 143-46 (emphasis in original).)




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       Acknowledging that case law only required consideration of “hypothetical recovery from
       non-debtor sources” where those recoveries are “neither speculative or incapable of
       estimation,” the Bankruptcy Court rejected the argument that the Plan fails the best
       interests test because the Debtors did not estimate the value of the objectors’ direct
       claims. (Id. at 146.) The Bankruptcy Court noted that “given the evidence regarding the
       strengths and weaknesses of the [direct] claims, including the cost of pursuing them, the
       risks of collection, and the dilutive effect of all of the other litigation that would be
       pursued by all of the other creditors in these cases, including all of the other states and
       governmental entities who are otherwise agreeing to the plan that would have the same
       types of third-party claims, as well as the Chapter 7 trustee on behalf of the estate, . . . .
       no additional evidence is required.” (Id. at 147-48.)

V.     The Appeals

       Now, the U.S. Trustee and a tiny number of the Debtors’ over 614,000 creditors—

including eight states and the District of Columbia, certain Canadian entities, and three pro se

individuals—who altogether constitute less than 0.01% of voting creditors and less than 0.003%

of all creditors—filed timely notices of appeal of the Confirmation Order.10 The Appellants

primarily contest, in what are largely rehashes of their confirmation objections, the Bankruptcy

Court’s approval of the third-party releases that are the linchpin of the Debtors’ Plan, although

they also raise a number of other ancillary issues.

                                  SUMMARY OF ARGUMENT

       The Bankruptcy Court’s order confirming the Debtors’ Plan (as well the Disclosure

Statement Order and Advance Order) should be affirmed because the Court correctly determined

that (i) the third-party releases satisfy the requirements of Second Circuit law; (ii) the

Shareholder Settlement is reasonable and in the best interests of the Estates; (iii) the Plan

satisfies the requirements of section 1129(a)(7); and (iv) approval of the Plan was proper as to

the Canadian Appellants.



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         The U.S. Trustee also appealed the Disclosure Statement Order and the Advance
Funding Order.



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         For decades, the Second Circuit has recognized that the broad equitable authority of

bankruptcy courts to modify debtor-creditor relationships—including the Court’s authority under

sections 105(a) and 1123 of the Bankruptcy Code—includes the power to confirm plans

containing nonconsensual third-party releases. See Deutsche Bank AG v. Metromedia Fiber

Network, Inc. (In re Metromedia Fiber Network, Inc.), 416 F.3d 136, 141 (2d Cir. 2005)

(“Metromedia”); see also SEC v. Drevel Burnham Lambert Grp., Inc., (In re Drexel Burnham

Lambert Grp., Inc.), 960 F.2d 285, 293 (2d Cir. 1992) (“Drexel”) (same); MacArthur Co. v.

Johns-Manville Corp. (In re Johns-Manville Corp.), 837 F.2d 89, 93-94 (2d Cir. 1988) (“Johns-

Manville”). On the record of an eight-day trial, which involved the testimony of over 40

witnesses and tens of thousands of pages of evidence, the Bankruptcy Court correctly found that

the Shareholder Releases are “important to the success of the Plan” given the “unique”

circumstances of the case—they are therefore appropriate under governing law. See

Metromedia, 416 F.3d at 142-43. And the Appellants fail to identify any clearly erroneous

factual finding could justify reversal. Moreover, the grab-bag of federalism doctrines that the

Appellants cite have no application to a basic exercise of federal bankruptcy law nor justify

inventing a new exception that would give governmental actors the right to veto any plan, even if

supported by tens or hundreds of thousands of others. As for the claim that the Shareholder

Releases endanger the public welfare or health, they do not, as the Bankruptcy Court correctly

found.

         Nor did the Bankruptcy Court abuse its discretion in determining—on the basis of the all

but uncontroverted and overwhelming trial record—that the Shareholder Settlement is fair,

reasonable and in the best interests of the estates. There is simply no evidence to support

Maryland’s assertion that the Bankruptcy Court’s issuance of the preliminary injunction at the




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outset of the chapter 11 cases—which applied to the states’ claims against the Sacklers—

somehow fatally infected the arms-length bargaining process that produced the Shareholder

Settlement reached after years of mediation and litigation. Moreover, the preliminary injunction

was both supported by the UCC and the AHC, and affirmed as lawful and proper by this Court.

       Relatedly, in reliance on the Debtors’ liquidation analysis, and evidence regarding the

value of the Debtors’ businesses, the obstacles to collection against the Sacklers, and the dilutive

effects of uncoordinated litigation, the Bankruptcy Court correctly found—as the trier of fact—

that in a liquidation scenario “the objectors’ aggregate net recovery on their claims against the

Debtor and the shareholder released parties would be materially less than their recovery under

the [P]lan.” (MBR at 143.) This is not surprising since the only evidence and testimony on this

was from plan supporters. Moreover, as the Bankruptcy Court correctly concluded, the plain

meaning of section 1129(a)(7) does not require the Court to consider the value of claims

creditors hold against third-parties. Therefore, the Bankruptcy Court correctly determined, with

two independent rulings, that the Plan satisfies the requirements of section 1129(a)(7).

       Finally, the Bankruptcy Court’s determination that it was appropriate to bind the

Canadian Appellants—who at this late date still either misunderstand or mischaracterize the

releases as to Purdue Canada—to the release provisions in the Plan and that the classification

scheme under the Plan was proper are correct.

       The Bankruptcy Court’s order confirming the Debtors’ Plan should be affirmed.

                                          ARGUMENT

I.     The Bankruptcy Court Correctly Determined That the Shareholder Releases Are
       Appropriate Under Controlling Second Circuit Law

       Under 33 years of consistently applied Second Circuit law, courts in the Second Circuit

can enjoin and release litigation against non-debtors when that “plays an important part in the



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debtor’s reorganization.” Metromedia, 416 F.3d at 141; see also Drexel, 960 F.2d at 293

(same); Johns-Manville, 837 F.2d at 93-94 (holding that section 105(a) “has been construed

liberally to enjoin suits that might impede the reorganization process” and affirming injunction

of third-party claims against non-debtor insurers). Six other Circuits have similarly recognized

that the Bankruptcy Code authorizes such channeling injunctions and third-party releases.

Monarch Life Ins. Co. v. Ropes & Gray, 65 F.3d 973, 983-85 (1st Cir. 1995); In re Millennium

Lab Holdings II, LLC., 945 F.3d 126, 137-40 (3d Cir. 2019), cert. denied sub nom. ISL Loan Tr.

v. Millennium Lab Holdings II, LLC, 140 S. Ct. 2805 (2020); Nat’l Heritage Found., Inc. v.

Highbourne Found., 760 F.3d 344, 350-51 (4th Cir. 2014), cert. denied, 135 S. Ct. 961 (2015);

In re A.H. Robins Co., Inc., 880 F.2d 694, 701-02 (4th Cir. 1989); In re Dow Corning Corp., 280

F.3d 648, 656-58 (6th Cir. 2002); Airadigm Commc’ns, Inc. v. FCC (In re Airadigm Commc’ns,

Inc.), 519 F.3d 640, 655-58 (7th Cir. 2008); SE Property Holdings, LLC v. Seaside Eng’g &

Surveying, Inc. (In re Seaside Eng’g & Surveying, Inc.), 780 F.3d 1070, 1076-79 (11th Cir.

2015); see also In re Glob. Indus. Techs., Inc., 645 F.3d 201, 206 (3d Cir. 2011).

       Channeling injunctions and third-party releases are, for good reason, an established part

of bankruptcy jurisprudence in extraordinary cases. Where, as here, and in a number of other

mass tort cases, claims against the Debtors cannot be equitably treated without cutting through a

Gordian knot of claims against related parties closely tied to the debtors, the Bankruptcy Code

authorizes courts to enjoin and release litigation among non-debtor parties to enable a value-

maximizing resolution for all. See Johns-Manville, 837 F.2d at 93-94 (affirming use of third-

party releases to resolve mass tort bankruptcy); In re Dow Corning Corp., 287 B.R. 396, 402-417

(E.D. Mich. 2002) (same); In re TK Holdings Inc., No. 17-11375, 2018 WL 1306271 (Bankr. D.

Del. Mar. 13, 2018) (approving same).




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        It is similarly well-established that the power to enjoin and release third-party litigation is

rooted in the Bankruptcy Code’s broad authority to modify debtor-creditor relationships in a

plan. Under section 1123, a plan must provide adequate means for the plan’s implementation

“[n]otwithstanding any otherwise applicable nonbankruptcy law,” 11 U.S.C. § 1123(a)(5), and

further may include “any other appropriate provision not inconsistent with provisions of this

title,” 11 U.S.C. §1123(b)(6). And, under section 105(a) of the Code, bankruptcy courts enjoy

the broad authority to “issue any order, process or judgment that is necessary or appropriate to

carry out the provisions of this title.” 11 U.S.C. § 105(a). Sections 1123 and 105(a) together

provide broad “residual authority” to craft appropriate plans of reorganization consistent with

“the traditional understanding that bankruptcy courts, as courts of equity, have broad authority to

modify creditor-debtor relationships.” United States v. Energy Resources Co., 495 U.S. 545, 549

(1990); see also Pepper v. Litton, 308 U.S. 295, 296 (1939) (recognizing bankruptcy court’s

“broad equitable powers”). As a result, this Court, the Second Circuit, and a majority of other

Courts of Appeals have all concluded that the Bankruptcy Code authorizes [bankruptcy] courts

confirming a plan to enjoin and non-consensually release claims between non-debtors when

necessary and appropriate to adjust the debtor-creditor relationship consistent with the Code.

See, e.g., In re Kirwan Offs. S.à.r.l., 592 B.R. 489, 511 (S.D.N.Y. 2018) (recognizing that the

authority to enter non-consensual third-party releases is “derived from . . . bankruptcy law,”

“subject to 11 U.S.C. §§ 1129(a)(1), 1123(b)(5) & (6), 105, and 524(e)” and “flow[s] from a

federal statutory scheme”) (citations omitted), aff’d sub nom. In re Kirwan Offs. S.a.R.L., 792 F.

App’x 99 (2d Cir. 2019); see also In re Airadigm Commc’ns, Inc., 519 F.3d at 657 (“In light of

these provisions [§§ 105(a) and 1123(b)(6)], we hold that this ‘residual authority’ permits the

bankruptcy court to release third parties from liability to participating creditors if the release is




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‘appropriate’ and not inconsistent with any provision of the bankruptcy code.”); In re Dow

Corning Corp., 280 F.3d at 656 (same).

       Over more than 30 years, the Second Circuit has repeatedly affirmed that non-consensual

third-party releases and channeling injunctions may be imposed when essential to a value

maximizing reorganization. In Johns-Manville, for example the Second Circuit upheld an

injunction that channeled all claims against Johns-Manville’s insurance policies—the estates’

largest asset—to a settlement trust. Johns-Manville, 837 F.2d at 92. MacArthur, a distributor of

Manville’s asbestos products “claim[ed] to be a coinsured under the settled policies by virtue of

‘vendor endorsements’ contained in the policies,” id. at 92, and argued that as a beneficiary of

“separate and distinct” state-created rights under the policies, “the [b]ankruptcy [c]ourt lacked

jurisdiction and authority to enjoin suits against Manville’s insurers,” id. at 91-92. The Second

Circuit rejected this argument. Recognizing that section 105(a) must be “construed liberally to

enjoin suits that might impede the reorganization process,” and because “the insurance

settlement/injunction arrangement was essential . . . to a workable reorganization,” the Court of

Appeals held that the injunction against MacArthur “[fell] well within the bankruptcy court’s

equitable powers.” Id. at 93-94.

       The District Court and Second Circuit reaffirmed this holding in In re Drexel Burnham

Lambert Group, Inc. There, in settlement of SEC charges, Drexel agreed to create a $350

million fund to compensate investors. 130 B.R. 910, 913 (S.D.N.Y. 1991), aff’d, 960 F.2d 285

(2d Cir. 1992). Drexel contributed $200 million, but filed for bankruptcy before the remainder

came due. Id. In the bankruptcy proceedings, Drexel reached a comprehensive settlement with

the SEC and approximately 15,000 other claimants in which Drexel agreed to contribute the

remaining $150 million to the SEC fund which, together with Drexel’s remaining assets, would




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be divided among the various claimants. Id. A key feature of the settlement was a permanent

injunction barring future lawsuits against Drexel’s former directors and officers. Id. at 928. The

Court of Appeals upheld the third-party release and injunction as important to the plan because

the “[s]ettlement [a]greement [was] unquestionably an essential element of the [debtors’]

ultimate reorganization” and the injunction, in turn, was “a key component of the [s]ettlement

[a]greement.” 960 F.2d at 293. “Without the injunction,” the Second Circuit recognized, “the

directors and officers would be less likely to settle,” obstructing a resolution that would

maximize funds available to those whom the debtor had injured. Id.

       Most recently, in Metromedia, the Second Circuit again reaffirmed that third-party

releases and channeling injunctions are appropriate in “rare” circumstances, and identified a

number of such circumstances, including where (1) the estate received substantial consideration;

(2) the enjoined claims were channeled to a settlement trust rather than extinguished; (3) the

enjoined claims would directly impact the debtor’s reorganization by way of indemnity or

contribution; or (4) the plan otherwise provided for the full payment of the enjoined claims.

Metromedia, 416 F.3d at 141-42 (collecting cases); see also In re Karta Corp., 342 B.R. 45, 54

(S.D.N.Y. 2006) (“Non-debtor releases have been approved by courts in this Circuit where, for

example, the estate received substantial consideration in return for the release, and where the

enjoined claims were ‘channeled’ to a settlement fund rather than extinguished.”). The Second

Circuit, however, emphasized that the inquiry is “not a matter of factors and prongs.”

Metromedia, 416 F.3d at 142. Rather, the touchstone of the inquiry is a determination that

“unusual” or “unique” circumstances exist that “render the release terms important to the success

of the plan.” Id. at 142-43.




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       A.      The Bankruptcy Court Correctly Concluded that the Shareholder Releases
               Satisfy the Requirements of Second Circuit Law

               1.      The Bankruptcy Court Made Detailed Findings That the Shareholder
                       Releases Are Essential to the Debtors’ Abatement-Centric
                       Reorganization

       In light of controlling Second Circuit law, the task before the Bankruptcy Court was to

determine whether the Plan’s third-party releases and channeling injunctions were “important to

the success of the [p]lan” given the “unusual” or “unique” circumstances of the case. See

Metromedia, 416 F.3d at 143. After an eight-day trial, which involved the testimony of 41

witnesses and the introduction of tens of thousands of pages of exhibits into evidence, the

Bankruptcy Court’s detailed factual findings leave no doubt that the Plan’s third-party releases,

including the Shareholder Releases, were not only important, but in fact essential, to the Plan and

appropriate under governing law.

       First, the Bankruptcy Court found that the cases—perhaps the most complex in chapter

11 history (App. A3512 (MBR) at 135)—present “unique” and “unusual” circumstances that

justify non-consensual releases due to the inextricable interrelation between the claims against

the Debtors and against the Shareholder Released Parties. (Id. at 2-3 (“These cases are complex

also because the Debtors’ assets include enormous claims against their controlling shareholders,

and in some instances directors and officers, who are members of the Sackler family, whose

aggregate net worth, though greater than the Debtors’, also may well be insufficient to satisfy the

Debtors’ claims against them and other very closely related claims that are separately asserted by

third parties who are also creditors of the Debtors.”).) In particular, the Bankruptcy Court found

that the facts underlying the Shareholder Released Parties’ liability to the Debtors’ creditors

substantially overlapped with the facts underlying their liability to the Debtors on the estate

causes of action—the most significant asset of the estate. (Id. at 103-04 (“The third-party claims



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that the plan would release and enjoin are very closely related on the facts to the estates’ claims

for alter ego, veil piercing, and breach of fiduciary duty/failure to supervise settled under the

plan”).) These complex interrelationships made this case the “rare” case in which restructuring

of the debtor-creditor relationship would not be possible without third-party releases. See In re

Kirwan, 592 B.R. at 511 (explaining that “resolving . . . claims against third parties will be

integral only in ‘rare cases’”) (citing Metromedia, 416 F.3d at 141).

       Second, the Bankruptcy Court found that the $4.325 billion settlement payment that the

Sackler Families and their related entities agreed to make in satisfaction of claims of the Debtors

and its creditors was both “substantial” and critical to confirmation of the Plan. Indeed, the

settlement payments from the Sacklers far exceed the going concern valuation of the Debtors,

which was estimated to range between $1.6 billion to $2.0 billion, (App. 1755-56 (JX-3035)

(Declaration of Joseph Turner) (“Turner Decl.”) ¶ 22), and four times the amount of cash that the

Debtors’ have on hand, (Debtors’ Corporate Monthly Operating Report (Dkt. No. 3800) at 1-3).

Moreover, the trial record demonstrated that the critical intercreditor settlements were expressly

contingent upon settlement payments by the Sackler Families, and that, in particular, the states

would not agree to allocate defined cash amounts to private creditors without a settlement with

the Sacklers. Consequently, the Bankruptcy Court found that the many intercreditor settlements

under the Plan depended upon the Shareholder Settlement. (App. A3382-85 (MBR) at 73 (“Each

of those settlements hinges on at least the amount of money to be distributed under the [P]lan

coming from the Sacklers and their related entities in return for (x) the Debtors’ settlement and

(y) the third-party claims settlement.”); see also App. A3565 (FOF/COL) at 29 (“The Plan

Settlements, including the intercreditor allocation agreements and settlements reached in

Mediation, are premised upon the consideration under the Shareholder Settlement Agreement,




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and the term sheets agreed to by the private claimants in Mediation were conditioned on the

participation of the Sackler Families in the Plan”); App. 1751-53 (Turner Decl.) ¶¶ 13-16

(finding that the absence of a shareholder settlement would create “a substantial risk that the

Debtors or their successors would not be able to satisfy their payment obligations under the

[p]rivate [e]ntity [s]ettlements”).)

        The Bankruptcy Court found that, without the settlement payments from the Sacklers and

the many non-monetary obligations the Sacklers assumed pursuant to the Shareholder

Settlement, “[t]he private/public settlement would fall apart and the abatement settlements likely

would fall apart for lack of funding and the inevitable fighting over a far smaller and less certain

recovery with its renewed focus on pursuing individual claims and races to collection.” (App.

A3450-51 (MBR) at 73-74; see also id. at 135 (“Without the settlement payments, . . . the plan

would unravel, including the complex interrelated settlements that depend upon the payments

being supplied under the settlement in addition to the non-monetary consideration under it”).)

The Shareholder Releases were thus critical to the abatement-centric plan because “the

[S]hareholder [R]eleased [P]arties are not going to agree to provide the consideration under the

settlement without receiving the [S]hareholder [R]elease[s] in return.” (Id. at 136.) The

Bankruptcy Court as the trier of fact also found that, without the releases, “the [P]lan would

unravel and the Debtors’ cases would likely convert to cases under [c]hapter 7 of the Bankruptcy

Code.” (Id. at 141.) These findings are not contestable as there is no evidence supporting any

other conclusion.

        Third, the Bankruptcy Court found that a collapse of the Plan and interrelated settlements

would catastrophically reduce the amount of value available for abatement and victim

compensation. The court credited the testimony of the Debtors’ liquidation expert and concluded




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that “[u]nder the most realistic scenarios described in that analysis, there would literally be no

recovery by unsecured creditors from the estates in a [c]hapter 7 liquidation, which is . . . the

most likely result if the settlements with the shareholder released parties were not approved,

given the likely unraveling of the heavily negotiated and intricately woven compromises in the

plan and the ensuing litigation chaos.” (Id. at 90.) Even in the “best case” liquidation scenario,

the court found, unsecured creditors would share a “small” recovery of only $699 million in

value, as compared to billions provided under the Plan. (Id. at 141-42.)

       Fourth, the Bankruptcy Court found that continued litigation of opioid claims against the

Shareholder Released Parties would diminish or destroy the value of the Debtors’ estates, and,

consequently, the recoveries to the Debtors’ creditors. The court identified no fewer than five

distinct mechanisms through which continued litigation would negatively impact the res of the

Debtors’ estates, even if it somehow were possible to reorganize the Debtors without a

shareholder resolution. First, pursuit of litigation against members of the Sackler Families would

“directly affect . . . the Debtors’ ability to pursue the states’ own closely related, indeed

fundamentally overlapping claims” against the Sacklers (id. at 111), thereby imperiling what

may be the single largest asset of the estate. Second, continued litigation against the Sackler

Families would necessarily “implicate NewCo and could have an impact on the operations of

NewCo and NewCo’s ability to support abatement,” (App. A3565-66 (FOF/COL) at 29-30.)

Third, some, but not all, of that negative impact would also result, as the Bankruptcy Court

found, from the assertion of rights to indemnification and contribution, or, fourth, claims against

shared insurance—all of which would impact and could reduce the value of the estates. (App.

App. A3844 (MBR) at 111.) Fifth, and finally, even if—contrary to fact—the intercreditor

allocations could have been implemented without a Shareholder Settlement, continued creditor




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litigation against the Sacklers could undo those carefully-negotiated agreements. (App. A3565

(FOF/COL) at 29 (“Without the [Shareholder] Releases, and therefore without the consideration

under the Shareholder Settlement Agreement, there could be no certainty that such agreed up

allocations would not be undermined by collateral litigation”).) Indeed, as six creditor groups

represented at the confirmation hearing, no deal would be possible without broad third-party

releases and they could not, and would not, support a plan that permitted the remaining

dissenting states to opt out. (See, e.g., App. A4615 (Aug. 23, 2021 Confr. Hr’g Tr. 58:8-25)

(Debtors) (noting that the UCC, AHC, the MSGE, the PI Group, the NAS Committee, and the

Hospitals had authorized the Debtors to state on the record that those groups would “not support

a plan that allows for opt-outs that are material along the lines requested by the objecting

states”).)

        Fifth, the Bankruptcy Court both significantly (and repeatedly) narrowed the releases into

their final form and found that the final releases were tailored to the scope required to allow the

Debtors’ reorganization. As noted above, the Bankruptcy Court unsurprisingly concluded that

the claims subject to the Shareholder Releases and Channeling Injunction overlapped with the

claims against the Debtors (and the Debtors’ claims against the released third parties). To further

ensure that the Shareholder Releases apply only to those third-party claims that must be resolved

to restructure the debtor-creditor relationship, the Bankruptcy Court imposed a further

requirement: that only claims for which a Debtor’s conduct, or a claim asserted against a Debtor,

was a “legal cause” or a “legally relevant factor” would be subject to an involuntary third-party

release. (App. A3505-08, A3534 (MBR) at 128-31, 157 (reviewing case law, including this

Court’s decision in In re Karta Corp., and tailoring language of the Plan’s release in recognition

that scope of release must bear a “legally relevant” relationship to the debtors).




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       Sixth, the Bankruptcy Court found that the Plan, including the Shareholder Releases, was

supported by every organized creditor constituency in the cases and an overwhelming majority

of voting creditors, including each class of opioid claimants. Approximately 95% of votes cast

were in favor of confirmation; on a class-by-class basis every voting class voted

“overwhelmingly” in favor of the plan. (Id. at 9, 136.) In the two personal injury classes, Class

10(a) and Class 10(b), 98% and 95.7% of votes cast were in favor of confirmation. (MBR at 9.)

And, the acceptance rate of the non-federal governmental claimants was more than 96%. (Id. at

71, 83, 154; see also App. A0735 (Pullo Decl.) Ex. A.)

               2.      Appellants Identify No Clear Errors That Could Undermine the
                       Bankruptcy Court’s Conclusion

       While Appellants’ principal argument is that Metromedia itself is wrong or subject to a

heretofore unexpressed exception for “police power” actions (arguments addressed in Section

I(B)(2), infra), Appellants also assert that the Bankruptcy Court erred in the factual finding that

the releases are essential to the restructuring and justified under Metromedia and its

predecessors. Their basic assertion is that creditors’ claims against the Sacklers could somehow

be excised from the Plan and the Debtors’ reorganized without any payments from or resolution

of claims against the Sacklers. (E.g., Md. Br. at 56 (Oct. 26, 2021), Dkt. No. 100 (“There can be

no question that Debtors would be able to successfully reorganize here without the Sackler

contribution and in the absence of providing the Sackler family members and those who have

made no contribution . . . releases . . .”); id. at 4 (“Even though a different plan could have likely

been confirmed more quickly . . .”); Appealing States Br. at 30 (Oct. 27, 2021), Dkt. No. 101

(arguing that the Bankruptcy Court erred in concluding that the releases are important “based

solely on the Sacklers demand for blanket immunity as a condition to contributing to the estate”);

UST Br. at 51 (Oct. 25, 2021), Dkt. No. 91 (claiming “[i]t [wa]s not established that the Non-



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Debtor releases were necessary to reorganize Purdue”).) This unsupported and unsupportable

canard is contrary to the overwhelming evidence at trial, the Bankruptcy Court’s exhaustive

factual findings, and the states’ own conduct. It is no surprise that this truly astonishing factual

claim is made only in briefs that cite literally nothing—and certainly no party under oath—to

support it.

        The trial evidence demonstrated that the Plan could not be funded without the payments

under the Shareholder Settlement, and that, without that contribution, the Debtors would likely

be forced to liquidate in a manner that left nothing or, at best, billions of dollars less in recoveries

to opioid claimants. Judge Drain specifically found that “[w]ithout the $4.325 billion being paid

by the Sacklers under the Plan and the other elements of the Sackler settlements . . . [t]he

private/public settlement would fall apart and the abatement settlements would likely fall apart

for lack of funding,” and “inevitable fighting [would occur] over a far smaller and less certain

recovery with its renewed focus on pursuing individual claims and races to collection.” (MBR at

73-74.) The unrebutted testimony of Joseph Turner, the Debtors’ investment banker, established

that without the payments under the Shareholder Settlement, the estates are not likely to have

sufficient value to satisfy the various cash-out agreements reached with key private plaintiffs

groups during the Phase One Mediation, and, thus, the Debtors could not satisfy the DOJ’s

Forfeiture Judgment upon emergence. (App. A1752-53 (Turner Decl.) ¶¶ 15-16.) Likewise, as

the Bankruptcy Court found, the uncontested testimony of Jesse DelConte, the Debtors’ financial

advisor, established that “[u]nder the most realistic scenarios described in that analysis, there

would literally be no recovery by unsecured creditors from the estates in a [c]hapter 7

liquidation,” which Judge Drain determined would be “the most likely result if the settlements

with the Shareholder Released Parties were not approved, given the likely unraveling of the




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heavily negotiated and intricately woven compromises in the plan and the ensuing litigation

chaos.” (App. A3467 (MBR) at 90.)

        What’s more, despite their unsupported and unsupportable assertions that the Shareholder

Settlement is not essential, all of the states (including the State Appellants) concluded Phase One

Mediation with agreements conditioned on the participation of the Sackler Families in the

resolution of the cases. This was expressly noted in the final report filed on the docket by the

mediators at the conclusion of the Phase One Mediation. (App. A0122 (Phase 1 Mediators’

Report) ¶ 12.) Representatives of the states that support the Plan and the UCC similarly testified

under oath that the intercreditor agreements could not have been reached without payments from

the Sacklers. (See, e.g., App. A1817 (Guard Decl.) ¶ 67 (“Without the availability of the Sackler

assets, compromise between the Non-Federal Public Claimants and the Private Claimants would

have not been possible”); App. A4608 (Aug. 16, 2021 Confr. Hr’g Tr. 115:1-5, 143:14-144:10

(Atkinson) (“The UCC believes, with conviction, that the terms of the [P]lan represent the only

viable conclusion for the [c]hapter 11 cases . . .”).)

        Appellants’ next contention is that the Bankruptcy Court erred in concluding as the trier

of fact that the $4.325 billion shareholder settlement payment is “substantial” because it is not

“substantial compared to the total liability and the wealth remaining with them.” (Appealing

States Br. at 35.) The Appealing States and the U.S. Trustee also argue that the Shareholder

Releases are inappropriate because the Plan does not provide for full payment on the released

claims. (Appealing States Br. at 35; UST Br. at 52.) But these are simply rehashes of arguments

the Bankruptcy Court rejected. The claims asserted against the Debtors are in the tens of trillions

of dollars (or more). (See App. A0730 (Pullo Decl. (Aug. 8, 2021), Dkt. No. 3372) ¶ 8.) The

Bankruptcy Court “carefully considered” the “aggregate amount of claims asserted against the




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Sacklers or the aggregate amount of the wealth” and acknowledged that the settlement “leaves

the Sackler [F]amily members in the aggregate with substantial wealth.” (App. A3382-85

(MBR) at 58, 136-37.) Nevertheless, the Bankruptcy Court concluded, after an exhaustive

review of the fairness of the settlement and the impediments to collection, that the Shareholder

Settlement would be preferable to the alternative, because “if [the Bankruptcy Court] denied

confirmation of the [P]lan, the objectors’ aggregate net recovery on their claims against the

Debtors and the Shareholder Released Parties would be materially less than their recovery under

the [P]lan.” (App. A3382-85 (MBR) at 143; see also Section I(A)(1), supra.) As the

Bankruptcy Court found, there could be “serious . . . problems that would be faced in collection

that the [P]lan settlements materially reduce.” (App. A3476 (MBR) at 99.) For example, the

amount of money actually recoverable by the estates was potentially limited by a number of

factors, including the fact that Purdue had plead guilty in 2007 and resolved issues related to its

pre-2007 conduct, over 40% of the payments to the Sackler Families were made for the purposes

of paying taxes (and thus arguably were made for fair consideration), and the statute of

limitations might limit the reach back by the estates. (See App. A3469-71 (MBR) at 92-94.)

       Appellants also attempt to minimize the negative impact that future litigation would have

on the estates by focusing solely on indemnification and contribution claims, and now make the

factual assertion that “the Sacklers undisputed bad acts would invalidate any indemnity and

insurance claims.” (Appealing States Br. 32.) Of course, indemnity and contribution are far

from the only impacts that such litigation would have on the estates: as described above, such

litigation would have no fewer than five concrete impacts on the estates, including that it would

potentially hinder the Debtors’ efforts to monetize the estates’ valuable claims against the

shareholders, which are predicated on the existence of that very liability.




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       But even addressed on its own terms, Appellants’ arguments assume a scenario where

they have in fact prevailed on their direct actions and the further scenario that they prevail in all

subordination litigation against every Sackler related party before the Bankruptcy Court. As the

Bankruptcy Court concluded, there can be no guarantee of that outcome (see App. A3466-68

(MBR) at 89-91), and “[l]itigation over a disputed indemnification or contribution claim is itself

an effect upon the [e]state,” (App. A3561-62 (FOF/COL) at 25-26). The Appealing States’ only

response is pure speculation. They assert that the Debtors’ insurance coverage potentially would

not be implicated by suits against related parties involving the Debtors’ conduct. (Appealing

States Br. at 32.) They also contend the “releases cover potentially thousands of individuals and

entities who have no plausible indemnity claims against Purdue.” (Appealing States Br. at 33.)

Again, as discussed further below in connection with the Appellants’ jurisdictional arguments,

these aspirational factual assertions are directly contradicted by the trial evidence and the

Bankruptcy Court’s clear factual findings: “[l]itigation of [the Shareholder Released Claims, as

narrowed by the Bankruptcy Court] could deplete the value of certain insurance policies, could

lead to the assertion of indemnification and contribution claims against the [e]states, and could

prejudice the [e]states or the Master Dis[bursement] Trust [(“MDT”)] (and therefore reduce the

value available for distribution to the Creditor Trusts) in future litigation of such claims or causes

of action.” (App. A3561-62 (FOF/COL) at 25-26; App. A3488 MBR at 111 (“[T]he third party

claims that are covered by the [S]hareholder [R]elease[s] under the [P]lan . . . directly affect the

res of the Debtors’ estates, including insurance rights [and] the Shareholder Released Parties’

rights to indemnification and contribution”) (emphasis added).) These potential impacts on the

estates are far more than sufficient to justify a third-party release. See, e.g., In re Genco

Shipping & Trading Ltd., 513 B.R. 233, 271 (Bankr. S.D.N.Y. 2014) (permitting third-party




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release for claims that trigger indemnification obligations that arose before the bankruptcy); In re

Adelphia Commc’ns Corp., 368 B.R. at 267 (approving third-party releases for “the enjoined

claims [that] indirectly impact[ed] the debtor’s reorganization by way of indemnity or

contribution”).

         B.       The Appellants’ Attempts to Avoid Application of Second Circuit Law Fail

         What remains of the Appellants’ arguments is that, notwithstanding the detailed factual

findings above that establish that the third-party releases are essential to the Plan, such releases

are per se unlawful such that the Plan must be consigned to failure. Those arguments are without

merit.

                  1.    Third-Party Releases Are Permitted in the Second Circuit

         The U.S. Trustee (and the DOJ in whatever capacity it has appeared) contend that third-

party releases are categorically prohibited under the Bankruptcy Code. (See UST Br. 38-50;

DOJ Stmt. at 30 (“Despite Metromedia, it is the Government’s position that involuntary third-

party releases are not authorized by the Bankruptcy Code, and thus the Shareholder Release here

is unlawful.” (emphasis added).) This assertion—despite the law being “x,” make it not “x”—

should be rejected because it is simply not the law in the Second Circuit, where it is well

established that third-party releases are permissible under appropriate and unique circumstances.

See Metromedia, 416 F.3d at 141-43; Drexel, 960 F.2d at 293. It also is not the law in the

substantial majority of other Circuits, which similarly permit third-party releases.

         Moreover, the U.S. Trustee and Maryland advance the meritless claim that Metromedia

should be ignored because its holding regarding the availability of nonconsensual releases is

non-binding “dicta” or because the case was decided on other grounds. (UST Br. at 50; Md. Br.

at 55 (“Metromedia’s dictum . . .”).) That argument is frivolous. The Second Circuit itself

describes Metromedia as holding that nonconsensual third-party releases are authorized in


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appropriate circumstances. See In re Bernard L. Madoff Inv. Sec. LLC, 740 F.3d 81, 93 n.12 (2d

Cir. 2014) (“In In re Metromedia Fiber Network, Inc., we held that a bankruptcy court could

permit the nonconsensual release of creditors’ claims against third parties upon a finding of

‘truly unusual circumstances’ that ‘render the release terms important to [the] success of the

[underlying bankruptcy reorganization plan].’” (emphasis added)); In re Karta Corp., 342 B.R.

at 54 (“In Metromedia, the Second Circuit held that . . . non-debtor releases . . . are proper only

in rare cases.”) (quotation omitted and emphasis added); In re Kirwan Offices S.à.r.l., 592 B.R.

at 503-12 (affirming approval of non-debtor releases in confirmation order because was one of

the “rare cases” under Metromedia where the Second Circuit “permit[s] them”); In re Stearns

Holdings, LLC, 607 B.R. 781, 787 (Bankr. S.D.N.Y. 2019) (“Applying Metromedia, courts in

this District have held that a non-debtor release may be justified . . .”). Bankruptcy and district

courts have faithfully applied Metromedia’s holding for years, and not one has ever suggested

that it is nonbinding dicta.

                2.      There Is No “Police Power” Exception to Metromedia

        For their part, the State Appellants urge this Court to craft a brand-new exception to

Metromedia for so-called “police power” claims. (Appealing States Br. at 11-27; Md. Br. at 13,

53-54; Cal. Br. at 7-10 (Oct. 26, 2021), Dkt. No. 99.) Their argument is ultimately premised on a

grab bag of inapposite statutory provisions, out-of-context case law, and inapplicable legal

doctrines—some of which, if accepted, would not just prohibit third-party releases of police

power actions but also third-party releases more generally, directly contrary to binding circuit

precedent. The Bankruptcy Court correctly held that the State Appellants’ requested police

power exception is without support (App. A3526-34 (MBR) at 149-57), and this Court should

likewise reject it.




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               (i)     Third-Party Releases of So-Called Police Power Actions Do Not
                       Violate and Are Not Otherwise Inconsistent with the Bankruptcy
                       Code

       As they did before the Bankruptcy Court, the State Appellants cite a number of isolated

provisions of the Bankruptcy Code that they claim demonstrate that third-party releases of police

power actions are inconsistent with or contravene the Code. (Appealing States Br. at 14-17, 25-

27; Md. Br. at 48-54.) Of course, the provisions of the Bankruptcy Code pursuant to which the

Plan was confirmed and third-party releases were imposed draw no distinction between claims

held by states and other parties. (App. A3526 (MBR) at 149 (“In certain carefully delineated

instances, the Bankruptcy Code and the Judicial Code recognize the police power of states and

other governmental units, but only in those limited contexts.”) (emphasis added).)

Unsurprisingly, none of the provisions cited by the State Appellants supports the proposition that

a release of police power claims—let alone money damage claims for past conduct—contravenes

the Code, and the first actually establishes precisely the opposite.

       Section 362(b)(4), for example, provides a limited exception to the automatic stay for

police power actions. See 11 U.S.C. § 362(b)(4). The State Appellants contend that this

provision reflects “Congress’ intent not to displace the [S]tates’ exercise of police powers

through litigation.” (Md. Br. at 50; see Appealing States’ Br. at 15.) Not so. Section 362(b)(4),

as the Bankruptcy Court correctly held, provides only a “limited exception” to the automatic

stay. (App. A3382-85 (MBR) at 149-50.) It does not, by its own terms, even allow

governmental actions to enforce a monetary judgment from the automatic stay (a governmental

entity has to come to the bankruptcy court to do that). (Id.) To the point, “[t]he effect of [the

police-powers exception of section 362(b)(4)] is not to make the action immune from injunction.

The court has ample powers to stay actions not covered by the automatic stay.” See H.R. Rep.

No. 95-595, at 342 (1977), reprinted in 1978 U.S.C.C.A.N. 5963, 6298 (emphasis added).


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Congress therefore recognized that bankruptcy courts have the power to (and do) prevent

governmental entities from pursuing so-called police power actions under appropriate

circumstances. This very Court confirmed as much when affirming the Bankruptcy Court’s

preliminary injunction: “the police powers exception is irrelevant to [the] appeal” and “[n]othing

in § 362(b)(4) constrained [Judge Drain] from entering such an injunction.” In re Purdue

Pharma L.P., 619 B.R. 38, 57 (S.D.N.Y. 2020).

       Penn Terra Ltd. v. Dep’t of Env. Res., Com. of Pa., 733 F.2d 267 (3d Cir. 1984), which

Maryland relies on in support of its argument under section 362 (Md. Br. at 49), illustrates the

same point. In the course of addressing the scope of the police and regulatory power exception

under section 362, the panel explained that section 105(a) acted to balance the goals of the Code

against the effects of the exception, because in “some individual situations” police power actions

“may run so contrary to the policy of the Bankruptcy Code that [they] should not be permitted.”

Id. at 273. Indeed, the Penn Terra panel repeatedly noted that where—exactly as here—a police

power action “results in an impermissible dilution of federal bankruptcy policy, then the

bankruptcy court may always issue an injunction tailored to fit those circumstances . . . based

upon traditional equitable standards.” Id. at 274 (emphasis added). Nothing in section 362(b)(4)

constrained Judge Drain in any way from entering the third-party release at issue in this appeal.

       The State Appellants’ reliance on 28 U.S.C. § 1452(a) also is misplaced as it concerns the

removal of “police and regulatory” claims to federal court and subsequent adjudication of those

claims, which this appeal plainly does not involve. Moreover, section 1452(a) says nothing

about whether the Bankruptcy Court has the power to enjoin the prosecution of such claims as

part of a plan of reorganization (which it clearly does)—a different inquiry altogether. For this

reason, among many others, the Appealing States’ citation to a single out-of-Circuit lower court




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case is inapposite. (Appealing States Br. at 15 (citing In re Union Golf of Florida, Inc., 242 B.R.

51, 58-60 (Bankr. M.D. Fla. 1998) (holding that plan including provision purporting to allow

debtor to violate county zoning regulations on prospective basis could not bind county under 11

U.S.C. § 1141 since zoning violation did not create a “claim” within the meaning 11 U.S.C. §

101, and discussing 28 U.S.C. § 1452(a) in cursory dicta in that context).)

       Nor are the State Appellants correct that an exception for police power actions should be

inferred from section 523(a), which relates to the non-dischargeability of certain claims only

against individual debtors. (Appealing States’ Br. at 16-17, 25; Md. Br. at 50-51.) The

Appellants go so far as to allege that the Shareholder Releases constitute a “blanket release” or a

“super-discharge.” (Appealing States Br. at 3, 9.) As an initial matter, this argument proves too

much. Section 523(a) applies only to individuals, and so, under the State Appellants’ logic, the

Sackler entities and trusts that are Shareholder Released Parties could still receive broader

releases than any natural Sackler persons. See 11 U.S.C. § 523(a). In any event, the fatal flaw in

the State Appellants’ reasoning (inflammatory rhetoric aside) is that a third-party release is not a

bankruptcy discharge. To the contrary, a wide gulf separates the two (as the Second Circuit

recognized over 30 years ago and Judge Drain repeatedly noted). See Johns-Manville, 837 F.2d

at 91 (“[T]he injunctive orders do not offer the umbrella protection of a discharge in

bankruptcy”). The discharge provided to a debtor upon confirmation applies to nearly every

prepetition claim. Third-party releases, by contrast, are available only under unique

circumstances, are often (as here) tailored to specific claims, are closely scrutinized, and are not

imposed automatically but only where such releases are determined by the bankruptcy court to,

inter alia, be important to a debtor’s reorganization. (See supra Section I(A)(1).) A discharge

and third-party release serve entirely different functions, and their respective scopes reflect




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that—a distinction that the Bankruptcy Court understood when it narrowly tailored the third-

party releases here.

       Maryland’s and the U.S. Trustee’s claim that section 524(g), which provides for

channeling injunctions with respect to claims against third parties in the asbestos context,

precludes fashioning third-party releases outside of that context is equally unavailing, and is

nothing more than a request for this Court to somehow nullify governing Second Circuit

precedent. (Md. Br. at 52; UST Br at 38-41.) As the Bankruptcy Court correctly observed, the

relevant legislative history expressly establishes that “[section 524] is not intended to alter any

authority bankruptcy courts may already have to issue injunctions in connection with a plan of

reorganization.” (App. A3500 (MBR) at 123 (citing H.R. Rep. 103-834, 103d Cong., 2nd Sess.

12; 140 Cong. Rec. H10765 (Oct. 4, 1994)). The Public Law enacting the amendments to

section 524 makes that point express through a rule of construction. See Bankruptcy Reform Act

of 1994, Pub. L. No. 103-394, sec. 111(b), 108 Stat. 4117 (1994) (codified as amended in

scattered sections of 11 U.S.C.) (“Rule of Construction—Nothing in [11 USC § 524] shall be

construed to modify, impair, or supersede any other authority the court has to issue injunctions in

connection with an order confirming a plan of reorganization”). In other words, precisely the

opposite inference that Maryland and the U.S. Trustee wishes to draw is warranted: section

524(g) was simply one congressional effort to codify a subset of already well-established

equitable powers, and Congress was express that no equitable powers were intended to be

displaced by its enactment. Indeed, it is telling that Appealing States—who advanced this

argument often before the Bankruptcy Court—have seemingly abandoned it on appeal.

       Finally, the Appealing States are not correct that third-party releases violate the “general

bankruptcy rule” (Appealing States Br. at 26)—taken out of context from a Supreme Court case




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far afield from the one at hand—that “[t]he estate cannot possess anything more than the debtor

itself did outside of bankruptcy,” see Mission Prod. Holdings, Inc. v. Tempnology, LLC, 139

S.Ct. 1652, 1663 (2019), or contravene section 544 of the Bankruptcy Code, which allows

debtors to void certain transfers. Both claims suffer from, among other things, the mistaken

notion that the Debtors are somehow possessing the rights of or asserting the claims of the

Appealing States because the Plan contains a third-party release. Unsurprisingly, the Appealing

States have not cited a single case that remotely suggests that third-party releases are not viable

under that logic. And each of these arguments would of course mean that seven Circuits,

including the Second, have erred for decades (and that this Court should overrule Manville,

Drexel, and Metromedia as wrongly decided).

       For all of these reasons, the State Appellants’ argument that third-party releases of police

power claims cannot be squared with Supreme Court cases like Law v. Siegel, 571 U.S. 415

(2015), and Czyzewski v. Jevic Holding Corp., 137 S.Ct. 973 (2017), and Second Circuit cases

such as In re Dairy Mart Convenience Stores, Inc., 351 F.3d 86 (2d Cir. 2003), and In re Smart

World Techs., LLC, 423 F.3d 166 (2d Cir. 2005), is incorrect. Unlike in those cases, the

Bankruptcy Court’s confirmation of the Plan here flowed directly from the Congress’ grant of

authority under the Bankruptcy Code, did not contravene any Bankruptcy Code provision, and

was not inconsistent with any fundamental bankruptcy tenet. Compare Siegel, 571 U.S. at 422

(“Thus, the Bankruptcy Court’s ‘surcharge’ was unauthorized if it contravened a specific

provision of the Code. We conclude that it did.”); Jevic Holding Corp., 137 S.Ct. at 984

(rejecting appropriateness of priority-violating distributions as part of a structured dismissal); In

re Smart World Techs., LLC, 423 F.3d at 184 (“Section 1109(b), as we have explained, does not

entitle appellees to take over Smart World’s legal claims, and various other provisions of the




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Code assign to Smart World alone the role of legal representative of, and fiduciary to, the

bankruptcy estate. These are statutory limitations that the bankruptcy court cannot overstep

simply by invoking § 105(a).”); In re Dairy Mart Convenience Stores, Inc., 351 F.3d at 92

(denying motion to require debtor to renew letter of credit under section 105(a) after court ruled

that movant was not entitled to lift the automatic stay to pursue that relief outside of bankruptcy).

               (ii)    Precedent Supports the Non-Consensual Release of State Claims
                       under Appropriate Circumstances, and No Case Holds That a Police
                       Power Claim Cannot be Subject to a Third-Party Release

       Putting aside (for the moment) that the inquiry of whether the State Appellants’ claims

can be properly subject to a third-party release starts and stops with Metromedia, it bears

emphasis that there is specific precedent for the release of claims for damages asserted by both

state and federal agencies—authority which, although identified by the Bankruptcy Court (MBR

at 152), the State Appellants continue to downplay or ignore. In dramatic contrast, the State

Appellants have not proffered (and the Debtors have not located) a single case—anywhere,

ever—holding that a third-party release cannot be imposed with respect to such a claim simply

because the claim is asserted by a governmental entity.

       The recent case of In re Exide Holdings, Inc., No. 20-11157-CSS, 2021 WL 3145612 (D.

Del. July 26, 2021), is incredibly instructive. There, the debtor (Exide) filed for chapter 11

protection facing mounting environmental remediation expenses stemming from sixteen battery

recycling facilities in ten states, including California. See id. at *2. To generate capital to fund

remediation, Exide marketed and reached a deal to sell its viable businesses to a number of

buyers. See id. at *2. Exide nonetheless still lacked sufficient funds to remediate the harm it had

caused at its sites and, absent some alternative, the sites would likely have to be abandoned and

the costs borne by the states. See id. To avoid that outcome, the debtors and the states

negotiated for months before five different mediators, ultimately reaching agreement on a


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mediators’ proposal for a global settlement. Id. The terms of that global settlement provided,

among other things, for the creation of an environmental remediation trust to be funded by the

debtors and funds paid by the buyers of Exide’s businesses. Id. This global settlement was

overwhelmingly supported by all key stakeholders: the creditors’ committee, the U.S.

government, and ten state environmental regulators, including California’s Department of Toxic

Substances and Control, which had jurisdiction over Exide’s California site. See id. at *3.

Weeks after the mediation concluded, however, the California Governor’s office rejected the

global settlement. See id. at *2. To avoid the collapse of the Plan—and abandonment of

numerous hazardous sites in nearly a dozen states within no way to fund remediation efforts—

Exide amended its plan to provide that California would still receive the same settlement

payment it would have received under the initial plan, but that its third-party claims against the

buyers and their related parties who had contributed funds to enable the global settlement would

be involuntarily released. Id.

       The bankruptcy court confirmed the plan over California’s objection, and the district

court affirmed. Id. at *7. Because the bankruptcy court had found that third-party releases of the

state claim were essential (the “sine qua non”) to preserving an otherwise overwhelmingly

supported global resolution, securing critical payments needed to fund the remediation trusts, and

avoiding the threats posed by abandonment of contaminated properties, the district court held

that California’s claims against third parties could be released without its consent. Id. at *6-7.

       In re Exide provides a recent illustrative example of a court imposing a non-consensual

release of a state claim to prevent the destruction of an otherwise value-maximizing,

overwhelmingly-supported, and publicly beneficial global resolution when the stringent

requirements for third-party releases are otherwise satisfied. Moreover, in In re Exide, the




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United States Department of Justice on behalf of the Environmental Protection Agency, not only

expressly supported (including on appeal) the non-consensual third-party release of a state’s

claim in that case—in stark contrast to the United States’ categorical position here that third-

party releases are unlawful—they also opposed a stay of that confirmation order on appeal and

sought to have the appeal dismissed as equitably moot. See Br. Appellee, United States of

America, Dkt. No. 59 at 23, In re Exide Holdings, Inc., No. 20-cv-01402 (D. Del.); see also id.

Dkt. No. 14 at 5, Opp’n. of the United States to Emergency Mot. for Stay Pending Appeal. This

briefing can be founded in the Debtors’ Addendum of Unpublished Authority filed

contemporaneously herewith. And every single State Appellant (with the exception of the

District of Columbia) was a creditor in Exide. Not one of them (except of course California)

opposed the involuntary release of California’s third-party claims.

       The State Appellants quarrel with the Bankruptcy Court’s discussion of In re Peabody

Energy Corporation, 958 F.3d 717, 723 (8th Cir. 2020), and In re Airadigm Commc’ns, Inc., 519

F.3d 640, 657 (7th Cir. 2008). (See App. A3529 (MBR) at 152; Appealing States Br. at 18-21.)

But these authorities—two other Courts of Appeal—confirm that a bankruptcy court’s power to

confirm a plan with third-party releases clearly encompasses claims for money damages, even if

such money damages claims arise under laws that are traditionally conceived as police power

laws. In In re Peabody, for example, the Eighth Circuit found that the bankruptcy court acted

well within its discretion in determining that public nuisance claims brought by municipalities

against Peabody had been discharged under its plan notwithstanding the plan’s exception to

discharge for claims under “applicable police or regulatory law.” 958 F.3d at 723. There,

because municipalities “were seeking damages and disgorgement of fifty-years-worth of profits”

and “if . . . successful, they would obtain a pecuniary advantage over other creditors,” the Eighth




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Circuit found that the bankruptcy court was within its discretion in determining that the plan did

not except such claims from discharge. Id. Moreover, the Eighth Circuit expressly rejected the

municipalities’ separate contention that their public nuisance claims were not subject to

discharge under section 1141 of the Bankruptcy Code. See id. at 725. Because the

municipalities’ claims, although ostensibly equitable in nature under state law, sought money

damages, that put those claims squarely within the scope of a permissible discharge. See id.

(finding that even “if the municipalities cannot deposit abatement-fund payments into their

general treasuries, it is the municipalities and their people who stand to benefit from them”).

       Similarly, in In re Airadigm Communications, the Seventh Circuit expressly affirmed the

non-consensual release of the Federal Communications Commission’s claim for damages against

a third-party non-debtor that had contributed assets to the estates to enable a global settlement.

519 F.3d at 657. The Appellants advance a host of factual reasons (largely based on their

erroneous characterizations of the facts in the cases at bar) as to why this Court should ignore

these highly instructive cases. (E.g., Appealing States Br. at 18-20 (arguing that release in

Airadigm is distinguishable because releases there were found to be “narrow, did not provide

blanket immunity, and excluded willful misconduct” and release in Peabody is distinguishable

because Peabody did not involve claims against third parties). The fundamental point underlying

the Bankruptcy Court’s citation of these cases, however, remains: courts have consistently

upheld releasing governmental claims against third parties under appropriate circumstances, and

no court—anywhere, ever—has held that the Bankruptcy Code prohibits such releases.

               (iii)   The Plan Does Not “Unconstitutionally Preempt” State Police Power
                       Laws

       The State Appellants resort to generalized arguments predicated on amorphous

conceptions of “state sovereignty, comity, and federalism.” (Appealing States Br. at 15.) The



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Appealing States contend that the Shareholder Releases “unconstitutionally preempt[]” their state

police power claims in violation of federal preemption law. (Appealing States Br. at 17-20.)

According to the Appealing States, the Bankruptcy Court should have presumed (based on

“bedrock principles” of sovereignty and comity) that in the absence of explicit statutory

authorization for third-party releases concerning state police power claims, such releases are

somehow prohibited. (Appealing States Br. at 17.) But this has the interpretive presumption

exactly backwards. Congress intended to grant broad authority to bankruptcy courts to “modify

creditor-debtor relationships,” particularly in the context of approving plans of reorganization,

and not to limit that authority to particular claims or claimants unless Congress expressly

provides otherwise. As the Bankruptcy Court observed, “[a third-party] injunction is most

clearly within the ambit of traditional bankruptcy power when it pertains primarily to the

collection of money on claims that overlap claims against a debtor’s estate, not to enforcement of

states’ rights otherwise to regulate conduct.” (App. A3530 (MBR) at 153.) See Kirwan, 592

B.R. at 511 (holding that the Bankruptcy Code “reflects Congress’[] exercise of its preemption

powers, which permit the ‘abolition of [rights] to attain a permissible legislative object’” and

“[b]y way of the Bankruptcy Code, Congress authorized ‘wholesale preemption of state laws

regarding creditors’ rights’ and has delegated this preemptive power to bankruptcy courts”).

       Close inspection reveals that the Appealing States’ argument is almost exclusively

premised on out-of-context snippets from authorities addressing situations utterly inapposite to

the present one. Many address questions of whether a state legal regime outside of the

bankruptcy context is preempted wholesale by federal law and cannot be enforced—a situation

that cannot be remotely analogized to the case at hand. See Arizona v. U.S., 567 U.S. 387, 393

(2012) (addressing whether federal law preempts and renders generally invalid provisions of a




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state statute concerning immigration issues and upholding injunction obtained by the United

States preventing certain of the provisions from taking effect); Medtronic, Inc. v. Lohr, 518 U.S.

470, 487 (1997) (analyzing whether the Medical Device Amendments preempted common law

negligence claims, with plurality determining that it was “implausible” that “Congress

effectively precluded state courts from affording state consumers any protection from injuries

resulting from a defective medical device,” particularly where the federal act did not create a

private right of action and thus interpreting the statute to preempt common law claims “would

have barred most, if not all, relief for persons injured by defective products”); U.S. Smokeless

Tobacco Mfg. Co. v. City of New York, 708 F.3d 428, 430, 436 (2d Cir. 2013) (rejecting

argument that a New York City ordinance governing the sale of flavored tobacco products was

generally preempted and further concluding that the “ordinance represents an exercise of local

police power that Congress specifically allowed in enacting [the federal regime that was claimed

to preempt the ordinance]”).

       A handful of other cases cited, though ostensibly in the bankruptcy context, raised

preemptions questions because the plans contained provisions that would affirmatively violate

state or local law. For example, in Montgomery Cty., MD v. Barwood, Inc., 422 B.R. 40, 43-49

(D. Md. 2009), the court refused to affirm confirmation of a plan that would permit the transfer

from the Debtor of a significant portion of the taxicab medallions issued in a county in a way that

would violate county law and upend the county’s purposeful regulatory regime that otherwise

sought to ensure a centralized taxicab structure and accountability by keeping most medallions

with fleets rather than individuals (to whom the Debtors sought to transfer the medallions at

issue). Likewise, in In re Irving Tanning Co., 496 B.R. 644, 661 (B.A.P. 1st Cir. 2013), the

court refused to permit a plan that violated state self-insurance and property laws in the workers




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compensation context and otherwise appropriated funds held pursuant to those laws that were not

the Debtors’ property. See also Pac. Gas & Elec. Co. v. California ex rel. California Dept of

Toxic Substances Control (In re PG&E), 350 F.3d 932, 934, 937 (9th Cir. 2003) (addressing plan

that would disaggregate PG&E into four new corporations, which disaggregation state parties

contended violated the California Public Utilities Code). Here, the third-party release and

accompanying channeling injunction cannot be fairly characterized as violating or invalidating

any state law. Indeed, where, as here, the claims against the released third parties are highly

interrelated and stem from the same underlying conduct of the Debtors—and the resolution of

the latter would be impossible without the former—a release of those claims as part of a plan

falls at the heartland of the power granted to bankruptcy courts under the Bankruptcy Code to

modify debtor-creditor relations. This is particularly the case, where, as here, such claims seek

only damages for past wrongful conduct, the conduct giving rise to the lawsuits—marketing of

opioids—ceased in 2018, no member of the Sackler Families remains connected with the

Debtors, and the Debtors’ successors will be subject to stringent, and fully agreed to, governance

obligations and covenants that ensure they operate in the public interest.

       Finally, the only two Second Circuit cases cited by the Appealing States are entirely

inapposite. Neither involve the scope of the power granted under the Bankruptcy Code to

approve third-party releases of claims that seek money damages for past conduct that are

essential to a plan of reorganization. See In re Morton, 866 F.2d 561, 564 (2d Cir. 1989)

(analyzing whether the automatic stay under section 362(a) preempts state law requiring debtors

to obtain an extension of its lien); In re Berry Ests., Inc., 812 F.2d 67, 71 (2d Cir. 1987)

(considering whether bankruptcy court could distribute excess rents to landlord in violation of




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New York State’s Emergency Tenant Protection, thereby allowing the landlord to retain rents to

which he was not entitled and which were in excess of those permitted under State law).

               (iv)    Third-Party Releases Do Not Implicate the “Anti-Commandeering”
                       Doctrine

       Yet further afield is Maryland’s assertion that third-party releases violate the so-called

“anti-commandeering” doctrine. (Md. Br. at 35-41.) Pursuant to that doctrine, the federal

government “may neither issue directives requiring [s]tates to address particular problems, nor

command the States’ officers, or those of their political subdivisions, to administer or enforce a

federal regulatory program.” Printz v. United States, 521 U.S. 898, 935 (1997). So, for

example, Congress cannot constitutionally compel states to either enact legislation providing for

the disposal of nuclear waste or require them to take title to, and possession of, that waste. See

New York v. United States, 505 U.S. 144, 176 (1992). Nor can it require state chief law

enforcement officers to conduct handgun background checks. Printz, 521 U.S. at 935. Simply

describing the anti-commandeering doctrine proves its inapplicability here. Nothing in the third-

party releases remotely purports to command Maryland’s officials to enact a federal policy or

program. If there is any federalism problem lurking here, it would be found in the assertion that

this Court should construct a new doctrine that would allow a single government entity to

commandeer a reorganization in order to achieve its preferred outcome by unilaterally

withholding its consent to a value-maximizing Plan validly crafted under federal law (and

supported by 97% of all voting governments).

               (v)     The Bankruptcy Court Did Not “Assum[e] the Mantle of the
                       Prosecutor”

       Maryland also is wrong that, in approving third-party releases, the Bankruptcy Court

somehow “assum[ed] the mantle of the prosecutor.” (Md. Br. at 41.) It did not. Rather, the

Bankruptcy Court held that, pursuant to long-established and controlling Second Circuit law,


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pursuit of a narrow set of claims by states and other parties against a defined set of third-parties

could be enjoined and those claims channeled because that third-party release was critical to the

Debtors’ reorganization and value-maximizing Plan. And, importantly, the releases at issue—

supported by 97% of almost 5,000 non-federal governmental claimants—do not cover criminal

claims. The authority cited by Maryland is thus entirely inapposite. See, e.g., Citizens for Resp.

and Ethics in Washington v. Fed. Election Comm’n, 993 F.3d 880, 882 (D.C. Cir. 2021)

(rejecting attempt by watchdog group to require Federal Election Commission to pursue

enforcement action); Nieves v. Bartlett, 139 S.Ct. 1715, 1720 (2019) (addressing whether the

existence of probable cause defeats a retaliatory arrest claim as a matter of law); U.S. v.

Banuelos-Rodriguez, 215 F.3d 969, 970-71 (9th Cir. 2000) (determining that a defendant’s

argument that he would have been offered a plea bargain if arrested in a different district which

would, in turn, have resulted in a shorter sentence was not a proper ground for departing from

federal sentencing guidelines); Vann v. Angelone, 73 F.3d 519, 521 (refusing to substantively

review state parole decision and finding that such decision satisfied the requirements of the due

process clause); Hecker v. Chaney, 470 U.S. 821, 835 (1985) (rejecting attempt by death row

inmates to force FDA to take enforcement action against Oklahoma and Texas for misusing

drugs in lethal injections).11

                (vi)    The Shareholder Releases Do Not Endanger the Public Welfare or
                        Health

        Ultimately, the State Appellants’ request that this Court fashion from whole cloth a police

power exception to Metromedia and contravene the governing law, in this Circuit and the

        11
          Maryland’s separate contention that “[t]he judicial power does not permit courts to
make settlement decisions for parties” (Md. Br. at 43) not only misapprehends the nature of
third-party releases but, as conceived, is nothing more than an (incorrect) argument that third-
party releases are categorically impermissible.



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majority of other Circuits, is animated by a rather breathless claim that the Bankruptcy Court

“encroache[d] on the States’ sovereign power to protect the welfare of their residents.”

(Appealing States’ Br. at 10; Maryland Br. at (police power claims seek to “obtain stronger

equitable relief, promote deterrence, vindicate the law, and through the regulation of conduct,

maintain and improve the public health”).) As the Bankruptcy Court correctly held, this is not

true. The claims subject to the third-party releases are claims for damages arising from past

conduct. (MBR at 153 (“[A]s a practical matter[,] the plan only limits the objecting states’

remedies against the shareholder released parties to collect money on account of their past

conduct.”); (Aug. 23, 2021 Confr. Hr’g (Court)) Tr. 211:12-17 (“We’ve already covered this.

The way the states are protecting people from harm here is by asking for more money. It’s not to

stop someone or make someone build a better fence. It’s not to stop someone from polluting.

It’s to get more money.”).) The last Sackler participated in a board meeting in 2018. The

Sacklers have not had a role in Purdue since. They will not be involved in NewCo. And as part

of the Shareholder Settlement—negotiated by governmental and private claimants and the UCC

as fiduciary for all unsecured creditors—they have agreed to exit the opioid business worldwide.

(See App. A2212 (Shareholder Settlement) § 8.09.) Permitting the State Appellants to continue

to pursue claims against the Sacklers for damages for past conduct will not promote the public

health by protecting the public from ongoing misconduct, because there is none. Rather, it will

deny all parties a settlement years in the making—and block billions of dollars in abatement

funding from going to the thousands of governmental entities, including other sovereign states,

who overwhelmingly voted in favor of the Plan and strongly believe that the Plan best addresses

these very concerns.




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       Indeed, allowing the State Appellants to pursue their claims would destroy the Debtors’

abatement-centric Plan and the objectors’ recoveries, along with all other creditors’, would do

far, far worse. As the Bankruptcy Court found after an extensive trial with dozens of witnesses

under oath: “[I]f the objecting governmental units were carved out of the release, the Plan would

fail, and the Debtors would likely liquidate, and the objectors would collect materially less

money from the Debtors and the Shareholder Released Parties in the aggregate, as would the

other states and governmental entities who support the Plan’s confirmation.” (MBR at 154.)

That result is unfathomable and would be to the severe detriment of the public welfare. This

Court should not countenance it.

       For all of the foregoing reasons, this Court should decline the State Appellants’ invitation

to craft a bespoke and unsupported exception to controlling law governing when nonconsensual

releases can be lawfully imposed.

               3.      The Shareholder Releases Do Not Violate the Due Process Clause

       The U.S. Trustee and the DOJ also contend that the Shareholder Releases violate the Due

Process Clause, largely based on the astonishing claim that every single party holding a claim

against the Sacklers must be provided the trappings of full adversarial litigation on their claims.

(UST Br. at 25-31; DOJ Stmt. at 19-30.) The radical nature of this claim should not be

misunderstood—it is that for over 30 years, seven Circuits, including the Second Circuit (many

times), this Court (several times) and dozens of others have all been violating the U.S.

Constitution. Due Process requires no such thing. Holders of released claims received far more

than constitutionally adequate notice of the Debtors’ bankruptcy and the Shareholder Releases

through the Debtors’ unprecedented noticing program, and they had every opportunity to have

their objections addressed at the lengthy confirmation trial (as evidenced by the many objections

that were addressed at the confirmation hearing on this very issue). See Mullane v. Central


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Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950) (“An elementary and fundamental

requirement of due process in any proceeding which is to be accorded finality is notice

reasonably calculated, under all the circumstances, to apprise interested parties of the pendency

of the action and afford them an opportunity to present their objections.”); Motors Liquidation,

829 F.3d at 158 (“Courts ask whether the [the debtor] acted reasonably in selecting means likely

to inform persons affected, not whether each property owner actually received notice.”)

(quotation omitted); (see also UST Br. at 28 (citing Mullane). As the Bankruptcy Court

correctly held, the government’s due process objections (yet another attempt to simply nullify

governing law) are without merit. (App. A3381-85; A3489-93 (MBR) at 4-8; 112-16.)

        The U.S. Trustee and DOJ first argue that due process requires that parties with released

claims be permitted to either litigate to final judgment or settle on their own accord. (UST Br. at

26 (“Yet, here, opioid victims are forever deprived of their day in court against the Sackler

Family and other non-debtors; they lost their claims without any opportunity to choose whether

to litigate or to settle their claims, violating their due process rights.”); id. (“But a plan may not

constitutionally compel victims to forfeit their property rights against non-debtors without

consent.”); DOJ Stmt. at 23 (“A person cannot be required to settle a claim without his

consent.”); id. at 24 (arguing Due Process was violated because there was no “opportunity for

claimants to present their claims” and claimants “were unable to litigate their claims to a liability

judgment on the merits.”).) This is just another argument that Metromedia and third-party

releases are illegal per se and the irreconcilable polar opposite of the position recently advanced

by the DOJ in Exide. If holders of released claims always must have the merits of their causes of

actions determined by a court (or settled with their consent), then bankruptcy courts can never

impose non-consensual releases of such claims in any circumstance against any party. That,




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however, is contrary to the governing law in the Second Circuit (and in the First, Third, Fourth,

Sixth, Seventh, and Eleventh Circuits). (See supra Section I.) Suffice it to say that it is

incredible to claim that seven Courts of Appeals and dozens of district and bankruptcy courts

throughout the nation have been for decades violating the Constitution when confirming plans of

reorganization that contain non-consensual releases, and that nobody noticed (including,

seemingly, the offices of the U.S. Trustee) until late 2021. The Debtors are not aware of a single

case—anywhere, any time—that has concluded that non-consensual third-party releases

contravene the Due Process Clause, and the U.S. Trustee and DOJ have not cited even one, either

here or below.12

       The DOJ’s (unsupported) claim that the Debtors were required to serve every single

creditor subject to the Shareholder Releases with a summons and a complaint (DOJ Stmt. at 26-

30) is a close cousin of the foregoing, made up from whole cloth, and equally without merit.

There is no case—anywhere, ever—holding that an individual or entity must be formally joined

to a bankruptcy proceeding via summons and complaint to be subject to a third-party release.

For good reason. As described below, individuals and entities subject to the Shareholder

Releases received constitutionally adequate notice, guided by the standard articulated in Mullane

(which the other federal government Appellant, the U.S. Trustee, concedes supplies the


       12
           The DOJ’s discussion of two Supreme Court cases involving the “adventurous
application” of Rule 23 to settle wide-ranging asbestos liability is perplexing. The holdings and
analysis in both cases addressed and were inextricably intertwined with Rule 23—which is
inapplicable here. See Ortiz v. Firebrand Corp., 527 U.S. 815, 821 (1999) (rejecting
certification of settlement class on Rule 23 limited fund theory); Amchem Prods., Inc. v.
Windsor, 521 U.S. 591, 597 (1997) (holding that asbestos-related Rule 23 class did not satisfy
Rule 23’s requirements in a number of critical respects). Moreover, these authorities expressly
distinguish the situation in those cases from bankruptcy, which involves “a special remedial
scheme . . . expressly foreclosing successive litigation by nonlitigants.” Ortiz, 527 at U.S. at
846.



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governing standard (UST Br. at 28)) and thus were provided with an opportunity to be heard.

The Constitution requires no more.

       The U.S. Trustee takes issue with the notice of the Shareholder Releases provided in the

chapter 11 cases. (UST Br. at 28-30.) As an initial matter, the proper time and place to have

raised any notice concerns was in connection with the Bankruptcy Court’s approval of the

Debtors’ disclosure statement and notice procedures, which the U.S. Trustee did not do. Despite

objecting to certain other discrete parts of the disclosure statement not relevant here, the U.S.

Trustee did not object to the form or adequacy of notice of the Shareholder Releases in the

Supplemental Confirmation Hearing Notice Plan at the disclosure statement stage when that

issue was ripe for consideration. ((U.S. Trustee Disclosure Statement Obj., Bankr. Dkt. No.

2686) at 2-3, 15-17 (challenging adequacy of information for creditors to make a “reasoned

decision about whether the exchange of money” under the Shareholder Settlement represented a

“fair exchange or bargain” where the release information was still “to come” based on ongoing

negotiations but not whether claimants were on notice that their rights would be affected by a

third-party release); see also (May 26, 2021 Hr’g, Bankr. Dkt. No. 2981) Tr. 81:2-82:1, 87:19-

88:9 (explaining argument was “simply” that “it[] [was] unclear if everyone receiving release is

contributing to the plan”).)

       The Bankruptcy Court’s order approving the disclosure statement, solicitation

procedures, and voting procedures expressly provided that “[t]he Confirmation Hearing Notice,

Publication Notice, and plain language summary of the Confirmation Hearing Notice each, if

properly delivered or published, as applicable, as provided herein, provide holders of Claims,

holders of Interests and all Persons that have held or asserted, that hold or assert or that may in

the future hold or assert any Channeled Claim or any Shareholder Released Claim with sufficient




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notice of the releases, exculpatory provisions, and injunctions . . . .” (See App. A0381

(Disclosure Statement Order) ¶ 17 (emphasis added).) Having stayed silent at a time when such

concerns could have been addressed, the U.S. Trustee should not be heard now to complain of

alleged notice deficiencies. See Thomas v. Arn, 474 U.S. 140, 148 (1985) (waiver rules exist to

prevent a litigant from “sandbagging” a court by failing to object at the proper time).

       In any event, whatever concerns the U.S. Trustee might have are had without merit in the

context of the chapter 11 cases. As the Bankruptcy Court correctly held on the basis of

uncontroverted evidence, notice was more than constitutionally sufficient. (App. A3381-85;

A3489-93 (MBR) at 4-8; 112-16.) With respect to the general bar date, in addition to providing

actual, written notice to all known and potential claimants,13 the Debtors implemented quite

possibly the most extensive legal notice programs ever deployed (the “Bar Date Notice Plan”),

using virtually every form of modern media to provide publication notice to an estimated 98% of

all adults in the United States over the age of 18 with an average frequency of message exposure

of eight times, and an estimated 86% of all adults in Canada over the age of 18 with an average

frequency of message exposure of four times. (See App. A0793 (Third Suppl. Decl. of Jeanne C.

Finegan (Aug. 5, 2021) ¶ 5, Bankr. Dkt. No. 3403; App. A3382-83 MBR at 5-6.) All of the


       13
            Known claimants included: (i) persons or entities that had filed proofs of claim as of
the Bar Date Order; (ii) all creditors and other known holders of claims (including those listed on
the Debtors’ Schedules); (iii) all counterparties to the Debtors’ executory contracts and
unexpired leases; (iv) all current parties to litigation with the Debtors; (v) current, former, and
retired employees, officers, and directors; and (vi) parties known to the Debtors as having
potential claims against the Debtors. (App. 0021 (Finegan Decl. (Jan. 3, 2020), Dkt. No. 719) ¶
20.) Parties known to have potential claims against the Debtors, in turn, included: “(i)
prescribers of Purdue brand name medications; (ii) Purdue opioid users who are included in an
adverse event report or who have filed a product complaint and provided contact information;
(iii) callers to Purdue who have threatened but not filed litigation and provided contact
information; and (iv) entities and individuals, other than current, former, and retired employees,
officers, and directors, that have requested indemnification.” (Id.)



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advertisements either directed viewers to the PurduePharmaClaims.com website (“Claims

Website”) for more information about how to file a proof of claim or explicitly informed

claimants that they could request to receive a proof of claim through the Claims Website or by

contacting Prime Clerk (Purdue’s noticing agent) through email, mail, or a toll-free number.

(See App. A0114 (Suppl. Finegan Decl. (May 20, 2020), Bankr. Dkt. No. 1179) ¶ 20); App.

A0032-38 (Finegan Decl. (Jan. 3, 2020), Dkt. No. 719) ¶¶ 46-57, 85.) Over 45,000 TV

commercials aired on ABC, NBC, and CBS, serving over 742 million impressions; over 182,000

TV commercials aired on CNN, Fox News, History, TNT, and Galavision, serving over 358

million impressions; and over 450 TV commercials aired on nine U.S. Territory TV stations.

(App. A0796 (Third. Suppl. Finegan Decl.) ¶ 10.) In addition, over 177,000 radio commercials

aired in the U.S., serving over 232 million impressions, and approximately 775 radio

commercials aired on twelve radio stations in the U.S. territories. (Id. ¶ 11.) Advertisements in

magazines and newspapers served approximately 124 million impressions in the U.S. and

approximately 19 million impressions in Canada. (Id. ¶ 9.) Collectively, the digital portion of

this noticing plan, which included display, keyword search terms, social media advertisements,

and digital video advertisements, served over 1.5 billion impressions in the U.S. and over 129

million impressions in Canada. (Id. ¶ 8.) Finally, the press releases and earned media outreach

generated over 2,500 news stories across the U.S. and Canada. (Id. ¶ 7.)

       As the—yet again, uncontroverted and overwhelming—evidence established, the Debtors

also gave unprecedentedly broad and deep notice of the confirmation hearing including (i) actual,

written notice to all known holders of claims and interests, as well as certain potential unknown

claimants, and (ii) publication notice via an additional noticing program (the “Supplemental

Confirmation Hearing Notice Plan”) to an estimated 87% of all adults in the United States




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over the age of 18 with an average frequency of message exposure of five times—in addition to

the average frequency of message exposure of eight times already achieved by the Bar Date

Notice Plan—and an estimated 82% of adults in Canada with an average frequency of message

exposure of six times, as well as notice in 39 other countries. (App. A0798 (Third Suppl.

Finegan Decl.) ¶¶ 15-16; App. A3382-85 (MBR) at 5-6.) The actual, written notice to all known

holders of claims in the voting classes contained the full text of the releases. (App. A0378

(Disclosure Statement Order (Confirmation Hearing Notice)) ¶ 9, Ex. 12.) The Supplemental

Confirmation Hearing Plan provided notice of (i) the Disclosure Statement Order, (ii) key

provisions of the Plan, including the Shareholder Releases, (iii) the confirmation hearing date,

and (iv) deadlines for voting on the Plan, objecting to the Plan, and filing an allowance request

through magazines, newspapers, online display advertisements, internet search terms, social

media campaigns, and earned media. (App. A0800 (Third Suppl. Finegan Decl.) ¶¶ 19-22.)

       The U.S. Trustee contends that the notice afforded by these extraordinary campaigns was

somehow rendered “illusory” by the supposed complexity and breadth of the Shareholder

Releases in the Plan. (UST Br. at 28.) Here, too, the facts are a complete answer. The

Shareholder Releases were described at many different levels of specificity in many different

noticing documents. The publication version of the Confirmation Hearing Notice, which was

published in The Wall Street Journal, The New York Times, USA Today, Financial Times

(Worldwide edition), and International Herald Tribune, stated in no uncertain terms that the Plan

“provides for the release of any actual or potential claims or causes of action against the

Shareholder Released Parties”—“including members of the Sackler families”—“relating to the

Debtors (including claims in connection with Opioid-Related Activities).” (See App. A0800

(Third Suppl. Finegan Decl. (Confirmation Hr’g Publication Notice)) ¶ 20.) Leaving no base




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uncovered, the Debtors also broadly distributed a shorter, plain language version of the

Confirmation Hearing Notice across the U.S. and Canada and in 39 other countries, which stated

on its very first page, “Did You File a Claim Against Purdue Pharma as Part of its Bankruptcy

Proceeding? Do You Have a Claim Against Purdue Pharma’s Owners?” and noted that the Plan

includes “releases of any actual or potential claims against Sackler family members, and certain

other individuals and related entities, relating to Purdue Pharma L.P. and its affiliated debtors.”

(See App. A0801 (Third Suppl. Finegan Decl. (Confirmation Hr’g Magazine Ad)) ¶ 21; App.

A4727 (Confirmation Hearing Flyer); App. A4730 (Sample of Online Advertisements of

Confirmation Hearing).) Advertisements in magazines and newspapers served approximately 76

million impressions in the U.S. and approximately 10 million impressions in Canada, and

directed readers to the Claims Website. (App. A0801 (Third Suppl. Finegan Decl. ¶ 21); App.

A4554 (Conf. Hr. Tr. 93:2-94:13, 102:14-103:11 (Aug. 12, 2021), Bankr. Dkt. No. 3602.) In

addition, press releases, which included the same language noted above, and earned media

outreach generated over 3,700 news stories across the U.S. and Canada, affecting an audience of

approximately 1,355,035,380, and also directed readers to the Claims Website. (App. A0800

(Third Suppl. Finegan Decl. (Confirmation Hearing Press Release) ¶ 19.) And, if that somehow

were not enough, the digital portion of the Supplemental Confirmation Hearing Notice Plan

deployed online advertisements that provided the confirmation hearing date and voting deadline,

included the language, “Did you file a claim against Purdue Pharma? Think you have a claim

against the Sacklers or any of Purdue Pharma’s owners?” and directed individuals to the Claims

Website, which included a prominent, plain language description of the “Sackler Family

Releases.” (Id. ¶ 22; JX-0942 (Sample of Online Advertisements of Confirmation Hearing).)

This digital campaign served over 906 million digital media impressions in the U.S., over 162




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million digital media impressions in Canada, and over 2.6 billion digital media impressions in

the other 39 countries covered by the Supplemental Confirmation Hearing Notice Plan. (Id.) All

told, the Debtors spent a staggering sum—over $32,000,000—on noticing in connection with

these cases. ((Second Suppl. Finegan Decl. (May 24, 2020), Bankr. Dkt. No. 2917) ¶ 4.)

       Collectively, as of July 19, 2021, the Debtors’ Bar Date Notice Plan and Supplemental

Confirmation Hearing Notice Plan had resulted in over 5.2 billion impressions being served

across digital media, over 7,100 news mentions globally, and more than 890,000 users visiting

the Claims Website, generating more than 1.7 million page views. ((Second Suppl. Finegan

Decl. (May 24, 2020), Bankr. Dkt. No. 2917) ¶ 24.) And yet further, the Debtors’ prepetition

conduct and the dangers of opioids have been further publicized by an immense amount of media

attention and public scrutiny since well before the Petition Date and continuing throughout the

chapter 11 cases. There have been numerous documentaries on broadcast and cable TV, as well

as online and through digital TV, including PBS, HBO, Netflix, and YouTube, among others.14

In addition, the Debtors, the Sacklers, and the opioid crisis have been the subject of dozens, if

not hundreds, of articles in many of the largest newspapers in the United States, including The

New York Times, The Wall Street Journal, and The Washington Post.15


       14
          To name a few, both the addictive effects of opioid products and the Debtors’
prepetition marketing practices were the focus of Understanding the Opioid Epidemic (YouTube
2018), One Nation, Overdosed (MSNBC 2017), Heroin(e) (Netflix 2017), Recovery Boys
(Netflix 2018), Do No Harm: The Opioid Epidemic (PBS 2018), and The Crime of the Century
(HBO 2021). See Filming the opioid epidemic: 5 must-see documentaries, HEALTHCAREDIVE
(Nov. 27, 2018), https://www.healthcaredive.com/news/filming-the-opioid-epidemic-5-must-see-
documentaries/541573/; The Crime of the Century, HBO, (2021),
https://www.hbo.com/documentaries/the-crime-of-the-century.
       15
         See, e.g., Jonathan Randles, Congressional Democrats Target Legal Releases for
Purdue Pharma Owners, WALL ST. J. (Mar. 19, 2021); Joseph Walker & Jared S. Hopkins,
Purdue Led Its Opioid Rivals in Pills More Prone to Abuse, WALL ST. J. (Sept. 19, 2019); Lenny
Bernstein & Scott Higham, Purdue Pharma in talks over multi-billion dollar deal to settle more
(….continued)


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       In view of the foregoing, the Bankruptcy Court’s factual determinations regarding the

adequacy of notice are unimpeachable—and certainly not reversible for clear error. As the

Bankruptcy Court found, “the most widespread notices of the [P]lan’s proposed third-party

claims release were simple, in plain English that the [P]lan contemplated a broad release of the

Sacklers and their related entities of civil claims pertaining to the Debtors, including claims

against them held by third parties.” (App. A3384-85 (MBR) at 7-8.) The Bankruptcy Court

further found that “extensive media coverage of these cases also hammered home that point,”

and, in fact, “exaggerated the extent of the [P]lan’s proposed releases of claims held against the

Sacklers and further noted controversy over its basis in applicable law.” (App. A3384 (MBR) at

7.) On this record, there is no possible doubt that, as the trier of fact found, “the Debtors’ notice

of the confirmation hearing and the proposed releases in the [P]lan was sufficient and indeed

unprecedentedly broad.” (App. A3385 (MBR) at 8.) The U.S. Trustee has provided no basis

whatsoever to disturb this well-supported factual finding and, of course, both at trial and on

appeal has presented no evidence of any kind.

       The U.S. Trustee is also not correct that some kind of infirmity exists because notice

allegedly “came too late for those who had not filed proofs of claim against Purdue.” (UST Br.

at 29.) In light of the substantial narrowing of the Shareholder Releases that occurred during

trial—including the requirement that Purdue’s conduct, omission or liability be a legal cause of

or a legally relevant factor to released causes of action—the U.S. Trustee has not and could not

possibly identify a single party that has a claim against the Sacklers but not also against

Purdue—despite being asked for months to identify such parties. The objection highlighted by

                                                                                         (continued….)
than 2,000 opioid lawsuits, WASH. POST (Aug. 27, 2019); Barry Meier, Pain Killer: An Empire
of Deceit and the Origin of America’s Opioid Epidemic, N.Y. TIMES (May 29, 2018).



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the U.S. Trustee—that of Paul Hartman—only further proves the point. (UST Br. at 29.) Mr.

Hartman’s state law complaint does not assert a claim against Purdue only because the complaint

was artfully drafted to avoid naming Purdue in light of the pendency of Purdue’s bankruptcy.

Indeed, even a cursory examination of the allegations in the Hartman complaint reveals that

those allegations only involve the Sacklers’ conduct in connection with Purdue. (See Volume I

of Exhibits to Memorandum of Law in Support of Appellant United States Trustee’s Motion For

Judicial Notice [ECF No. 89] Exhibit I (Comp., Hartman v. Sackler); see also Annex B.) Notice

of Purdue’s bankruptcy and the third-party releases has been extraordinary, and is more than

sufficient to satisfy due process. (App. 3490 (MBR) at 113.)

          Finally, the U.S. Trustee’s—yet again, flatly false—claim that the Plan deprives

victims of any compensation with respect to claims against the Sackler Families ignores both the

express terms and purpose of the personal injury trust distribution procedures upon which it

relies and the financial reality of the Plan and the Debtors’ reorganization. (See U.S. Trustee Br.

at 30-31.) To be sure, those trust distribution procedures state that distributions thereunder will

only be made with consideration of the claims held against the Debtors, and not against the non-

debtor parties. (App. A0308 (Personal Injury Trust Distribution Procedures—Fourth Plan

Supplement Ex. C [Bankr. Dkt. No. 2868]) (“PI TDPs”) at 3). But that is because those

procedures, quite properly, are designed to compensate for harm suffered by the personal injury

victims. The—again, uncontroverted—evidence of the Debtors’ expert Deborah Greenspan

established that the “base-plus-level” compensation structure of the personal injury trust

distribution procedures is “reasonable and consistent with structures employed in other mass tort

bankruptcy trusts and resolution programs” because it differentiates between claims based on

defined criteria primarily reflecting “the relative severity of the claimed condition (or




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injury).” (App. A0913-16 (Report of Deborah Greenspan at 35-37 (Aug. 5, 2021), Bankr. Dkt.

No. 3412).) Indeed, the very next sentence of the quoted distribution procedures (which the U.S.

Trustee omits) expressly states that distributions are deemed to be a distribution in satisfaction of

all channeled claims with respect to the injuries that are the subject of those channeled claims.

(App. A0308 PI TDPs at 3).) In addition, the reality is that most of the value being distributed to

victims will come from the Sacklers to resolve all claims against the Sacklers, and without such

payments from the Shareholder Settlement the personal injury victims are likely to receive little

or nothing. (See App. A3518-19 (MBR) at 141-42.) The assertion that personal injury victims

are not being compensated for their claims against the Sacklers is frivolous, and even more

troubling given that the actual counsel for the actual victims who developed the personal injury

trust distribution procedures have repeatedly informed the U.S. Trustee that this claim is false

and without merit. (See, e.g, (Hr’g Tr. 149:5-151:6 (Oct. 14, 2021)).)

               4.      The Court Has Subject Matter Jurisdiction to Confirm the Plan and
                       the Shareholder Releases

       The Bankruptcy Court correctly concluded that it has subject matter jurisdiction to

confirm the Plan. (App. A3482-89 (MBR) at 105-12; see also App. A3548, 61 (FOF/COL) I.B,

II(a).) Congress’ grant of jurisdiction extends to all civil proceedings “arising under,” “arising

in” or “related to” cases under title 11. 28 U.S.C. § 1334(b). The Supreme Court “has instructed

lower federal courts to construe the jurisdictional grants in [s]ection[] 1334 . . . broadly,

recognizing that ‘Congress intended to grant comprehensive jurisdiction to the bankruptcy courts

so that they might deal efficiently and expeditiously with all matters connected with the

bankruptcy estate.’” In re Purdue Pharma, L.P., 619 B.R. 38, 48 (S.D.N.Y. 2020) (quoting

Celotex Corp. v. Edwards, 514 U.S. 300, 308 (1995)). Despite this “comprehensive” grant of

jurisdiction, several Appellants argue that the Bankruptcy Court exceeded its subject matter



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jurisdiction to confirm the Plan and the Shareholder Releases. (Appealing States Br. at 36-39;

MD. Br. at 29; DOJ Stmt. at 31-44). They err.

                       (i)     The Bankruptcy Court Correctly Held That It Had Arising In
                               or Arising Under Jurisdiction to Confirm the Plan

       As an initial matter, although ignored by some Appellants entirely, the Bankruptcy Court

had the power to confirm the Plan and enjoin the continuation of the third-party litigation related

to the Debtors under its “arising under” and “arising in” jurisdiction. See In re Equan Realty

Corp., No. 08-14017(RDD), 2009 WL 7193572, at *1 (Bankr. S.D.N.Y. Dec. 17, 2009) (noting

that the confirmation of a plan is a “proceeding arising under title 11”); 1 Collier on Bankruptcy

¶ 3.01 (16th 2021) (explaining that matters “arising under” title 11 include “confirmation of a

plan under chapters 9, 11, 12 or 13”). As the Bankruptcy Court correctly held, citing this Court’s

“impeccable” logic in In re Kirwan, the proceeding to confirm the Plan “is a proceeding central

to the bankruptcy court’s adjustment of the debtor/creditor relationship” and therefore is a

proceeding “arising in a [chapter 11] case (as it would have “no existence outside of the

bankruptcy’)” and “under” the Bankruptcy Code. (App. A3494 (MBR) at 117 (citing In re

Motors Liquidation Co., 829 F.3d at 151); see also App. A3561 (FOF/COL) II(a).)

       “Matters that ‘arise in’ the bankruptcy are identified as “core proceedings,” and include a

nonexclusive list of 16 types of cases that the bankruptcy courts may “hear and determine,” and

in which they may “constitutionally enter orders and judgments.” In re Purdue Pharma L.P.,

619 B.R. at 55. Confirmation of the Plan is a statutorily designated “core” proceeding as well.

See 28 U.S.C. § 157(b)(2)(L). Moreover, as this Court recognized in In re Kirwan, bankruptcy

courts have “arising in” jurisdiction to confirm a plan enjoining third-party claims so long as the

released claims are “sufficiently related to the issues before the bankruptcy court [to]

extinguish[] th[e] claim.” See In re Kirwan Offices S.a.R.L., 592 B.R. at 504-06. Here, the



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Shareholder Releases satisfy that test (quite possibly more than any third-party releases ever

approved by any bankruptcy court), as they “play[] an important role” in the Debtors’ Plan for all

of the reasons found by the Bankruptcy Court above. See id. (quoting In re Drexel Burnham

Lambert Grp., Inc., 960 F.2d at 293).

       To be clear, in confirming the Plan, the Bankruptcy Court did not exercise jurisdiction to

hear or adjudicate the third-party claims that are subject to the Shareholder Releases. Such a

proceeding would fall outside of the Bankruptcy Court’s arising in jurisdiction, as this Court

recognized in the appeal of the preliminary injunction in this case. See In re Purdue Pharma

L.P., 619 B.R. at 57 (holding that the Bankruptcy Court could not “adjudicate

the Dunaway claims against Dr. Sackler without first being permitted to do so by this court”

(emphasis added).) “A confirmed reorganization plan that includes [involuntary] releases,” by

contrast, “does not address the merits of the claims being released. . . . Rather, it effectively

cancels those claims so as to permit a total reorganization of the debtor’s affairs in a manner

available only in bankruptcy.” In re Kirwan Offices, 592 B.R. at 504-05 (citing Stoll v. Gottlieb,

305 U.S. 165, 169, 177 (1938) (holding that res judicata precluded state court action seeking to

enforce guarantee that bankruptcy court determined was “cancel[ed],” pursuant to § 77B of the

Bankruptcy Act of 1898, in connection with confirmed reorganization plan); see also In re AOV,

792 F.2d 1140, 1145 (D.C. Cir. 1986) (“[C]onfirmation of a reorganization plan are clearly

proceedings at the core of bankruptcy law . . . . Although the bankruptcy court’s decision may

have an impact on claims outside the scope of the immediate proceedings, we do not read

Marathon and its progeny to prohibit all bankruptcy court decisions that may have tangential

effects. The expansive reading of Marathon . . . would limit the power of these article I courts to

a far greater degree than we believe Congress or the Supreme Court intended.”).




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       Some Appellants (and the DOJ) nevertheless appear to contend, without citation to any

authority, that the adjudication of the merits of their claims under state law and cancellation of

their claims as part of a plan and channeling injunction are effectively the same thing. (E.g.,

DOJ Stmt. at 33-34 (failing to acknowledge distinction between the two and arguing no “arising

in” jurisdiction because causes of actions exist outside of bankruptcy); Md. Br. at 14 (claiming

that this Court already held on earlier appeal in this case that such claims do not arise in

bankruptcy). But, as noted above, this Court rejected this very argument in In re Kirwan because

cancellation of claims in a plan “does not address the merits . . . [which] are governed by non-

bankruptcy law.” 592 B.R. at 504. The DOJ and Maryland also argue that the Debtors cannot

“manufacture” jurisdiction “by simply including the release of those non-debtor claims in the

Plan.” (DOJ Stmt. at 34-36; MD. Br. at 25-28.) This too, however, was addressed head-on, and

rejected, by this Court in Kirwan because under well-established Second Circuit law, “where

confronted with matters that qualify as core and non-core, matters that are integral to the

integrity of the bankruptcy process render the entire proceeding core.” 592 B.R. at 506

(collecting cases). Here, even if a cancellation and channeling of the Appellants’ claims as part

of a plan was an exercise in non-core power—which it is not—the fact that this cancellation is

integral to the restructuring does not remove the confirmation proceeding beyond the Bankruptcy

Court’s core power. And, as demonstrated above, no Appellant has proffered any evidence to

suggest Judge Drain’s extensive factual findings grounded in a deep factual record that the

Shareholder Releases were integral to the Plan is clearly erroneous.16


       16
          Some Appellants confuse a federal court’s subject matter jurisdiction under 28 U.S.C.
§ 1334 with a bankruptcy court’s authority to enter final orders under 28 U.S.C. § 157. (E.g.,
DOJ Br. ¶ 34-41 (arguing “if a bankruptcy court had core jurisdiction to approve a non-debtor
released based simply on the inclusion of the release in a bankruptcy plan, it would subvert the
bedrock principle that parties cannot manufacture subject matter jurisdiction.”).) That the
(….continued)


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                       (ii)    The Bankruptcy Court Correctly Held That It Had “Related
                               To” Jurisdiction To Enjoin the Appellants’ Claims Against the
                               Sackler Families Arising From the Debtors’ Conduct

       “Related to” jurisdiction provides an independent basis for this Court to affirm the

Bankruptcy Court’s jurisdiction to confirm the Plan, as the Bankruptcy Court correctly held.

       In the Second Circuit, a bankruptcy court has “related to” jurisdiction to enjoin suits that

“might have any conceivable effect on the bankruptcy estate.” SPV Osus Ltd. v. UBS AG, 882

F.3d 333, 339-340 (2d Cir. 2018) (emphasis added) (quoting Parmalat Cap. Fin. Ltd. v. Bank of

Am. Corp., 639 F.3d 572, 579 (2d Cir. 2011); see App. A3484, 87 (MBR) at 107, 110. The

words “conceivable effect” are as broad as they appear: an action has a “conceivable effect” on a

bankruptcy estate “if the outcome could alter the debtors’ rights, liabilities, options, or freedom

of action . . . and which in any way impacts upon the handling and administration of the

bankruptcy estate.” SPV Osus Ltd., 882 F.3d at 340 (quoting Celotex Corp. v. Edwards, 514

U.S. at 308 n.6); see also Pfizer Inc. v. Law Offices of Peter G. Angelos (In re Quigley Co., Inc.),

676 F.3d 45, 57 (2d Cir. 2012) (“[T]he touchstone for bankruptcy jurisdiction remains whether

its outcome might have any ‘conceivable effect’ on the bankruptcy estate.” (internal quotation

marks omitted)). For this reason, as this Court recognized in the Dunaway appeal, “‘the

existence of strong interconnections between the third party action and the bankruptcy’ has

frequently served as the basis for ‘related to’ jurisdiction.” See In re Purdue Pharma L.P., 619

B.R. 38, 49 (S.D.N.Y. 2020) (quoting In re WorldCom, Inc. Sec. Litig., 293 B.R. 308, 321

(S.D.N.Y. 2003) (listing cases).) As the DOJ rightly concedes, the Second Circuit has adopted a




                                                                                        (continued….)
Bankruptcy Court had “core” authority to enter a final order confirming the plan is separately
addressed in sections I.B.5 and I.B.6, infra.



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“broad” definition that has “only expanded since . . . 2007” and is a “more flexible approach”

than the approaches of other circuits. (DOJ Stmt. at 42-43.)

       In SPV OSUS, for example, the Second Circuit held that bankruptcy court in the Madoff

investments chapter 11 proceeding had “related to” jurisdiction to stay a state court action by a

non-debtor against a financial services provider who was alleged to have aided and abetted the

Madoff Ponzi scheme. 882 F.3d at 342. The Court of Appeals held that because “[t]he

gravamen of SPV’s complaint is that defendants are joint tortfeasors with Madoff and BLMIS,”

that action, if successful, would provide the third party with a putative contribution claim against

the estates. Id. at 340. In other words, “when one tortfeasor files for bankruptcy, any action

against their co-tortfeasors for the same conduct falls within the bankruptcy court’s ‘related to’

jurisdiction, since a finding of joint and several liability against the whole group could impact the

res of the insolvent party’ estate.” In re Purdue Pharma L.P., 619 B.R. at 50. “That is because a

trial on harms alleged to have been caused in whole or in part by the debtor is ‘related to’ the

bankruptcy, whether or not they are named as a defendant, because a judgment implicating the

debtor’s conduct could conceivably ‘alter the debtor’s rights, liability, options, or freedom of

action.’” Id. (quoting SPV Osus, 882 F.3d at 340 (emphasis added)).

       The Bankruptcy Court correctly held that it had “related to” jurisdiction to enjoin the

claims that are subject to the Shareholder Releases. Indeed, notwithstanding the Appellants’

revisionist attempts to recast this Court’s affirmance in Dunaway, this Court already has held

that the Bankruptcy Court had “related to” jurisdiction to enjoin state law claims by certain

Tennessee plaintiffs against Richard Sackler because “the complaint in [the Tennessee action]

accuse[d] Dr. Sackler and Purdue of interrelated conduct that contributed to the same harms.” In

re Purdue Pharma L.P., 619 B.R. at 50. As this Court recognized, “allowing the Appellants to




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proceed against Purdue’s former president and co-chairman could ‘conceivably affect’ the res of

the Debtors’ estate, because the individual case is likely to raise the issue of the corporate

entity’s liability, even if only indirectly.” Id. “At core, the [Tennessee plaintiffs’] Action – like

so many other cases brought against the Debtors and the Sackler family – rests on the theory that

Purdue and its employees committed misconduct at the direction of Dr. Sackler and others who

controlled the corporation and its actions. It follows that Purdue’s conduct and related liability

‘will remain at the heart’ of any further litigation against Dr. Sackler.” Id.

       So too the Appellants’ claims. The Bankruptcy Court made extensive factual findings

that the claims that are the subject to the Shareholder Releases, including the Appellants’ third-

party claims against the Sackler Families and their related persons and entities, are highly

interconnected with claims against the Debtors (and, critically, the Debtors’ estate claims’

against the Sackler Families) and that resolution of the former could not possibly avoid

implicating the latter. (App. A3561 (FOF/COL) II(a) (finding that “Shareholder Released

Claims have factual and legal issues in common with actual or potential claims or causes of

action against the Debtors and actual or potential claims or causes of action of the [e]states

against third parties, including the Shareholder Released Parties”); App. A3480 (MBR) at 103

(“The third-party claims that the plan would release and enjoin are very closely related on the

facts to the estates’ claims for alter ego, veil piercing, and breach of fiduciary duty/failure to

supervise settled under the plan.”).)17 Based on this, the Bankruptcy Court found that litigation

of the Shareholder Released Claims would “directly affect the res of the Debtors’ estates” in a

number of concrete, and far more than “conceivable,” ways: it could, among other things,

       17
         For this reason, the suggestion that Judge Drain’s opinion lacked “detailed findings”
(Md. Br. at 27) or failed to “articulat[e] exactly which released parties would have potential
claims” (DOJ Br. 44) is simply untrue.



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deplete the value of certain shared insurance policies that constitute a significant asset of the

estates; lead to the assertion of indemnification and contribution claims against the estates;

prejudice the estates (or the Debtors’ successor, the MDT) in future litigation of such claims or

causes of action; and detrimentally impact NewCo’s ability to operate and support abatement.

(App. A3488 (MBR) at 111; see also App. A3561, 65 (FOF/COL) II(a), II(d)(iii).) These

extensive, multiple, independent, factual findings of conceivable effect are more than sufficient

to establish “related to” jurisdiction to confirm the Plan under governing Second Circuit law.

       Appellants advance a host of arguments that Judge Drain exceeded his subject matter

jurisdiction, but those arguments, at their core, boil down to the assertion that jurisdiction is

lacking because their claims against the Sacklers are somehow “independent” of their claims

against the Debtors. (See, e.g., Appealing States Br. at 38 (arguing no jurisdiction because

“States’ claims are direct claims against the Sacklers for their own wrongdoing and do not seek

recovery from the Purdue Estate”). This is incorrect, and, indeed, a red herring, as no one

(certainly not the Debtors or the Bankruptcy Court) asserted, found, or based any position or

ruling on the claim that the Sacklers might not be liable for damages. Ever.

       Each of the State Appellants, except Washington, filed a complaint naming individual

members of Sackler Families. These complaints either name Purdue as a co-defendant in that

same complaint or in a separate, but substantially similar, complaint. See infra Annex A. For

example, Connecticut, which names Purdue, certain of its former directors and officers, and eight

members of the Sackler Families and certain of their holdings companies and trusts, alleges that

members of the Sackler Families “direct[ed] Purdue” (¶ 92), “played an active and central role

in the management of Purdue” (¶ 112), “were directly involved in developing and approving

Purdue’s deceptive and illegal activities” (¶ 114), and “participated directly in Purdue’s unfair




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and deceptive acts and practices” (¶ 132). The District of Columbia’s complaint, which names

only Richard Sackler, alleges that he “formulated, directed, controlled, had the authority to

control, participated in, or with knowledge approved of the acts or practices of Purdue . . . .” (¶

47), “repeatedly impelled Purdue management to increase the sale of Purdue’s opioids” (¶ 52),

was “actively involved in shaping the messages that Purdue sales representatives provided

during their sales calls” (¶ 53), “was involved in forming strategies that Purdue used to combat

bad press that Purdue received about its opioids” (¶ 54). The remainder of the State Appellants’

complaints—as well as the complaints by individuals cited by U.S. Trustee as examples of

claims that would be released under the Plan—are substantially similar, as detailed in Annex A

and B, infra.

       What is obvious from the Appellants’ complaints—notwithstanding their repeated

baseless assertions to the contrary—is that no Appellant can demonstrate that any of the Sackler

defendants named would be liable under their consumer protection statutes unless Purdue also

engaged in alleged misconduct. Nor has any Appellant identified any claim by any party

anywhere that would be subject to the Shareholder Releases but that does not, at its core, stem

from the Sacklers’ involvement in running or managing the Debtors. Even the Appellants’ (and

DOJ’s) briefing on this very issue cannot escape this basic fact. (E.g., DOJ Stmt. at 6 (arguing

that under state law, Sacklers may be held liable “through their control of Purdue and ratification

of its conduct”); id. at 22 (alleging claims against the Sacklers as “personally liable for their

conduct while directors or officers of Purdue”). At bottom, the gravamen of each of these

complaints is that a handful of Sackler Family members who sat on the Purdue board directed

and caused Purdue to engage in wrongful conduct. These are exactly the sort of inextricably

intertwined co-tortfeasor claims that easily give rise to “related to” jurisdiction under established




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Second Circuit law. See In re Purdue Pharma L.P., 619 B.R. at 51 (holding “there is no way for

the Appellants to pursue the allegations against Dr. Sackler without implicating Purdue, and vice

versa.”). That the Appealing States can pursue these claims “directly” against members of the

Sackler Families under state law without necessarily naming Purdue as a defendant or collecting

proceeds directly from the estates (Appealing States Br. at 6-7, 38) is totally irrelevant. See In re

Purdue Pharma L.P., 619 B.R. at 52 (noting that litigation about “harms alleged to have been

caused in whole or in part by the debtor is ‘related to’ the bankruptcy, whether or not they are

named as a defendant”).

       After attempting to wish away the inextricably interconnected nature of their claims

against the Shareholder Released Parties and the Debtors, the Appellants resort to a series of

scattershot attacks on Judge Drain’s factual findings that litigation of their released claims would

have multiple conceivable effects on the estates, and that the Debtors have otherwise failed to

meet the burden. (Appealing States Br. at 38; Md. Br. 25-29 (alleging that Judge Drain’s

jurisdictional findings are “conjecture” and “unsupported by evidence or analysis”); DOJ Stmt.

at 43-44). But these arguments are directly contrary to Judge Drain’s clear factual findings and

the extensive record at trial (ignored by the Appellants in their briefing). And the Appellants—

who failed to cross-examine any witnesses regarding these findings or present a single witness of

their own—not one—point to no evidence on appeal that could justify concluding that any

factual finding was “clearly erroneous.”

       First, the Appealing States claim that potential impacts on insurance coverage do not

establish jurisdiction because they allege that from the 2005 to 2015 there was no director and

officer (“D&O”) insurance policy that would have covered any officer, director or other person

during that period. (Appealing States Br. at 38.) This factual claim (made by lawyers without




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any evidence or support) is at best misleading.18 But it is also beside the point. The Appellants

do not dispute that the Debtors in fact have D&O policies for policy periods covering from 2003

to 2004 and from 2016 to 2018 with stated limits of approximately $100 million, and that the

insurers have been asked to respond to all opioid related claims that have been alleged against

directors and officers of Purdue. (App. A2098-99 (DelConte Fact Decl. ¶¶ 41-44 (Aug. 5, 2021),

Dkt. No. 3456); App. A4076 – A4130 (JX1508-1519 (letters to insurers notifying of

circumstance of potential claims).) The uncontested record at trial establishes, therefore, that this

coverage might extend to members of the Sackler Families and to many other former officers

and directors who are defendants in the Appellants’ consumer protection actions. (App. A4571

(Hr’g Tr. 65:1-67:24 (Aug. 13, 2021).)

       The Appealing States’ only response is that the Debtors nonetheless failed to meet their

burden because they failed to prove that the policy exclusions in the Debtors’ D&O policies for

wrongful or fraudulent action would not apply. (Appealing States Br. at 38.) But their argument

fundamentally misstates the test. “Related to” jurisdiction, of course, requires only any

“conceivable effect”—not certainty that such claims would succeed. If the Appellants’ claims

against such persons or entities were to succeed, “or even if they merely require[d] [those

parties] to incur defense costs in litigating against them,” that would undeniably “directly affect

[the Debtors’] bankruptcy estate,” as Judge Drain correctly found. In re Quigley Co., Inc., 676

F.3d at 53 (holding third-party claims’ effects on insurance policy shared by debtor and released

nondebtor sufficed to create “related to” jurisdiction); MacArthur Co., 837 F.2d at 92-93 (same).



       18
          The Debtors did purchase D&O insurance covering its directors and officers for the
period from 2005 through 2016. But no opioid-related claims were reported under those
policies.



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       The Appealing States’ briefing also fails to mention the clear and uncontested record

evidence the Debtors also maintained “general liability” shared insurance covenants and policies,

that together with the D&O policies, cover the relevant period and are subject to total liability

limits, where applicable, in the billions of dollars. (App. A2096-97 (DelConte Fact Decl. ¶¶ 36,

38-39 (Aug. 5, 2021), Dkt. No. 3456).) As the uncontested testimony of Jesse DelConte

established at trial, the general liability policies provide coverage to entities designated as

“Named Insured(s),” which include, among others, certain Debtors and their affiliated entities, as

well as their employees for acts related to the Named Insured’s business, who would qualify as

released parties under the Plan. (See App. A2097 (id. ¶¶ 38-39.) Virtually every one of the

Sackler entities named in the Appealing States’ complaints are Named Insureds in the Debtors’

insurance policies. (Compare Annex A (“Defendants” column) with App. 2097 (DelConte at ¶

39 n.10) and App. A4705-18 (JX-0599) (demonstrative example of schedule of Named Insureds

of this type).) There can be no dispute that should litigation against these covered parties

continue, such litigation could result in claims for coverage that could decrease the amounts

available to the Debtors based on the applicable liability limits. (See App. 4554 (Hr’g Tr. 65:1-

67:24 (Aug. 13, 2021)).) That these polices—which constitute a significant asset of the estates

and a critical component of value to be distributed by MDT—are currently the subject of

vigorously contested litigation being pursued at the estates’ expense (see Adv. Proc. Case No.

21-07005 (RDD) Avrio Health L.P. et al. v. Specialty Insurance Company (f/k/a) American

International Specialty Lines Insurance Company) et al.), is, all by itself and leaving everything

else aside, proof positive that disputes over shared coverage will impact the res of the estates.

The Appealing States do not come close to establishing that Judge Drain’s factual findings were

clearly erroneous.




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       Second, the State Appellants argue that potential indemnification claims cannot serve as a

basis for related to jurisdiction because the Bankruptcy Court “failed to consider that no party

would be entitled to be indemnified for conduct that was not undertaken in good faith.”

(Appealing States Br. at 38) and that none of the Shareholder Released Parties would be entitled

to indemnification (Md. Br. at 27). This sweeping prediction about how future courts might

resolve future issues with respect to dozens of parties misstates the law and is contrary to the

facts adduced at trial. Under well-established Second Circuit law, “a contingent indemnification

obligation can be sufficient to satisfy the ‘conceivable effect’ test because such obligation

‘directly affects the res of the bankruptcy estate.’” In re Sabine Oil & Gas Corp., 555 B.R. at

290 (quoting In re FairPoint Commc’ns, 452 B.R. 21, 29 (Bankr. S.D.N.Y. 2011)); see also SPV

Osus Ltd., 882 F.3d at 340; In re Residential Cap., LLC, 508 B.R. 838, 848-849 (Bankr.

S.D.N.Y. 2014) (“[T]hird-party [indemnification] claims such as the ones asserted by [a released

party] would affect the res of the estate, satisfying the jurisdictional underpinnings for the third-

party release approved by the Court.”). And for a contingent claim to satisfy this test, the basis

for the claim need only be plausible. See Winstar Holdings, LLC v. Blackstone Grp. L.P., 2007

WL 4323003, at *1, n.1 (S.D.N.Y. Dec. 10, 2007).

       Here, Judge Drain correctly found that claims subject to the Shareholder Releases could

lead to the assertion of plausible indemnification and contribution claims. There is no dispute

that the Debtors’ governing documents include mandatory indemnification provisions requiring

the company to, except under certain circumstances, indemnify and defend all directors and

officers of PPI; directors, officers and trustees of PPLP and certain subsidiaries; and certain

agents or representatives of PPI, PPLP and certain subsidiaries or affiliates. (See App. A4131

(JX-0872 (June 20, 2019 PPLP Am. & Restated Partnership Agreement) § 18); see also App.




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A4068 (JX-1222 (Apr. 18, 2008 By-Laws Amendment) ¶ 2 (providing for mandatory

indemnification by PPI of directors and officers)); JX-2011 (PPI Minutes (same)); App. A4089

(JX-1803 (Third Am. PPLP Partnership Agreement § 20 (adoption of same by PPLP)).) The

State Appellants’ complaints name various members of the Sackler Families and other

individuals who were former officers or members of PPI’s board of directors. (See Annex A.) It

defies credulity to assert that if the States Appellants’ claims—which are fundamentally claims

against Purdue—are allowed to proceed, that members of the Sackler Families or these related

individuals would not attempt to assert claims for indemnification.

       Indeed, this Court, in its opinion affirming the preliminary injunction, already passed on

this issue as well and found it “conceivable” that one such suit “would give rise to a colorable

indemnification claim” by Richard Sackler, thus creating “related to” jurisdiction to preliminarily

enjoin the underlying litigation. In re Purdue Pharma, 619 B.R. at 52. Here, every one of the

Appealing States complaints names Richard Sackler as a defendant, as well as various other

members of the Sackler Families, all but one of whom has filed contingent proofs of claim for

indemnification. (See, e.g., App. A4489-A4513 (Proofs of Claim Nos. 137527 (Estate of

Raymond Sackler), 137453 (Estate of Jonathan Sackler), 137590 (Richard Sackler), 137599

(Estate of Beverly Sackler), 137706 (Kathe Sackler).) And even if some third parties might not

satisfy the standards for indemnity, it is not credible to claim that, if thousands of lawsuits were

allowed to proceed, no indemnity claim by any party could possibly succeed in any forum.

       The Appellants also all but ignore the potential for common law or statutory contribution

claims that Judge Drain also found could have a conceivable effect on the Estates. As the

Second Circuit opined in SPV OSUS, where, as here, there is a “high degree of

interconnectedness between the [third-party] action and the [debtor’s] bankruptcies, it is a




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difficult to imagine a scenario wherein [the third party] would not also sue [the debtor]” on a

putative contribution theory. SPV OSUS, 882 F.3d at 342. Here, there can be little doubt that if

tens of thousands of creditors were to pursue other Sackler-related parties—whether it be their

trusts, their advisors, their dependents, or the like—such defendants would claim over against

Purdue for contribution. The contingent proofs of claim filed by such persons during the course

of the chapter 11 cases demonstrates this with crystalline clarity. The State Appellants’

unsupported and self-serving statements in their briefs that “[n]o . . . reasonable basis [for such

claims] was established” (Appealing States Br. at 38) or “indemnification or contribution are

generally available and inappropriate under statute police power actions” (Md. Br. at 27)19 does

not undermine this conclusion. As the Bankruptcy Court correctly held, “[l]itigation over a

disputed indemnification or contribution claim is itself an effect upon the Estates.” (App. A3568

(FOF/COL) II(a).) See SPV OSUS, 882 F.3d at 342 (holding that “simply settling the issue of

whether a late claim is allowable would likely have an effect on the estate”).

       Third, even if the Appealing States were somehow correct that neither claims against

shared insurance nor the potential for indemnification or contribution claims provide a sufficient

basis to exercise jurisdiction—and they are not—the Appellants also entirely ignore the

Bankruptcy Court’s separate finding that litigation against the Shareholder Released Parties

could prejudice the estates’ pursuit of their own material claims against those parties, which as

the Bankruptcy Court noted, would likely have the best chance of material success. (App.

A3488, 3517 (MBR) at 111, 140.)



       19
          Notably, although Maryland purports to cite case law establishing this proposition, it
does not even cite a case under Maryland law that would purport to address its state case law
claims.



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        For example, in a no Shareholder Settlement scenario, the estates would be forced into

“competition” with direct claimants and, to the extent those claimants lose on their claims, any

resulting judgment would be used by the Shareholder Released Parties to show the absence of

fraudulent transfer liability resulting from that alleged debt, or to defend against veil piercing or

alter ego claims asserted by the estates. (App. 3518-19 (MBR) at 140-41.) Even in an entirely

hypothetical scenario where some form of the Plan were approved, but the Appellants were

allowed to pursue their direct claims against the Shareholder Released Parties, there still would

be a conceivable effect on the estates. Under the Plan, the Debtors’ claims against certain

members of the Shareholder Released Parties (the “Shareholder Release Snapback Parties”)

will be transferred to the MDT. (See App. A3127 (Plan § 5.6).) In the event of certain breaches

of the Shareholder Settlement, the MDT may file a Notice of Shareholder Release Snapback,

whereupon the Shareholder Releases shall be null and void with respect to the breaching

Shareholder Release Snapback Parties, and the Channeling Injunction shall no longer bar suits

brought against those parties (i.e., the Snapback). (See App. A3179, 83 (Plan §§ 10.7, 10.8(c)).)

The MDT may then pursue litigation against the relevant Shareholder Release Snapback Parties

using any recovered proceeds to fund the MDT and creditor trusts. (See App. A3127-34 (Plan §§

5.6(a)(ii), 5.6(c), 5.6(l)).) If litigation by third parties were to proceed against those benefiting

from the Shareholder Releases, those claims would certainly involve the same predicate issues

concerning alleged wrongdoing by Purdue as the MDT’s claims. And, if the defendants were to

prevail in such litigation, that could risk creating an adverse record against the MDT, potentially

decreasing a recovery in respect of the claims held by the MDT—or at the very least, increasing

the costs of pursuing such claims—and thus devaluing them. See Hr’g Tr. 45:4-23, Mallinckrodt

Plc v. State of Connecticut, Adv. Proc. No. 20-50850 (Bankr. D. Del. Nov. 23, 2020), Dkt. No.




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168 (concluding that the court had “related to” jurisdiction to enjoin third-party claims because

of, among other things, a “risk of . . . record taint if the actions are allowed to proceed”); cf. SPV

Osus Ltd., 882 F.3d at 342 (explaining that “a high degree of interconnectedness between” a

third-party action and a bankruptcy supports a finding of “related to” jurisdiction). Indeed, as

shown by two recent decisions issued in the days leading up to the filing of this brief, all sides

face risk in continued litigation. See, e.g., State ex rel. Hunter v. Johnson & Johnson, 2021 WL

5191372, at *1 (Okla. Nov. 9, 2021); California v. Purdue Pharma L.P., 2021 WL 5227329, at

*20 (Cal. Super. Ct. Nov. 01, 2021).

       Fourth, unable to avoid the clear factual finding that the particular claims of the

Appellants on appeal would have multiple conceivable effects on the estates, the U.S. Trustee

and the DOJ resort to baseless speculation that the Debtors have introduced evidence that only

“some of the Shareholder Released Parties may have indemnification rights against the Debtors.”

(DOJ Stmt. at 43-44.) This, though, is directly contradicted by the record. No Appellant can

identify a single claim that would be subject to the terms of the release but which would not

result in the effects found by Judge Drain. That is not surprising. Judge Drain’s multiple

narrowings of the Shareholder Releases in the ways described above in the Introduction, supra,

ensures that the releases are narrowly tailored to apply to claims that necessarily will have the

attendant conceivable effects found at trial.

       Finally, because the uncontested record establishes multiple, independent direct impacts

on the estates that would result from litigation of their claims against the Sacklers, Appellants’

assertion that the Second Circuit’s decisions in Manville III is “controlling” or “dictates the

outcome here” (Appealing States Br. 37-38; Md. Br. at 21), fails. In In re Johns-Manville Corp.,

517 F.3d 52, 57 (2d Cir. 2008) (often called Manville III), Manville had entered into an




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agreement with its insurer, Travelers, to settle claims against its asbestos policies. The

bankruptcy court approved the settlement and enjoined all non-derivative claims against

Travelers instead channeling them to the trusts. Id. Plaintiffs later brought statutory and

common law claims alleging that Travelers had violated an independent legal duty to them. See

id. at 57-58. The independent tortious conduct alleged, however, did not depend directly or

indirectly on Manville’s alleged wrongdoing. See In re Quigley Co., Inc., 676 F.3d at 56

(observing that “claims at issue [in Manville III] were not premised on Manville’s conduct”).

For instance, some of these plaintiffs alleged that they “declined to file personal injury suits

against Manville because Travelers . . . suppressed information about asbestos hazards and

intentionally propagated an allegedly-fraudulent ‘state of the art’ defense to frustrate claimants’

rights,” allegations that had nothing to do with conduct at Manville. Manville III, 517 F.3d at 57.

In declining to exercise jurisdiction, the Second Circuit found that the “vast majority” were

claims which sought “to recover directly from [the] debtor’s insurer for the insurer’s own

independent wrongdoing,” “ma[d]e no claim against an asset of the estate,” and whose litigation

as a factual matter “[did not] affect the estate.” Id. at 64-65 (emphasis added).

       That could not be further from the facts here. While premised on consumer protection

statutes and brought against members of the Sackler Families directly, the State Appellants’

claims depend entirely on demonstrating Purdue’s misconduct in connection with the opioid

crisis. Indeed, as noted above, their actual allegations center on the Sacklers’ conduct in running

the Debtors. Moreover, contrary to the suggestions of some of the Appellants, Manville III (or

Manville IV, which merely confirmed Manville III’s ultimate holding after the Supreme Court

vacated the decision on other grounds) does not represent a narrowing of the scope of “related

to” jurisdiction in the Second Circuit. (Appealing States Br. at 37 (“[T]he Court in Manville III




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made clear that the “direct effect” test cannot be met based solely on similar factual allegations

in claims against debtor and non-debtor”). As the Bankruptcy Court correctly held, the Second

Circuit’s 2012 decision in In re Quigley Co. made crystal clear “Manville III did not work a

change in [Second Circuit] jurisprudence.” 676 F.3d at 56. Rather, the “touchstone for

bankruptcy jurisdiction remains whether [a claim’s] outcome might have any ‘conceivable

effect’ on the bankruptcy estate” and that “[a] suit against a third party alleging liability not

derivative of the debtor’s conduct but that nevertheless poses the specter of direct impact on the

res of the bankrupt estate may just as surely impair the bankruptcy court’s ability to make a fair

distribution of the bankrupt assets as a third-party suit alleging derivative liability.” Id. at 57-58

(internal quotations omitted). Manville III therefore has no bearing on this appeal.

               5.      The Bankruptcy Court Had the Statutory Authority to Enter a Final
                       Order Confirming the Plan and the Shareholder Releases

       Next, some Appellants argue that the Bankruptcy Court did not have the “core” authority

to enter a final order confirming the Plan under section 157 of Title 28. Not so. The

confirmation of the Plan is a “core proceeding.” See 28 U.S.C. § 157(b)(2)(L). As this Court

held in In re Kirwan—reasoning that was subsequently adopted by the Third Circuit in In re

Millennium Labs—where, as here, a bankruptcy court considers non-consensual third-party

releases in connection with the confirmation of a proposed plan of reorganization, it acts

pursuant to its core authority. See In re Kirwan, 592 B.R. at 504; In re Millennium Lab Holdings

II, LLC., 945 F.3d at 137 (in appeal from confirmation of plan containing nonconsensual third-

party releases, holding that “[t]he Bankruptcy Court indisputably had ‘core’ statutory authority to

confirm the plan”); In re AOV Indus., Inc., 792 F.2d 1140, 1145 (D.C. Cir. 1986) (“The approval

of a disclosure statement and the confirmation of a reorganization plan are clearly proceedings at




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the core of bankruptcy law . . . [a]lthough the bankruptcy court’s decision may have an impact on

claims outside the scope of the immediate proceedings.”).

       The DOJ’s and U.S. Trustee’s arguments ignore this authority entirely. For example, the

DOJ argues that analysis of whether the Bankruptcy Court has “core” jurisdiction must be

“evaluated independently” of the Plan itself. (DOJ Stmt. at 35.) But as much as they would like

to wish away the law, they cannot. The operative proceeding for determining the Bankruptcy

Court’s power to enter final orders is the confirmation proceeding. See In re Kirwan, 592 B.R. at

505 (holding that “operative proceeding” is “confirmation of a plan”). The fact that a plan

contains third-party releases does not change that. As this Court explained in Kirwan—and

underscored in these very cases—“although a bankruptcy court’s ‘consider[ation] [of] a third-

party release as part of a proposed plan of reorganization . . . may have the effect of a ruling on

the merits, it is not a ruling on the merits—and thus operates on an entirely different

jurisdictional footing.’” In re Purdue Pharma L.P., 619 B.R. at 57 (quoting In re Kirwan, 592

B.R. at 507) (emphasis in original).

       Advancing absolutely no contravening authority on this point,] the DOJ’s remaining

arguments on this point fail. The argument—that Kirwan and Millennium are distinguishable on

their facts (DOJ Stmt. at 37-38)—is irrelevant. It is hardly surprising that the factual

circumstances there were different. Metromedia’s requirement that the factual circumstances be

“unique” and “rare” effectively ensures this. But the ultimate holding in these case—that a court

acts pursuant to its “core” authority when it confirms a plan of reorganization containing third-

party releases that are sufficiently related to the debtors and the plan—remains. See In re

Kirwan Offices, 592 B.R. at 506. The DOJ’s remaining assertions merely rehash its unsupported




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arguments that the Shareholder Releases are not “necessary” or “narrowly tailored” to

accomplish their purpose (DOJ Stmt. 36-38), but those too fail as demonstrated above.

               6.     The Bankruptcy Court Had the Constitutional Authority to Enter a
                      Final Order Confirming the Plan and the Shareholder Releases

       For similar reasons, the U.S. Trustee’s and DOJ’s assertions that the Court lacks

constitutional authority to confirm a plan containing third-party releases are unavailing. (See

UST Br. at 33-38; DOJ Stmt. at 31-44.) To be sure, as Article I courts, bankruptcy courts may

enter final judgment only on claims that “stem[] from the bankruptcy itself or would necessarily

be resolved in the claims allowance process.” See Stern v. Marshall, 564 U.S. 462, 499 (2011).

But the Bankruptcy Court was not asked to enter final judgment on any claims. As this Court in

Kirwan held—and as the Third Circuit likewise held in a recent decision directly on point—a

bankruptcy court has constitutional authority to confirm a plan containing third-party releases

where such releases are “integral to” the restructuring. See In re Millennium Lab Holdings, 945

F.3d at 137-140; Kirwan, 592 B.R. at 509-512; see also Hr’g Tr. 91:14-19, In re Windstream

Holdings, Inc., No. 19-22312 (RDD) (Bankr. S.D.N.Y. May 8, 2020) (challenges to the Court’s

constitutional authority to confirm a plan containing third-party releases “will always be denied

until the Second Circuit or the Supreme Court rules otherwise based on the Third Circuit’s

Millennium case and the Kirwan case”). Here, the Shareholder Releases are necessary to the

Plan, as demonstrated above, and thus fall well within the Court’s constitutional authority.

Despite extensive focus on this argument, the DOJ and U.S. Trustee’s arguments all flow from

the mistaken premise that the Plan adjudicates third-party claims on the merits, which as

demonstrated above, is contrary to law.




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                  7.   The Plan Does Not Violate the Bankruptcy Clause of the United States
                       Constitution

       Finally, the U.S. Trustee contends that the Court’s ability to impose third-party releases

somehow unconstitutionally exceeds the scope of the Bankruptcy Clause under Article I, section

8 of the U.S. Constitution (and yet again, sub silentio, seeking to nullify decades of precedent).

(See UST Br. at 31-33.) But despite labelling this as a constitutional argument, the U.S. Trustee

essentially just contests whether the released claims are sufficiently “related to” these cases—a

challenge to the Bankruptcy Court’s subject matter jurisdiction. (See UST Br. at 32 (“The non-

Debtor releases are not limited to claims that would impact the res of Purdue’s bankruptcy

estate.”).) As noted above, Congress granted broad “residual authority” to craft appropriate

plans of reorganization consistent with “the traditional understanding that bankruptcy courts as

courts of equity” are vested with “broad authority to modify creditor-debtor relationships.”

Energy Resources Co., 495 U.S. at 549; see also Pepper v. Litton, 308 U.S. at 296 (recognizing

bankruptcy court’s “broad equitable powers”); see Section I, supra. Where, as here, claims

against the debtors cannot be equitably treated without treating highly-interconnected related

claims between and among creditors and other parties, the power to release and channel those

claims falls in the heartland of the Bankruptcy Court’s power to “modify debtor-creditor

relationships.”

II.    The Shareholder Settlement Is Reasonable and in the Best Interests of the Estates

       Maryland’s throw away argument at the end of its brief that the Bankruptcy Court erred

in approving the Shareholder Settlement under the governing standard set forth in In re Iridium

Operating LLC, is entirely without merit. See 478 F.3d 452, 462 (2d Cir. 2007). A bankruptcy

court’s determination “pursuant to Rule 9019 that a settlement is reasonable is viewed for abuse

of discretion,” In re Delta Air Lines, Inc., 374 B.R. 516, 522 (S.D.N.Y. 2007), and Maryland



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does not come anywhere close to satisfying that high bar, id. (observing that a “bankruptcy court

will have abused its discretion if no reasonable man could agree with the decision to approve a

settlement”). Indeed, Maryland cannot seriously contest that the Bankruptcy Court properly

weighed the factors enumerated in the Second Circuit’s controlling Iridium decision. The

Bankruptcy Court determined that the Shareholder Settlement (and the interrelated creditor

settlements that hinged on such settlement) were fair, reasonable, and in the best interests of the

estates on the basis of an extensive and largely uncontroverted trial record, and its opinion is

thorough, well-reasoned, and correct. (MBR at 71-103.) What Maryland claims instead is that

the Bankruptcy Court’s position that third-party releases are appropriate under certain

circumstances (endorsed in 33 years of Second Circuit law), and its issuance of the preliminary

injunction at the outset of the chapter 11 cases (affirmed by this Court) to protect the

reorganization somehow infected the whole process and outweighs everything else. (Md. Br. at

57-59.) At base, Maryland argues that this Court must overturn the Confirmation Order because

the Bankruptcy Court followed decades of governing precedent.

       The Bankruptcy Court’s position on third-party releases is consistent with—and

compelled by—controlling Second Circuit authority, see supra Section I(A), and this Court itself

affirmed the preliminary injunction as an appropriate exercise of the Bankruptcy Court’s

power. In re Purdue Pharma L.P., 619 B.R. at 57-62. Maryland cannot convert its disagreement

with the foregoing and the propriety of the Shareholder Releases into an attack on the

reasonableness of the Shareholder Settlement, particularly where, as here, Maryland failed to

adduce evidence to the contrary at trial or meaningfully contest the evidence put forth by the plan

proponents that the settlement was negotiated and reached and overwhelmingly endorsed by

creditors, including 80% of U.S. states, after years of mediation and litigation.




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III.   The Bankruptcy Court Correctly Concluded that the Plan is in the Best Interest of
       Creditors Under Section 1129(a)(7)

       Under Section 1129(a)(7), a plan may be confirmed only if each holder of a claim or

interest in an impaired class has either accepted the plan or will receive or retain property having

a present value, as of the effective date of the plan, of not less than the value such holder would

so receive if the debtor were liquidated under chapter 7 of the Bankruptcy Code at that time. 11

U.S.C. § 1129(a)(7); Kane v. Johns-Manville Corp., 843 F.2d 636, 649 (2d Cir. 1988). The

Bankruptcy Court concluded for two independent reasons that this test was satisfied, and found

as the trier of fact that objecting creditors would not receive less under the plan than they would

so receive under a chapter 7 liquidation. (App. A3523, A3535-36 (MBR) at 146, 148-149.)

       The Bankruptcy Court credited the testimony of the Debtors’ expert witness on

liquidation, Jesse DelConte, which offered “low” “mid” and “high” estimates of the liquidation

value of the Debtors’ assets, the costs of liquidation, and aggregate recoveries to classes of the

estates’ creditors in a chapter 7 liquidation. (App. A0813, A0818, A0829 (JX-3051)(Amended

Expert Declaration of Jesse DelConte) (“DelConte Expert Decl.”) at ¶¶ 9, 16, 48.) The Court

found that the Plan provided an estimated more than $5 billion in recoveries to opioid litigation

claimants (App. A3395 (MBR) at 18.). By contrast, the Court found that “[u]nder the most

realistic scenarios described in [DelConte’s] analysis, there would literally be no recovery by

unsecured creditors from the estates in a Chapter 7.” (App. A3467 (MBR) at 90.). The Court

further found that “even in the less likely ‘best case’ scenario” presented in DelConte’s analysis,

opioid litigation claimants collectively would share $699 million (as opposed to billions under

the Plan). (App. A3518-19 (MBR) at 141-42.)20


       20
          One of the key drivers of the extraordinary reduction in recoveries is that “in a
liquidation scenario the United States’ agreement in the DOJ’s October 2020 settlement with
(….continued)


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        No party offered any competing expert or percipient witness testimony on the liquidation

value of the Debtors’ assets, the costs of liquidation, or likely creditor recoveries from the estates

in a liquidation scenario. Accordingly, the Court correctly concluded that in a chapter 7

liquidation creditors stood to recover nothing, and at best, billions of dollars less than they would

recover under the Plan on their claims against the Debtors. (App. A3519 (MBR) at 142.)

        Appellants do not appear to seriously dispute that the consequence of a liquidation would

be billions of dollars less in recoveries from the estates, and certainly point to no evidence to the

contrary, for there is none. And, in one of the most deafening of the dozens of deafening

silences of the Appellants’ papers on critical points, not one of them even alleges—let alone

refers to one peppercorn of evidence—that they believe that they (or anyone) would actually

receive more in a liquidation, even when including their claims against the Sacklers. Rather, the

Appealing States and California argue that the Bankruptcy Court erred in determining that the

Plan satisfies the “best interests” of creditors test with respect to claims subject to the

Shareholder Releases, first, by concluding that section 1129(a)(7) does not contemplate

accounting for those third-party claims, and second, in making its straightforward factual finding

that section 1129(a)(7)’s test is satisfied even if such claims are taken into account. (Appealing

States Br. at 39-48; Cal. Joinder at 1 (Oct. 26, 2021), Dkt. No. 99.)




                                                                                              (continued….)
Purdue to forego $1.775 billion of its $2 billion superpriority administrative expense claim for
the benefit of the plan’s abatement program would disappear” (App. A3467 (MBR) at 90,)
meaning that the DOJ would be entitled to recover $2 billion from the estates ahead of unsecured
creditors (id.).



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       A.      The Bankruptcy Court Correctly Concluded That The Plain Meaning of
               Section 1129(a)(7) Does Not Require the Court to Consider The Value of
               Claims Creditors Hold Against Third-Parties

       Section 1129(a)(7) does not state that bankruptcy courts evaluating a plan providing for

third-party releases must consider the value of such claims when comparing plan recoveries to

the expected recovery in a hypothetical chapter 7 liquidation. Rather, that section requires that

the Court must compare the value a creditor will “receive or retain under the plan on account of

such claim” against “the amount that such holder would so receive or retain” in a chapter 7

liquidation. 11 U.S.C. § 1129(a)(7) (emphasis added). After considering whether the plain

meaning of “so receive or retain” encompasses creditors’ rights against third parties, the

Bankruptcy Court concluded that “as a matter of grammar,” the use of “so receive or retain” in

the second clause, which concerns a chapter 7 liquidation means, refers back to “on account of

such claim” in the first clause referring to Plan recoveries. Thus, the Court interpreted

1129(a)(7) to require a comparison “between the amount that the objecting creditor would

receive under the plan on account of its claim and what it would ‘so’ receive—that is, also on

account of its claim—if the debtor were liquidated under chapter 7.” (App. A3521-22 (MBR) at

144-45.)

       Appellants argue that the Bankruptcy Court erred because the “plain language” of

1129(a)(7) requires consideration of third-party claims that a creditor would “retain” in a chapter

7 but must non-consensually release under a Chapter 11 plan, which is the reading adopted by In

re Quigley, 437 B.R. 102, 144-45 (Bankr. S.D.N.Y. 2010) and In re Ditech, 606 B.R. 544, 609-

10 (Bankr. S.D.N.Y. 2019). But only the Bankruptcy Court’s interpretation of the plain meaning

statute is consistent with the basic canon of construction that courts “must give effect to every

word of a statute wherever possible.” Leocal v. Ashcroft, 543 U.S. 1, 12 (2004); see Assoc.

Against Outlier Fraud v. Huron Consulting Grp., Inc., 817 F.3d 433, 437 (2d Cir. 2016) (“[W]e


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must attempt to give effect to the plain meaning of each word in the statute.” (internal quotation

marks omitted) (quoting United States v. Pacheco, 225 F.3d 148, 156 (2d Cir. 2000)). Under the

Bankruptcy Court’s reading of the statute, the word “so” can and could do only one thing—link

the value considered under a plan—the value that a creditor will “receive or retain under the plan

on account of such claim”—with the value the creditor will “receive or retain” on account of that

claim under a chapter 7 liquidation. The readings advanced in Quigley and Ditech render the

word “so” superfluous.

        Furthermore, while Appellants attempt to cast the Bankruptcy Court as an outlier against

a consensus consistent with Quigley and Ditech, a careful review of the case law demonstrates

that a number of courts have limited the best interest test to the amounts “received or retained”

on claims against the estate. For example, in an analogous context, certain asbestos claimants

against W.R. Grace argued that its plan failed the best interests test because those claimants

could pursue recoveries from W.R. Grace’s insurers in a hypothetical chapter 7 liquidation while

such claims were enjoined under the plan. In re W.R. Grace, 475 B.R. 34, 149 (D. Del. 2012).

The district court rejected this argument, and concluded that the best interest test considered only

the amount that claimants would obtain from the estates in a hypothetical chapter 7 liquidation,

not the amount claimants would allegedly recover from the estates’ insurers. 475 B.R. at 149-50.

Indeed, the rule that a liquidation analysis consider only what may be realized on a claim against

the debtor in chapter 7 liquidation and not from other sources has been applied in a number of

contexts. See, e.g., In re Plant Insulation Co., 469 B.R. 843, 888 (Bankr. N.D. Cal. 2012)

(declining to follow Quigley, and explaining that 1129(a)(7) requires comparison of the amounts

received on claims against the Debtor under a plan and a hypothetical chapter 7 scenario); In re

ARO Liquidation, Inc., Case No. 16-11275 (Bankr. S.D.N.Y. March 28, 2018), Hr’g Tr. at 20:4-




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10 (following W.R. Grace and Plant Insulation); see In re Dow Corning, 237 B.R. 380, 411

(Bankr. E.D. Mich. 1999) (“When employing the best-interest-of-creditors test, courts look at the

dividend the creditor would receive from the chapter 7 trustee—and only that amount—for

comparison with the dividend available under the plan.”).

        B.      The Bankruptcy Court Correctly Concluded, In the Alternative, that the
                Best Interests Test is Satisfied Even If Third-Party Claims are Appropriately
                Considered

        Although the Bankruptcy Court concluded that section 1129(a)(7) does not require

bankruptcy courts to consider amounts a claimant might receive from third-party claims, the

Bankruptcy Court nonetheless specifically engaged in this alternative analysis, found that “the

objectors’ aggregate net recovery on their claims against the Debtor and the shareholder released

parties would be materially less than their recovery under the Plan,” (App. A3520 (MBR) at 143)

and concluded as the trier of fact that the “[P]lan also meets Bankruptcy Code section

1129(a)(7)’s ‘best interests’ test under a broad construction of that test” (App. A3526 (MBR) at

149).

        The starting point for this analysis was the finding that the hundreds of thousands of

unsecured claimants would collectively recover nothing, or at most $699 million, in a

liquidation—billions of dollars less than they would recover under the Plan. (App. A3518-19

(MBR) at 141-42; App. A0813, A0829 (DelConte Expert Decl. at ¶¶ 9, 48).) This meant that

creditor recoveries in a liquidation could be greater than Plan recoveries only if third-party

recoveries in a liquidation scenario could reasonably bridge that gulf. The Bankruptcy Court

concluded that they could not, and rested its finding on “the evidence regarding the strengths and

weaknesses of the claims, including the cost of pursuing them, the risks of collection, and the

dilutive effect of all of the other litigation that would be pursued by all of the other creditors in

these cases, including all of the other states and governmental entities who are otherwise


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agreeing to the plan that would have the same types of third-party claims, as well as the Chapter

7 trustee on behalf of the estate” (App. A3524-25 (MBR) at 147-48) as well as its consideration

of the history of settlements involving the Sacklers, (App. A3525 (MBR) at 148).

       Each of the factors the Bankruptcy Court considered in its evaluation of the objectors’ net

aggregate recoveries in a liquidation scenario was thoroughly explored at the confirmation

hearing. Evidence regarding the “strengths and weaknesses of the claims” against the Sacklers

included the live testimony elicited by the State Appellants from four members of the Sackler

family (David Sackler, Richard Sacker, Mortimer Sacker, and Kathe Sackler) and a deposition

and declaration testimony by Ilene Sackler Lefcourt, which the Court viewed as relevant to “the

strength of the estates’ and third-parties’ claims against them. (App. A3468-69 (MBR) at 91-

92.) Countervailing evidence included fact and expert testimony submitted by the Sacklers,

including testimony that “over 40 percent of the asserted avoidable transfer to the Sacklers or

their related entities went to pay taxes associated with Purdue.” (App. A3470 (MBR) at 93

(referring to declarations of Carl Trompetta, Bankr. Dkt. No. 3415 (Aug. 5, 2021), and Jennifer

Blouin (“Blouin Decl.”), Bankr. Dkt. No. 3419 (Aug. 5, 2021)); id. at 96 (referring to declaration

of Lawrence Hamermesh (“Hamermesh Decl.”), Bankr. Dkt. No. 3421 (Aug. 5, 2021)); see also

App. A1875-A1880 (Martin Report (Mortimer Sackler Family), Ex. C at 32-37 (Aug. 5, 2021),

Bankr. Dkt. No. 3448); App. A1589-92 (Am. Martin Report (Raymond Sackler Family), Ex. H

at 25-28 (Aug. 4, 2021), Bankr. Dkt. No. 3422); Declaration of Maureen M. Chakraborty

(“Chakraborty Decl.”) (Aug. 4, 2021), Bankr. Dkt. No. 3420); Expert Report of Michael

Cushing (June 15, 2021), Bankr. Dkt. No. 3442-1).). Evidence regarding the “risks of

collection” of judgments against the Sacklers included the fact and expert testimony of Timothy

Martin, who submitted 913 pages of declarations detailing the nature, location, and form of




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ownership of the material assets of each of the two sides of the Sackler Families (App. A1829

(Martin Report (Mortimer Sackler Family)); App. 1020 (Am. Martin Report (Raymond Sackler

Family)), and Steven Ives, who testified to the validity of information that the Raymond Sackler

family provided to Timothy Martin (App. 1011-1013 (Ives Decl. ¶¶ 14-20 (Aug. 5, 2021), Bankr.

Dkt. No. 3417).). (See App. A3462 (MBR) at 85 (referring to the “trial declarations of Timothy

Martin and Steven Ives” regarding the Sacklers’ assets).) The Bankruptcy Court also pointed to

the testimony of the Mortimer Sackler family’s expert on trust law of the Bailiwick of Jersey,

who testified to the obstacles to collecting a judgment against Jersey trusts for the benefit of

members of the Sackler families. (App. A3463-64 (MBR) at 86-87; See Expert Report of

Michael Cushing, Bankr. Dkt. No 3442 (JX-0409), In re Purdue Pharma L.P., Case No. 19-

23649 (Bankr. S.D.N.Y.).) Evidence regarding the dilutive effect of litigation abounded. The

Court had, in the form of the Martin Reports, detailed information about the amount of assets

available to satisfy any judgment against any individual Sackler defendant, and the amount and

nature of assets held in trusts for the Sacklers’ benefit. (App. A1875-A1880 (Martin Report

(Mortimer Sackler Family)), Ex. C at 32-37; App. 1589-92 (Am. Martin Report (Raymond

Sackler Family), Ex. H at 25-28). The Court’s own claims register demonstrated that the states

alone had asserted $2.156 trillion in claims (App. A3519 (MBR) at 142), and that the aggregate

amount of the “only roughly 10 percent” of claims filed in a liquidated amount came to “roughly

$40 trillion of liability (excluding a $100 trillion claim that was filed by an individual.” (App.

A3395-96 (MBR) at 18-19; App. A0730 (JX-3028) (Pullo Decl. ¶ 8).)

       Based on the extensive trial record, the Court found that “recovery on judgments would

be difficult” because of “the dispersal of the Sacklers’ wealth, including (x) among many

different people or family groups, including outside of the U.S. and (y) in allegedly spendthrift




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trusts, including, again, outside of the U.S.” (App. A3518 (MBR) at 141.) The Court also noted

that over 40% of the payments to the Sackler Families were made for the purposes of paying

taxes (and thus arguably were made for fair consideration), and the statute of limitations could

limit the reach back by the estates to most claims. (See App. A3470-72 (MBR) at 92-94.) The

Court also found that any judgments would be diluted because the objecting states would be

competing in a “battle of the century” with other creditors and the chapter 7 trustee liquidating

the Debtors’ estates for “only a small pro rata share of any recovery from” the assets of the

Sackler defendants that “would be materially less than their recovery under the [P]lan.” (App.

A3518-19, A3525-26 (MBR) at 141-42, 148-49.) The Court gave particular weight to dilution

by other governmental claimants, evaluating the objecting states’ share of $450 billion of the

aggregate $2.156 trillion consolidated State proof of claim, and found that, in the absence of a

settlement “at least the other governmental entities would pursue similar claims against the

shareholder released parties” because “they would never permit the objecting states, which are

similarly situated to them, to win a litigation race.” (App. A3519-20 (MBR) at 142-43.) Finally,

the Court canvassed the limited history of settlements involving the Sackler families, including

the Sackler’s 2020 settlement with the DOJ for $225 million, their 2019 settlement with

Oklahoma for $75 million, and that they “paid nothing” to obtain a release from Kentucky as

part of that state’s 2016 settlement with Purdue. (App. A3525 (MBR) at 148.)

       The Appealing States do not identify any basis upon which to conclude these detailed

findings of fact are clear error. Indeed, despite arguing that the best interests test must be

“satisfied with evidence, not assumptions,” the Appealing States do not cite a single exhibit,

page, or line of the voluminous evidentiary record in support of their contention that the

Bankruptcy Court erred, or identify any fact that could show the Bankruptcy Court’s estimation




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of objectors’ recoveries in a hypothetical chapter 7 liquidation was clear error. (Appealing States

Br. at 44.) Instead, they argue the Bankruptcy Court “committed three legal errors” in reaching

its conclusion. The “errors” they identify are not legal errors at all but only attempts to reargue

the confirmation hearing while simply wishing away the factual findings and voluminous record

below. (Appealing States Br. at 43.)

       The Appealing States’ first argument is that the Bankruptcy Court erred because it

concluded that “the State’s claims against the Sacklers lacked value without any actual evidence

as to the value of those claims,” (Appealing States Br. at 43) and that it “relied on assumptions

rather than evidence.” (Appealing States Br. at 44.) As has just been explored, that is simply not

true. The Bankruptcy Court explained that, “based on the record of the confirmation hearing, [it

had assessed] what . . . would be recovered by the objectors if the Debtors were liquidated in

Chapter 7, both on account of their claims against the Debtors and on account of their third-party

claims” ((App. A3523 (MBR) at 146), made additional factual findings (App. A3524-26 (MBR)

at 147-149) and directed the parties to findings that it had made in the prior 140-plus pages of its

ruling (see, e.g., App. A3525-26 (MBR) at 148-49 (referring to “the other evidence that I have

already discussed at length” relating to third-party claims against the Sacklers)).

       It appears that the Appealing States argue that “no evidence” regarding the value of the

state’s claims existed because Mr. DelConte did not attempt to value those claims—as he

testified he “couldn’t adequately estimate the value of those potential claims.” (App. A4580

(Hr’g Tr. 72:11-12 (Aug. 13, 2021)).) That is of no moment, however. Both Quigley and Ditech

require consideration of third-party recoveries for purposes of the best interests analysis only

when such recoveries are “neither speculative nor incapable of estimation.” In re Quigley, 437

B.R. at 145; In re Ditech, 606 B.R. at 615. Thus, even under Appellants’ view of the law, a




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Debtor need not attempt to estimate third-party recoveries that are not “capable of estimation”—

which is precisely how Mr. DelConte viewed third-party claims against the Sacklers. In any

case, the Bankruptcy Court did not view the absence of testimony by Mr. DelConte to be

relevant to its analysis; it specifically rested its findings on other evidence (App. A3525 (MBR)

at 147) and found that “no additional evidence” was required (id. at 147-48). The Debtors have

never asserted that creditors might not or do not have claims against the Sacklers. The issue

ultimately is rather simple: if any do, all do, which quickly leads to claims asserted totaling tens

of trillions of dollars. It is impossible to assess how much any individual claimant would

actually recover in a world where tens of thousands are simultaneously suing the Sacklers. These

are the ultimate inestimable claims that both Quigley and Ditech said do not get counted under

section 1129(a)(7).

       The Appealing States’ next argument, that the Bankruptcy Court erred because it relied

upon on “profoundly inaccurate” legal assumptions about the relative or absolute strength of the

States’ claims (Appealing States Br. at 44) both bears no relationship to the record below and

entirely misses the point of the Court’s best interest analysis. Contrary to the Appealing States’

contention, the Bankruptcy Court did not find that their claims would be “diluted to

worthlessness.” (Appealing States Br. at 46.) What it did find was that objecting states would

recover less on their claims against third-parties and on their estate claims in a chapter 7 scenario

than their ratable share of the billions of dollars of creditor recoveries under the Plan. (See, e.g.,

App. A3519 (MBR) at 142 (comparing the “pro rata share” of recoveries against the Shareholder

Released Parties against the “claims that under the plan are to be resolved by agreed multi-

billion-dollar payments for abatement.”).) As explained above, that finding does not rest on a

conclusion that the Appealing States’ claims were weak, but the reality that they and all other




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states (and hundreds of thousands of others) would be chasing the same, limited pool of assets

and facing obstacles to collection and the risks of litigation. (See Section I.B.4(ii), supra.) The

Bankruptcy Court’s findings about dilution could only be disturbed by compelling evidence that

the Appealing States’ claims are stronger than the claims of other States (even if one were to

assume, as they do, that states have the strongest claims)21 and that they would win the “race to

the courthouse” against those other States and the estates and that they would surmount obstacles

to collection. They had their day—or over 8 days—in court and did not even try to make this

showing.

       Considered in the proper light, the remainder of the Appealing States’ attempts to

disguise as “errors of law” the inferences and conclusions the Bankruptcy Court drew from the

extensive record or assert that no evidence exists when such evidence is clearly found, can be

readily rejected. The Appealing States’ contention that the Bankruptcy Court made a legal error

by failing to recognize their claims “differ in crucial respect from claims brought by other

litigants” and that states enjoy advantages over other litigants (Appealing States Br. at 46) is both

misguided, as explained above, and unsupported by the record. The very Bankruptcy Court

finding they cite as embodying this error (App. A3524 (MBR) at 147) specifically emphasizes

the dilutive effect of “all of the other states and governmental entities who are otherwise

agreeing to the plan that would have the same types of third-party claims,” and the Court

elsewhere emphasized the dilutive effect of other States’ claims: “the states and territories filed

proofs of claims in these cases aggregating at least $2.156 trillion. The share of that sum for the



       21
          This assumption is far from agreed, as many creditor groups, including the personal
injury claimants, vehemently contest the States’ asserted primacy of place among claimants
against Purdue and the Sackler.



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objectors who have attacked the plan’s third-party claims release is roughly 450 billion, or less

than 21 percent” (App. A3519-20 (MBR) at 142-43).

        Their assertion that the Bankruptcy Court “provided no explanation of the legal or

evidentiary support” (Appealing States Br. at 46) for its conclusion that the estates’ avoidance

claims would “probably would have the best chance of material success among all of the claims

against the shareholder released parties” (id. (citing App. A3518 (MBR) at 141)) is likewise

false. The Bankruptcy Court dedicated 28 pages of its opinion to canvassing the evidence

regarding strength of those claims and, in the course of that discussion, comparing and

contrasting them with third-party claims. (MBR at 71-99.) It is also categorically false that “no

[] evidence was proffered” regarding the value of the estate’s fraudulent transfer claims, as the

Appealing States assert (Appealing State Br. at 46.). Thousands of pages of expert reports and

declarations addressed the strength of these claims. (Declaration of Richard A. Collura (Aug. 5,

2021), Bankr. Dkt. No. 3410); Declaration of David W. DeRamus, PhD (Aug. 5, 2021), Bankr.

Dkt. No. 3428); Chakraborty Decl. (Aug. 4, 2021), Bankr. Dkt. No. 3420); App. A1829 (Martin

Report (Mortimer Sackler Family)); App. A1020 (Am. Martin Report (Raymond Sackler

Family)); Blouin Decl. (Aug. 5, 2021), Dkt. No. 3419); Hamermesh Decl. (Aug. 5, 2021), Bankr.

Dkt. No. 3421).) The Bankruptcy Court made a specific finding on the value of those claims and

the closely-related third-party claims. (App. A3476 (MBR) a99 (“I believe that in a vacuum the

ultimate judgments that could be achieved on the estates’ claims (and the closely related third-

party claims that are being settled under the plan) might well be higher than the amount that the

Sacklers are contributing.”). Mr. DelConte’s liquidation analysis also included an estimate of the

value of such claims in liquidation scenarios. (App. A0821, A0824-25 (DelConte Expert Decl.) ¶¶

23, 33.).




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       Appealing States’ final argument—that the Court committed legal error by “relying upon

the lack of meaningful history of settlements or resolutions” because the “only reason there is no

similar history here is that the Court stayed all actions”—fares no better. (Appealing States Br.

at 46.) As has already been explained, the Bankruptcy Court did consider settlements that

provided for releases of members of the Sackler Families, including a 2016 settlement with

Kentucky, the 2019 settlement with Oklahoma, and the 2020 settlement with the Department of

Justice, and determined that the “amounts reasonably compare to the proposed recoveries to the

objecting states under the plan.” (App. A3525 (MBR) at 148.) That the Appealing States wish

the Bankruptcy Court gave greater weight to their meritless argument about the impact of the

preliminary injunction, or settlements they hypothesize might have existed but for that

injunction, is no basis to disturb the Bankruptcy Court’s detailed findings (especially where the

Appellants introduced zero evidence and have in fact never even asserted how or why they

would do better in a horrifying meltdown liquidation).

IV.    The Appeal of Certain Canadian Municipalities and First Nations Creditors is
       Meritless

       The Bankruptcy Court’s decision to overrule the objection of the Canadian Appellants to

the release provisions in the Plan, and its finding that the Plan’s classification of the Canadian

Appellants was proper, should be affirmed.22 (App. A3413, A3417 (MBR) at 36, 40.)




       22
           The Canadian Appellants also incorporate by reference “the issues raised by other
appellants.” Canadian Appellants’ Br. at xi. While such issues were not preserved for appeal by
Canadian Appellants due to their failure to raise those issues before the Bankruptcy Court despite
having the opportunity to do so, the Debtors’ responses to such issues are set forth fully above.
See e.g., In re Great Atl. & Pac. Tea Co., Inc., 472 B.R. 666, 679 (S.D.N.Y. 2012) (“Appellant
waived its arguments” on appeal where “it did not raise these particular arguments below despite
the opportunities to do so in its written objections or at the Hearing.”)



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       A.      The Canadian Appellants Misunderstand the Plain Language of the Plan

       As an initial matter, the Canadian Appellants’ arguments are premised on a deeply flawed

understanding of the Shareholder Releases. The Canadian Appellants’ claims, by their own

admission, “concern the operations of Purdue Canada, the Debtors’ Canadian non-bankrupt

affiliate” and the Shareholder Released Parties’ control, direction, and oversight of Purdue

Canada, and accordingly are materially different from those held by domestic municipalities and

Indian tribes. (Canadian Appellants’ Br. at 17-18, 21.) Despite their argument that their claims

against the Sacklers arise out of the Canadian conduct of Purdue Canada, the Canadian

Appellants argue that the releases apply to them because all claims that “concern conduct that

even touches” the Debtors are released (Canadian Appellants’ Br. at 12). This is wrong.

       As has been explained at length in Section III.G, supra, claims are subject to the

Shareholder Releases if they relate to the Debtors and the “conduct, omission or liability of any

Debtor or any Estate” is a “legal cause or [] otherwise legally relevant factor” for the claim.

(App. 3180 (Plan at 126).) Thus, if a Debtor’s conduct is not either a “legal cause” or a “legally

relevant factor” with respect to a particular claim, such claim is not subject to the Shareholder

Release in the first place. The Canadian Appellants’ failure to acknowledge this express

limitation, including by asserting that “[t]he releases extinguish . . . all non-Debtors’ direct

opioid causes of action against the Shareholder Released Parties that are ‘based on or relating to,

or in any manner arising from, in whole or in part, the Debtors,’” misrepresents the plain

language of the Plan. (Canadian Appellants’ Br. at 11.)

       Moreover, the Plan provides for an additional specific limitation on the Shareholder

Releases with respect to Purdue Canada. Claims that are “Excluded Claims” are excluded from

the Shareholder Release. (See App. A3176 (Plan § 10.7(b)) (“Notwithstanding anything herein




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to the contrary, (x) nothing in the Plan shall release any Excluded Claim”).) The Plan defines

“Excluded Claim” to include:

        . . . (v) any Cause of Action . . . against any non-Debtor Person (including, without
        limitation . . . “Purdue Canada”[] or any other Shareholder Released Party) that (x) arises
        out of or relates to the conduct of any corporations, companies, partnerships and other
        entities formed under the laws of Canada or its provinces affiliated or associated with any
        of the Debtors, including, without limitation, Purdue Canada and (y) is not based upon
        any conduct of the Debtors, including any Opioid-Related Activities of the Debtors . . . .

(App. A3064 (Plan at 10).) To further dispel any doubt, the definition of “Excluded Claim” goes

on to state:

        For greater certainty, with respect to the foregoing clause (v), to the extent a Cause of
        Action is asserted in Canada against a Shareholder Released Party and/or former director
        or officer of a Debtor, the knowledge of that Person regarding the Opioid-Related
        Activities of the Debtors may be asserted against that Person and form part of the Cause
        of Action in Canada, and any such assertion shall be without prejudice to all defenses of
        the applicable Shareholder Released Party or former officer or director to such assertion.

(Id.) This language was negotiated for months by counsel for the Canadian Provinces

specifically to preserve such governmental claims. (See App. A4552 (Hr’g Tr. 47:19-48:17

(Aug. 9. 2021); see also Agreed Stipulation and Order, Bankr. Dkt. No. 3520 at ¶ 2 & n.3). So,

too, the Canadian Appellants’ claims concerning the operations of Purdue Canada will be

“Excluded Claims” unless those claims are “based upon any conduct of the Debtors . . . .” (Id.

(emphasis added).) Based upon the scope of the Shareholder Release under Section 10.7(b) and

the definition of Excluded Claim, the Bankruptcy Court correctly concluded that, “[t]o the extent

they are against Purdue Canada or other non-Debtors, [the Canadian Appellants’ claims] are

fully preserved under the plan. Nor are claims that are based on the shareholder released parties’

conduct related to non-Debtors released or enjoined under the plan.” (App. A3410 (MBR) at 33

n.2; see also id. at 39 n.3.) But, again, the Canadian Appellants never once cite to this plain

language of the Plan either, and instead misrepresent to this Court that the Plan sets a different

standard—that claims that “even touch” the Debtors are not Excluded Claims. (Canadian


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Appellants’ Br. at 12, 24). Furthermore, if the Canadian Appellants were correct that such

claims “are not subject to the carve-out and are [sic] released” (Canadian Appellants’ Br. at 24),

one would have expected, at a minimum, the Canadian Provinces (which negotiated the terms of

the carve-out over many months) or any other foreign governmental entity to have joined in this

objection. None has.

       B.      The Canadian Appellants are Subject to the Bankruptcy Court’s Personal
               Jurisdiction

       The Canadian Appellants suggest, wholly without support, that sovereign immunity

would, if applicable, bar the Bankruptcy Court’s imposition of the Shareholder Releases as to

them. (Canadian Appellants’ Br. at 26.) In addition to providing no legal authority for this

position, the Canadian Appellants premise their argument on the fact that the Shareholder

Releases “impose liability” on the Canadian Appellants. (Id.) Not so. (See Section I(B)(2)(iii),

supra.) But, even assuming arguendo that sovereign immunity could serve as an impediment to

imposing third-party releases on a foreign governmental creditor, it is no impediment here: The

Canadian Appellants freely and voluntarily subjected themselves to the jurisdiction of the

Bankruptcy Court by filing proofs of claim in these proceedings, and the Bankruptcy Code

abrogates any immunity they may have.

       While the Canadian Appellants first argue that they were “involuntarily hailed” into the

Bankruptcy Court (Canadian Appellants’ Br. at 39-42), that is patently untrue. Each of the

Canadian Appellants inserted themselves into these proceedings by voluntarily filing a proof of

claim against the Debtors. (See App. A4216, A4342-A4374 (Claim Nos. 145592, 144455,

144366, 144514, 144475, 144465).) In so doing, each of the Canadian Appellants voluntarily

subjected itself to the jurisdiction of the Bankruptcy Court. See In re S.G. Phillips Constructors,

Inc., 45 F.3d 702, 707 (2d Cir. 1995) (finding claimant “by filing its proof of claim in this case . .



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. necessarily submitted to the court’s equitable power to resolve its claims”). The Canadian

Appellants’ argument that the Court exercised jurisdiction over absentee class members is

similarly nonsensical. No class of Canadian Municipalities or Canadian First Nations and Metis

People have been certified in the underlying litigation, as the Canadian Appellants concede

(Canadian Appellants’ Br. at 7, 42), and they never even filed a motion for leave to file class

proofs of claim in the chapter 11 cases. Indeed, no class has been certified for any creditor group

in the chapter 11 cases. The six Canadian Appellants speak for themselves alone, and cannot

assert the rights of third parties not before the Court.

                1.      Sovereign Immunity under the FSIA is Abrogated by Section 106(a)

        Section 106(a) of the Bankruptcy Code abrogates any sovereign immunity that the

Canadian Municipalities may have under the Foreign Sovereign Immunities Act (“FSIA”).

Section 106(a) provides that, with respect to certain enumerated sections of the Code, including

section 105 under which the Shareholder Releases are issued, see Section I.A, supra,

“[n]otwithstanding an assertion of sovereign immunity, sovereign immunity is abrogated as to a

governmental unit.” 11 U.S.C. § 106(a). As relevant here, “governmental unit” is defined to

include a “foreign state” and any “other foreign or domestic government.” 11 U.S.C. § 101(27).

The Canadian Appellants do not dispute that the four Canadian Municipalities fall within the

scope of section 101(27).

        Every court to have considered the issue has held that section 106 abrogates sovereign

immunity under the FSIA. Less than one month ago, Judge Hellerstein identified two prior cases

as the only cases addressing this issue—In re Tuli, 172 F.3d 707 (9th Cir. 1999) and In re RMS

Titanic, Inc., 569 B.R. 825 (Bankr. M.D. Fla. 2017). See Kyrgyz Repub. v. Kumtor Gold Co.

CJSC (In re Kumtor Gold Co. CJSC), No. 21 Civ. 6578, 2021 WL 4926014, at *5 n.2 (S.D.N.Y.

Oct. 20, 2021). In In re Tuli, the Ninth Circuit held that a “foreign state or other foreign or


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domestic government” “can no longer assert sovereign immunity from liability for certain

actions under the Bankruptcy Code” because section 106 abrogated sovereign immunity under

the FSIA, and thus Iraq could not assert sovereign immunity as a defense to an adversary

proceeding brought by a civil engineering contractor pursuant to section 542. 172 F.3d at 711-

12. And, relying on Tuli, the Bankruptcy Court for the Middle District of Florida held that

section 106(a) abrogated sovereign immunity as to the Republic of France with respect to claims

for recovery of artifacts salvaged from the RMS Titanic pursuant to sections 105 and 363. In re

RMS Titanic, Inc., 569 B.R. at 833.

       The Canadian Appellants’ argument accordingly finds no support in applicable

precedent—and the two cases the Canadian Appellants cite are not to the contrary. In In re Stone

& Webster, the Bankruptcy Court for the District of Delaware considered only whether the court

had jurisdiction over a breach of contract adversary proceeding under the commercial activities

exception to the FSIA. In re Stone & Webster Inc., 276 B.R. 360, 362, 365 (Bankr. D. Del.

2002). As section 106(a) and the abrogation of sovereign immunity under the Bankruptcy Code

were not at issue, In re Stone & Webster has no bearing on the instant appeal. Similarly, In re

EAL (Delaware) Corp. is inapposite because that case involved a predecessor version of section

106(a) which contained a narrower abrogation of sovereign immunity that only applied to “any

claim against such governmental unit . . . that arose out of the same transaction or occurrence out

of which such governmental unit’s claim arose.” No. 93-578-SLR, 1994 WL 828320, at *12 (D.

Del. Aug. 3, 1994). The District Court for the District of Delaware there held only that the act at

issue did not constitute a “claim” within the meaning of the predecessor statute, id., which

holding has no relevance to the alleged sovereign immunity of the Canadian Municipalities here.




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               2.      Canadian First Nations’ Sovereign Immunity Argument is Baseless

       For the very first time in these cases, the Canadian Appellants argue on appeal that the

alleged sovereign immunity of the Canadian First Nations derived from common law and not the

FSIA prevents the Shareholder Releases from being imposed on them. (Canadian Appellants’

Br. at 27-30, 33-36.) As a procedural matter, this argument should be dismissed as it was never

raised before the Bankruptcy Court, despite numerous opportunities to do so. See e.g., In re

Great Atl. & Pac. Tea Co., Inc., 472 B.R. at 679. On the merits, the Canadian Appellants’

argument is unavailing as it simply ignores, if not purposefully obfuscates, the material

distinction between domestic Indian tribes and the foreign Canadian First Nations.

       Section 101(27) of the Bankruptcy Code defines “governmental unit” to mean “United

States; State; Commonwealth; District; Territory; municipality; foreign state; department,

agency, or instrumentality of the United States . . . , a State, a Commonwealth, a District, a

Territory, a municipality, or a foreign state; or other foreign or domestic government.” 11

U.S.C. § 101(27). The term does not expressly include domestic Indian tribes, but does include

“other . . . domestic government[s].”

       Whether section 101(27) applies to domestic Indian tribes is the subject of debate in light

of the doctrine of domestic tribal sovereign immunity under U.S. law, which is grounded in the

complex history of the relationship between the Indian tribes within the boundaries of the United

States—the so-called non-foreign “domestic dependent nations” of Cherokee Nation v. Georgia,

30 U.S. 1, 17 (1831)—and the U.S. Government. See, e.g., Michigan v. Bay Mills Indian

Community, 572 U.S. 782, 800 (2014) (describing domestic tribes as retaining a “special brand

of sovereignty”). Given the canons of statutory construction premised on this “special”

relationship, courts are split as to whether domestic Indian tribes are “other . . . domestic

governments[s]” within the meaning of section 101(27) and, therefore, “governmental units”


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whose sovereign immunity Congress intended to abrogate under section 106(a). See, e.g., In re

Greektown Holdings, LLC, 532 B.R. 680, 690-701 (E.D. Mich. 2015) (summarizing split and

holding “other domestic governments” under the Bankruptcy Code did not “unambiguously,

clearly, unequivocally and unmistakably refer[] to Indian tribes”); In re Money Center of Am.,

Inc., 565 B.R. 87, 101-03 (Bankr. D. Del. 2017) (summarizing split and following Greektown

and Whitaker); compare Krystal Energy Co. v. Navajo Nation, 357 F.3d 1055, 1056 (9th Cir.

2004), as amended on denial of reh'g (Apr. 6, 2004) (finding that “Congress did abrogate the

sovereign immunity of Indian tribes under 11 U.S.C. §§ 106(a) and 101(27)” through the term

“other domestic governments”); In re Vianese, 195 B.R. 572, 575-76 (Bankr. N.D.N.Y. 1995)

(same) with In re Whitaker, 474 B.R. 687, 695 (B.A.P. 8th Cir. 2012) (holding that section

101(27) did not encompass Indian tribes because, while domestic, Indian tribes have not been

referred to as “governments” by the Supreme Court); In re Mayes, 294 B.R. 145, 148 n. 10

(B.A.P. 10th Cir. 2003) (interpreting “domestic government” in section 101(27) to not include

Indian nations and tribes).

       None of this debate, however, applies to the two Canadian First Nations, which are not

domestic. (See Canadian Appellants’ Br. at 47-48.) First, Canadian Appellants have provided

no support, evidentiary or otherwise, for the principle that the two Canadian First Nations have

sovereign immunity. A proponent of sovereign immunity, including “in the case of a party

claiming tribal sovereign immunity,” bears “the burden of establishing that they are entitled to

sovereign immunity.” City of New York v. Golden Feather Smoke Shop, Inc., No. 08-CV-3966

(CBA), 2009 WL 705815 (E.D.N.Y. Mar. 16, 2009). The only case on which the Canadian

Appellants rely, Canadian St. Regis Band of Mohawk Indian ex rel. Francis v. New York, does

not support their argument. There, the district court specifically did not decide whether the




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Canadian tribal entities before it were, in fact, legal tribes, and, in holding tribal sovereign

immunity did not bar the claims at issue, did not need to reach the question. 278 F. Supp. 2d

313, 321 n.3, 358-60 (N.D.N.Y. 2003).

       Second, the Canadian Appellants do not and cannot explain why section 106(a)’s catch-

all reference to “other foreign [] governments” does not apply to the two Canadian First Nations

without inventing a new unstated limitation that an entity is an “other foreign . . . government”

only if it has “full governmental authority.” (Canadian Appellants’ Br. at 35.) They identify no

legal authority for such a condition, have made no effort to demonstrate that this condition, if it

were to exist, would apply here as a matter of fact, and the evidentiary record is closed.

Moreover, to the extent that the Canadian Appellants suggest that section 106(a) cannot abrogate

the sovereign immunity of foreign native tribes if it does not abrogate the immunity of domestic

Indian tribes, this argument too must fail. As explained above, the division among courts on the

issue of whether Congress intended to include domestic Indian tribes in the definition of

“governmental unit” emanates from the “special” relationship between domestic Indian tribes

and the U.S. Government. That nuanced split has no bearing on whether Congress intended to

include any foreign tribal or similar governmental entity—which has no similar “special”

relationship with the U.S. Government and could take many different forms in jurisdictions

around the world—through the “other foreign [] governments” catch-all. Accordingly, this

argument should be overruled.

       C.      Claims of the Canadian Appellants Are Properly Classified in Class 11(c)
               and Have an Opportunity for Compensation Accordingly

       The Canadian Appellants argue that the Plan violates section 1123(a)(4) of the

Bankruptcy Code because the Canadian Appellants’ claims will not receive the same treatment

as claims of domestic municipalities and domestic Indian tribes in Classes 4 and 5. (See



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Canadian Appellants’ Br. at 46-47.) Section 1123(a)(4) has no application to the Canadian

Appellants’ appeal because it requires equality of treatment only among creditors in the same

class, 11 U.S.C. § 1123(a)(4); see In re Multiut Corp., 449 B.R. 323, 336 (Bankr. N.D. Ill. 2011),

and the Canadian Appellants are classified in Class 11(c).

       To the extent the Canadian Appellants mean to argue that they should have been

classified in Classes 4 and 5, this, too, would fail because a Debtor may separately classify

claims so long as the classification scheme has a reasonable basis. See Boston Post Rd. Ltd.

P’ship v. FDIC (In re Boston Post Rd. Ltd. P’ship), 21 F.3d 477, 482-83 (2d Cir. 1994)

(recognizing similar claims may be separately classified unless sole purpose is to engineer

assenting impaired class); In re Drexel Burnham Lambert Grp., Inc., 138 B.R. at 757 (“A plan

proponent is afforded significant flexibility in classifying claims under § 1122(a) if there is a

reasonable basis for the classification scheme and if all claims within a particular class are

substantially similar.”); see also In re LightSquared, Inc., 513 B.R. 56, 83 (Bankr. S.D.N.Y.

2014); see generally 7 COLLIER ON BANKRUPTCY ¶¶ 1122.03, 11.29.03 (16th Ed. 2021). The

Bankruptcy Court concluded that “there are reasonable bases for separately classifying” the

Canadian Appellants’ claims, (App. A3411-12 (MBR) at 34-35), and the Canadian Appellants

identify no evidence that could show this finding to be clear error. The Bankruptcy Court found,

and the Canadian Appellants do not dispute, that the Canadian Appellants (i) operate under

different regulatory regimes “with regard to opioids and abatement” than do domestic

counterparts; and (ii) “the allocation mediation conducted by Messrs. Feinberg and Phillips that

resulted in the plan’s division of the Debtors’ assets and third-party claims . . . involved only

U.S.-based public claimants with their own regulatory interests and characteristics.” (App.

A3512 (MBR) at 35.) Indeed, in an odd turn, the Canadian Appellants go to great lengths to




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distinguish their claims from those held by the domestic creditors in Classes 4 and 5: they

explain (i) “[t]he Canadian Appellants are in Canada, [(ii)] the bulk of their legal claims arise in

Canada, [(iii)] those claims concern the operations of Purdue Canada,” and (iv) the Canadian

Appellants’ claims “bear no relation to the Shareholder Released Parties’ control, direction, and

oversight of the Debtors or their U.S. operations.” (Canadian Appellants’ Br. at 17-18 (emphasis

in original).) These concessions provide a more than sufficient basis to classify the Canadian

Appellants’ claims separately from those of domestic municipalities and Indian tribes. The logic

of the Bankruptcy Court’s findings is further underscored, as the Court noted, by the fact that

“U.S. and Canadian creditors have been found to be properly classified separately,” in prior mass

tort cases. (App. A3512-12 (MBR) at 35-36 (citing In re Dow Corning Corp., 280 F.3d at 661; In

re W.R. Grace & Co., 729 F.3d 311, 329-30 (3d Cir. 2013)).)

        Any inquiry regarding the treatment of the Canadian Appellants’ claims thus ends at their

concession that their claims will receive the same treatment as all other Claims in Class 11(c)

(Canadian Appellants’ Br. at 44, 47-48.), which is all the Code requires. Because Class 11(c)

accepted the Plan, (App. A0735 (JX-3028) (Pullo Decl.), Ex. A.) the Canadian Appellants cannot

argue that the Plan discriminates against their class of claims, which can only be raised by a

creditor in a dissenting class. 11 U.S. Code § 1129(b)(1) (“[T]he court . . . shall confirm the plan

. . . if the plan does not discriminate unfairly . . . with respect to each class of claims or interests

that is impaired under, and has not accepted, the plan.”) (emphasis added). And they could not

show any “unfair discrimination” given that they made no attempt at trial to compare the ratable

recoveries in each class, but instead compare only the value reserved for each class. And this too

shows nothing: that there is “only” $15 million reserved for Class 11(c) tells nothing about

recoveries to class 11(c) claimants, or how those compare to the recoveries on the trillions of




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dollars of claims asserted in classes 4 and 5. That the Canadian Appellants wish they received

something more or different, at the expense of all other creditors, is no basis to overturn

confirmation of the Plan.

V.     The Bankruptcy Court Did Not Abuse Its Discretion In Issuing the Disclosure
       Statement Order or the Advance Order

       The U.S. Trustee also appeals the “related” order approving the Debtors’ disclosure

statement and the Advance Order because “[n]on-debtor releases are unconstitutional and violate

the Bankruptcy Code.” (UST Br. at 57-58.) Because the U.S. Trustee’s challenge to these

related orders is predicated on its erroneous argument that the Shareholder Releases are illegal,

this Court should affirm these orders for the reasons established above.

                                         CONCLUSION

       For the foregoing reasons, the Bankruptcy Court’s order confirming the Debtors’ Twelfth

Amended Plan, the Disclosure Statement Order, and the Advance Order should be affirmed.




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Dated:    November 15, 2021
          New York, New York

                                      DAVIS POLK & WARDWELL LLP

                                      By: /s/ Marshall S. Huebner

                                      450 Lexington Avenue
                                      New York, New York 10017
                                      Telephone: (212) 450-4000
                                      Facsimile: (212) 701-5800
                                      Marshall S. Huebner
                                      Benjamin S. Kaminetzky
                                      Eli J. Vonnegut
                                      James I. McClammy
                                      Marc J. Tobak
                                      Gerard X. McCarthy


                                      Counsel to the Appellees-Debtors
                                      and Debtors in Possession




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                                          Annex A

                  Select Allegations in Complaints Filed by State Appellants

                                          California
 App. 4974 (JX-0947) (First Am. Comp., The People of California v. Purdue Pharma L.P., No.
                            19STCVl9045 (L.A. Super Ct. 2019))
       Defendants                                       Allegations

Entities: Purdue Pharma           ¶ 6: “Purdue, under the direction of the Sacklers, continued
L.P.; Purdue Pharma Inc.;          its aggressive deceptive marketing campaign and over-
The Purdue Frederick               promotion of opioids following its 2007 guilty plea.”
Company Inc.
                                  ¶ 8: “The Sacklers were directly involved in developing,
                                   directing, and voting on Board matters that facilitated
Individual Defendants:
                                   Purdue's deceptive practices that helped create the crisis we
Dr. Richard S. Sackler;
                                   face today.”
Beverly Sackler; Jonathan
Sackler; David Sackler;           ¶ 17: “At all relevant times, Dr. Richard Sackler, through
Marianna Sackler; Theresa          his direction of Purdue and participation in the marketing
Sackler; Ilene Sackler             and sales activities of Purdue, has transacted business
Lefcourt; Dr. Kathe                throughout California, including in Los Angeles County.”
Sackler; Mortimer D.A.             See also ¶¶ 19-25.
Sackler; and Does 9
                                  ¶ 191: “Purdue is a family-owned business. The Sacklers
through 100
                                   have always controlled Purdue, and occupied a majority of
                                   Purdue Pharma Inc.'s Board since its inception in 1990 until
                                   2018 . . . The Sacklers had control and oversight over
                                   Purdue's deceptive conduct.”
                                  ¶ 192: “The Sacklers were actively involved in directing
                                   Purdue’s marketing strategies in a way that downplayed
                                   opioids’ many risks and overstated their benefits. The
                                   Sacklers made decisions that caused Purdue to downplay the
                                   addictive nature of their opioids . . .”

                                         Connecticut
Appealing States App. A-525 (Second Am. Comp., State of Connecticut v. Purdue Pharma L.P.,
              No. X07 HHD-CV-XX-XXXXXXX-S (Hartford Sup. Ct. July 1, 2019))

Entities: Purdue Pharma           ¶ 92: “Beginning in 2008, Purdue at the direction of the
L.P.; Purdue Pharma Inc.;          Individual Defendants, began adding hundreds of sales
Purdue Holdings L.P.;              representatives to their sales force, until their sales force
PLP Associates Holdings            reached a high in 2016 of more than double what it had been
L.P.; BR Holdings                  in 2007, to help carry out their deceptive sales campaign.”
Associates L.P.; Rosebay
                                  ¶ 112: “The Individual Defendants played an active and
Medical Company L.P.;
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and Beacon Company               central role in the management of Purdue.”
                                ¶ 113: “Starting at the top, the Sacklers own and led
Individual Defendants:
                                 Purdue. The Sacklers were directly involved in developing
Richard S. Sackler;
                                 and approved Purdue’s deceptive and illegal activities in
Theresa Sackler; Kathe
                                 Connecticut, and they each participated in the decisions to
Sackler; Jonathan Sackler;
                                 mislead Connecticut prescribers, and patients to generate a
Mortimer D.A. Sackler;
                                 huge financial windfall for themselves.”
Beverly Sackler; David
Sackler; Ilene Sackler          ¶ 114: “The other Individual Defendants were directly
Lefcourt; Frank Peter            involved in developing and approving Purdue’s deceptive
Boer; Paulo Costa; Cecil         and illegal activities in Connecticut, and they each
Picket; Ralph Snyderman;         participated in the decisions to mislead Connecticut
Judith Lewent; John              prescribers and patients in return for money.”
Stewart; and Mark
                                ¶ 132: “The Individual Defendants participated directly in
Timney
                                 Purdue’s unfair and deceptive acts and practices alleged in
                                 this Complaint.” See also ¶¶ 133-44.

                                        Delaware

Appealing States App. A-1289 (JX-1646) (Comp., Delaware v. Sackler, No. N19C-09-062 MMJ
                           CCLD (Del. Super. Ct. Sep. 9, 2019))

Entities: None                  ¶ 9: “The Sackler-directed aggressive marketing campaign
                                 enabled Purdue to overcome the longstanding medical
Individual Defendants:           consensus that opioids were unsafe for the treatment of
Richard Sackler; Jonathan        chronic pain . . .”
Sackler; Mortimer D.A.
                                ¶ 60: “Under the management, control, and direction of the
Sackler; Kathe Sackler;
                                 Sackler Defendants, Purdue has engaged in a multi-million-
Ilene Sackler Lefcourt;
                                 dollar marketing campaign to minimize and misstate the
Theresa Sackler; David
                                 risks of addiction and abuse when prescription opioids are
Sackler
                                 used to treat chronic pain.”
                                ¶ 90: “Purdue specifically targeted its marketing to primary
                                 care physicians, who are generally less aware of the medical
                                 literature regarding the dangers of treating chronic pain with
                                 opioids . . .”
                                ¶ 254: “The Sackler Defendants knew or should have
                                 known that their continuing efforts to employ deceptive and
                                 unfair marketing, despite Purdue being previously
                                 sanctioned by government agencies for such actions, would
                                 contribute to the opioid epidemic in Delaware . . .”




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                                   District of Columbia

       App. A4946 (JX-0946) (Unredacted Comp., District of Columbia v. Purdue Pharma L.P.,
              No. 2019 CA 003680 B (D.C. Super. Ct. Civil Div. July 8, 2019))

Entities: Purdue Pharma          ¶ 47: “At all times material to this Complaint, R. Sackler,
L.P.; Purdue Pharma Inc.          acting alone or in concert with others, has formulated,
                                  directed, controlled, had the authority to control,
Individual Defendants:            participated in, or with knowledge approved of the acts or
Richard Sackler                   practices of Purdue, including the unlawful acts and
                                  practices set forth in this Complaint.”
                                 ¶ 52: “R. Sackler repeatedly impelled Purdue management
                                  to increase the sale of Purdue’s opioids.”
                                 ¶ 53: “R. Sackler and the rest of the Purdue Board were
                                  actively involved in shaping the messages that Purdue sales
                                  representatives provided during their sales calls.”
                                 ¶ 54: “R. Sackler was involved in forming strategies that
                                  Purdue used to combat bad press that Purdue received about
                                  its opioids.”
                                 ¶ 55: “R. Sackler was involved in helping Purdue negotiate
                                  a label for OxyContin with the FDA that would enable the
                                  company to broadly market its new drug.”
                                 ¶ 57: “In sum, R. Sackler was involved in overseeing and
                                  directing the business of Purdue, including but not limited to
                                  by: making hiring decisions, setting the budgets (and
                                  therefore the goals) for opioids sales, analyzing (and
                                  criticizing) the work of Purdue employees, setting bonuses
                                  for Purdue employees . . .”

                                         Maryland

       App. A4838 (JX-1753) (Comp., Consumer Protection Division (AG Office, Maryland) v.
                    Purdue Pharma, L.P., No. 311366 (May 29, 2019))

Entities: Purdue Pharma          ¶ 62: “Richard Sackler, Jonathan Sackler, Mortimer
L.P.; Purdue Pharma Inc.;         Sackler, Kathe Sackler, Ilene Sackler Lefcourt, Theresa
The Purdue Frederick              Sackler, and David Sackler . . . each knowingly aided,
Company Inc.; Purdue              participated in and benefited from the unlawful conduct of
Pharmaceutical Products           Purdue. They were deeply and personally involved. Purdue
LP; Avrio Health Limited          is the family business.”
Partnership; Rhodes
                                 ¶ 63: “At the direction of the Sackler Respondents, Purdue
Pharmaceuticals LP
                                  has in the last two decades manufactured, marketed, sold,
                                  and distributed opioids in Maryland and nationwide . . .”


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Individual Defendants:           ¶ 65: “The Sackler Respondents were chief architects and
Richard Sackler; Jonathan         beneficiaries of Purdue’s false marketing and deception and
Sackler; Mortimer D.A.            failure to report suspicious orders.”
Sackler; Kathe Sackler;
                                 ¶ 67: “The Sackler Respondents controlled and directed all
Ilene Sackler Lefcourt;
                                  of the misconduct described herein; including knowingly
Theresa Sackler; David
                                  and intentionally directing sales representatives to promote
Sackler
                                  Purdue’s addictive and lethal narcotics and failing to report
                                  suspicious orders.”
                                 ¶ 108: “At the Sackler Respondents’ direction, Purdue
                                  managers hired and trained a sales force comprised of
                                  hundreds of sales reps.”
                                 ¶ 120: “At the Sackler Respondents’ direction, Purdue also
                                  tracked physicians’ prescribing practices . . .”
                                 ¶ 128: “At the Sackler Respondents’ direction, Purdue
                                  encouraged doctors to prescribe high doses and failed to
                                  warn that higher doses carry heightened risk of addiction,
                                  overdose, and death.”
                                 ¶ 222: “The Sackler Respondents helped direct Purdue’s
                                  unlawful marketing techniques, using many of the same
                                  unethical techniques developed by Arthur Sackler, to
                                  maximize their sales of opioid products. The Sackler
                                  Respondents worked hard to ensure that Purdue succeeded
                                  financially.”
                                 ¶ 225: “The Sackler Respondents were deeply involved in
                                  OxyContin’s marketing campaign.”
                                 ¶ 232: “The Sackler Respondents participated in the unfair
                                  and deceptive trade practices engaged in by Purdue.”
                                 ¶ 253: “The Sackler Respondents, in their capacities as
                                  directors and executives, controlled the operation of
                                  Purdue’s sales representatives.”



                                          Oregon

  App A4814 (JX-1647) (Comp., State of Oregon v. Richard S. Sackler et al., No. 19CV22185
                         (Multnomah Cir. Ct. Aug. 30, 2019))

Entities: Purdue Pharma          ¶ 25: “By virtue of their control of Purdue Pharma Inc., the
L.P.; Purdue Pharma Inc.          Sacklers have complete control over Purdue Pharma L.P.”
                                 ¶ 37: “Richard Sackler also constantly pressured Purdue’s
Individual Defendants:
                                  executives to increase sales.”
Richard S. Sackler;


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Jonathan D. Sackler;              ¶ 46: “As Board members of Purdue Pharma Inc., the
Mortimer D.A. Sackler;            general partner of Purdue Pharma L.P., the Sacklers voted
Kathe A. Sackler; Ilene           for hundreds of resolutions that directed Purdue Pharma
Sackler Lefcourt; David           L.P. to transfer money out of the company to entities they
A. Sackler; Beverly               controlled and owned.”
Sackler; Theresa Sackler

 App. A5038 (JX-0783) (Comp., State of Oregon v. Richard S. Sackler et al., No. 19CV44161
                         (Multnomah Cir. Ct. Oct. 10, 2019))

Entities: None                   ¶ 17: “In particular, as members of Purdue’s Board, the
                                  Sacklers approved and oversaw a deceptive marketing
Individual Defendants:            scheme that was purposely directed at Oregon prescribers,
Richard S. Sackler;               patients, and the State itself.”
Jonathan D. Sackler;
                                 ¶ 29: “Purdue is an agent of the Sacklers. Purdue’s own
Mortimer D.A. Sackler;
                                  CEO stated directly that the Sacklers control Purdue by
Kathe A. Sackler; Ilene
                                  ‘serv[ing] as the ‘de facto’ CEO.’”
Sackler Lefcourt; David
A. Sackler; Beverly              ¶ 33: “In the State of Oregon, the Sacklers, through Purdue,
Sackler; Theresa Sackler          aggressively and illegally marketed and promoted
                                  OxyContin.”
                                 ¶ 46: “Purdue implemented the Sacklers’ demand for ever-
                                  increasing sales by hiring more and more sales staff to
                                  aggressively push Purdue’s opioid products.”
                                 ¶ 51: “The Sacklers directed Purdue to focus its sales
                                  efforts on reckless prescribers, knowingly causing a
                                  substantial risk of serious injury to Oregonians.”

                                       Rhode Island

 Appealing States App. A-2322 (JX-2214) (Comp., Rhode Island v. Sackler, No. PC2019-9399
                              (R.I. Super. Ct. Sep. 10, 2019))

Entities: None                   ¶ 10: “Through their decisions and directives, the Sacklers
                                  knowingly caused the promotion and sales of Purdue and
Individual Defendants:            Rhodes opioids in Rhode Island, from the sales messages
Richard S. Sackler;               passed directly to Rhode Island prescribers by Purdue sales
Jonathan D. Sackler;              representatives, to the third-party articles and webinars
Mortimer D.A. Sackler;            made available to Rhode Island prescribers by Purdue.”
Kathe A. Sackler; Ilene
                                 ¶ 44: “The Sacklers controlled Purdue and directed Purdue's
Sackler Lefcourt; David
                                  misconduct as described herein and in Exhibit A.”
A. Sackler; Beverly
Sackler; Theresa Sackler         ¶ 58: “The Sacklers were behind Purdue's decision to
                                  deceive doctors and patients from the beginning. In 1997,
                                  Richard Sackler, Kathe Sackler, and other Purdue


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                                  executives determined—and recorded in secret internal
                                  correspondence—that doctors had the crucial misconception
                                  that OxyContin was weaker than morphine, which led them
                                  to prescribe OxyContin much more often—even as a
                                  substitute for Tylenol. In fact, OxyContin is more potent
                                  than morphine. Richard Sackler directed Purdue staff not to
                                  tell doctors the truth, because the truth could reduce
                                  OxyContin sales.”
                                 ¶ 79: “From 2007 through 2018, the Sacklers controlled
                                  Purdue's deceptive sales campaign. They directed the
                                  company to hire hundreds more sales representatives, who
                                  visited doctors thousands more times.”

                                         Vermont

   Appealing States App. A-1553 (JX-1649) (Comp., State of Vermont v. Sackler (Super. Ct.
                             Chittenden Unit May 21, 2018))

Entities: None                   ¶ 3: “Purdue executed this scheme at the direction of eight
                                  people in a single family that owned the company and
Individual Defendants:            controlled a majority of the seats on the company’s board of
Richard S. Sackler;               directors: the Sacklers.”
Beverly Sackler; David A.
                                 ¶ 5: “The Sacklers shaped the marketing campaigns that
Sackler; Ilene Sackler
                                  Purdue carried out, and they set sales objectives.”
Lefcourt; Jonathan D.
Sackler; Kathe Sackler;          ¶ 11: “From 2007 into 2018, the Sacklers charted a new—
Mortimer D.A. Sackler,            but equally crooked—course for Purdue.”
and Theresa Sackler
                                 ¶ 27: “For decades, Purdue—with the Sacklers at its
                                  helm—cultivated the demand for its opioids and opioids
                                  generally, and profited from their overprescribing, misuse,
                                  and abuse.”
                                 ¶ 45: “From these positions—as Board members and high-
                                  ranking executive employees of Purdue—the Sacklers were
                                  personally aware of, condoned and directed, and were
                                  responsible for the deceptive and unfair marketing activities
                                  described below.”
                                 ¶ 107: “Continuing their pattern of deep involvement in
                                  Purdue’s operations, the Sacklers directed the company to
                                  hire hundreds more sales representatives to visit doctors
                                  thousands more times.”
                                 ¶ 135: “The Sacklers also knew and intended that the sales
                                  representatives would push higher doses of Purdue’s
                                  opioids.”



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                       ¶ 379: “[T]he Sacklers constantly directed Purdue to be
                        more aggressive with its sales force. Between 2008 and
                        2016, the Sacklers directed significant expansions of the
                        sales force, with the express purpose of increasing revenues.
                        The Sacklers also pushed Purdue to increase the intensity of
                        detailers’ activities-requiring more visits per day and more
                        visits to higher volume prescribers. Between 2008 and 2017,
                        Purdue repeatedly approved increases in the number of sale
                        representatives and the budget for marketing. At the same
                        time, the Sacklers were setting and approving sales goals-in
                        terms of dollars, prescriptions written, and milligrams
                        purchased.”




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                                          Annex B

                  Select Allegations in Complaints Identified by U.S. Trustee

                               Hickey v. Purdue Pharma, et al.

          Volume I of Exhibits to Memorandum of Law in Support of Appellant United States
Trustee’s Motion For Judicial Notice [ECF No. 89] Exhibit 4 (Comp., Hickey v. Purdue Pharma
                                           L.P.)

Entities: Purdue Pharma           ¶ 3: “Members of the Sackler Family and other Purdue
L.P.; Purdue Pharma Inc.           Executives purposefully downplayed the addictive
                                   properties of OxyContin and promoted sales tactics meant to
Individual Defendants:             encourage doctors to prescribe as much OxyContin, in the
Richard Sackler; Theresa           highest doses and longest duration as possible—despite the
Sackler; Kathe Sackler;            potential risk of abuse . . .”
Jonathan Sackler;
                                  ¶ 5: “The Sackler Family through Purdue Pharma caused
Mortimer Sackler; David
                                   pain and suffering through intentional fraud, violating the
Sackler; Ilene Sackler
                                   Consumer Protection Act.”
Lefcourt
                                  ¶ 7: “Through Purdue and the Sackler Familys deceptive
                                   and unfair acts, I . . . suffered . . . losses.”

                                     Hartman v. Sackler

       Volume I of Exhibits to Memorandum of Law in Support of Appellant United States
Trustee’s Motion For Judicial Notice [ECF No. 89] Exhibit I (Comp., Hartman v. Sackler)

Entities:                         ¶ 28: “To maximize revenue, the defendants increased the
                                   dose for OxyContin and developed the slogan, Individualize
Individual Defendants:             The Dose.”
Richard Sackler; David
                                  ¶ 41: “In 1996, they launched OxyContin. From the
Sackler; Ilene Sackler
                                   beginning of the launch the Sacklers viewed limits on
Lefcourt; Jonathan
                                   opioids as an obstacle to greater profits. The Sacklers
Sackler; Kathe Sackler;
                                   considered selling OxyContin in some countries as an
Mortimer Sackler; Theresa
                                   uncontrolled drug. In February of 1997, the Sackler’s [sic]
Sackler; Peter Boer; Judith
                                   staff reported to them that selling Oxycontin as ‘non-
Lewent;
                                   narcotic,’ without the safeguards that protect patients from
Cecil Pickett; Paulo Costa;
                                   addictive drugs would provide ‘a vast increase of the market
Ralph Snyderman; Ralph
                                   potential.’”
Snyderman; John Stewart;
Mark Timney; Craig                ¶ 46: “Starting in 1999, the Sacklers hired hundreds of
Landau; Russell Gasdia             additional sales representatives, whom they used to deceive
                                   doctors into believing that the risk of addiction to
                                   OxyContin was ‘less than one percent.’”
                                  ¶ 53: “On May 9, 2007, the Sacklers again voted to have
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                                     their company [Purdue] plead guilty and enter a series of
                                     agreements by which the Sacklers’ business would never
                                     deceive doctors and patients about opioids again. The
                                     Sacklers admitted in an Agreed Statement of Facts that, for
                                     more than six years, Sacklers’ supervisors and employees
                                     intentionally deceived doctors about OxyContin . . .”

                                  Heden v. Johnson & Johnson

 Volume I of Exhibits to Memorandum of Law in Support of Appellant United States Trustee’s
  Motion For Judicial Notice [ECF No. 89] Exhibit 3 (Comp., Heden v. Johnson & Johnson)

Entities: Purdue                    Pg. 5: “All distributed by Purdue Pharma L.P., Rhodes
Pharmaceuticals L.P.;                Pharmaceuticals L.P. . . . the Sackler's [sic], and others
Rhodes Pharmaceuticals               mentioned.”
L.P.23
                                    Pg. 7: “In 2010 alone, the Sackler family received $877
                                     million from OxyContin sales, this complaint shows, and
Individual Defendants:
                                     according to independent reports.”
Craig Landau; Richard
Sackler; David Sackler;             Pg. 8: “Richard Sackler, Purdue Pharmaceuticals L.P. . . .
Mortimer Sackler; the                and other Companies top Executives listed above are mainly
Sackler Family; Russell              responsible for fueling the opioid epidemic.”
Gasdia24
                                    Pg. 12: “No matter who he hurt, it was business as usual at
                                     Purdue Pharma L.P., as well as all other companies listed
                                     above with Richard Sackler and others pushing a purified
                                     street drug.”

                                 Rhodes v. Rhodes Techs., Inc.

         Volume I of Exhibits to Memorandum of Law in Support of Appellant United States
Trustee’s Motion For Judicial Notice [ECF No. 89] Exhibit 7 (Comp., Rhodes v. Rhodes Techs.,
                                           Inc.)

Entities: Rhodes                    ¶ 25: “Nevertheless, the Sackler Defendants, upon
Technologies, Inc.                   information and belief, remained actively involved in
                                     Purdue’s affairs and would also have been aware of
Individual Defendants:               deceptive marketing in their capacity as a board members at
Richard Sackler; Kathe               all relevant times.”
Sackler; Jonathan Sackler;
                                    ¶ 28: “From the time Purdue first developed OxyContin, the
Mortimer D.A. Sackler;
                                     Sackler Defendants were focused on sales. Richard Sackler

       23
            Non-Purdue defendants were also named.
       24
            Non-Sackler defendants were also named.


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Ilene Sackler Lefcourt;              had grand ambitions for Purdue.”
Beverly Sackler; Theresa
                                    Pgs. 30-31: “This drug crisis began with a lie to create a
Sackler; David Sackler25
                                     market for opioid drugs. It started with a decision by Purdue
                                     and the Sackler Defendants (collectively, “Purdue
                                     Entities”), to promote opioids deceptively and illegally in
                                     order to create a market for opioid drugs and significantly
                                     increase sales and costs to consumers, thereby generating
                                     billions of dollars in revenue for Purdue’s private owners,
                                     the Sackler family.”
                                    Pg. 37: “The Sackler family is the sole owner of Purdue and
                                     one of the wealthiest families in America, with a net worth
                                     of $13 billion as of 2016. The company’s profits go to
                                     Sackler family trusts and entities.”

                                  Tilley v. Purdue Pharma L.P.

          Volume I of Exhibits to Memorandum of Law in Support of Appellant United States
 Trustee’s Motion For Judicial Notice [ECF No. 89] Exhibit 8 (Comp., Tilley v. Purdue Pharma
                                            L.P.)

Entities: Purdue Pharma             ¶ 188: “Because the Sackler Family Defendants and/or the
L.P.; Purdue Pharma, Inc.;           Sackler Families control of the board of PPI, all of the
The Purdue Frederick                 officers employed by PPI and PPLP reported to them. This
Company, Inc.;                       ensured Sackler domination and control of PPI and PPLP.”
Rhodes Technologies;
                                    ¶ 191: “The Sackler Family Defendants . . . caused Purdue
Rhodes Technologies Inc.;
                                     and other associated companies that they beneficially owned
Rhodes Pharmaceuticals
                                     and controlled to distribute to the Sackler Families hundreds
L.P.; Rhodes
                                     of millions of dollars of profits earned by Purdue . . . from
Pharmaceuticals Inc.; The
                                     the sale of opioids.”
P.F. Laboratories, Inc.26
                                    ¶ 196: “As a senior executive of Purdue, Richard Sackler
Individual Defendants:               was actively involved in the invention, development,
Richard Sackler; Kathe               marketing, promotion, and sale of Purdue’s opioid products,
Sackler; Jonathan Sackler;           including OxyContin.”
Mortimer D.A. Sackler;
                                    ¶ 241: “Members of the Sackler family were daily on site at
Ilene Sackler Lefcourt;
                                     Purdue’s headquarters, controlling the management of their
Beverly Sackler; Theresa
                                     family business and all of its employees.”
Sackler; David Sackler;
Trust for the Benefit of the        ¶ 269: “The Sackler Family Defendants oversaw Purdue’s
Raymond Sackler Family               scheme to send sales representatives to visit doctors

       25
            Non-Sackler defendants were also named.
       26
            Non-Purdue defendants were also named.



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                                     thousands of times. They oversaw Purdue’s scheme to hire
                                     top prescribers to promote its opioids.”
                                    ¶ 272: “The directors, which included the Sackler Family
                                     Defendants, oversaw the tactics that sales representatives
                                     used to push opioids.” See also ¶¶ 272-83.

                        Map to Health v. AmerisourceBergen Drug Corp.

         Volume I of Exhibits to Memorandum of Law in Support of Appellant United States
    Trustee’s Motion For Judicial Notice [ECF No. 89] Exhibit 5 (Comp., Map to Health v.
                              AmerisourceBergen Drug Corp.)

Entities: Purdue Pharma             ¶ 75: “At all relevant times, at least through the end of 2018,
L.P.; Purdue Pharma, Inc.;           the Sackler Defendants controlled Purdue’s deceptive sales
The Purdue Frederick                 campaign.”
Company, Inc.27
                                    ¶ 619: “The Purdue Individual Defendants were also aware
                                     that Purdue regularly received ‘Reports of Concern’ about
Individual Defendants:
                                     abuse and diversion of opioids, as well as reports of other
Richard Sackler; Beverly
                                     adverse events, and also calls to Purdue’s compliance
Sackler; David Sackler;
                                     ‘hotline.’ In July 2007, staff told the Sackler Defendants that
Ilene Sackler Lefcourt;
                                     more than 5,000 cases of adverse events had been reported
Jonathan Sackler; Kathe
                                     to Purdue in just the first three months of 2007.”
Sackler; John Stewart;
Mark Timney; Craig                  ¶ 907: “Knowing that their products were highly addictive,
Landau; Russell Gasdia;              ineffective and unsafe for the treatment of long-term chronic
Mortimer D.A. Sackler;               pain, non-acute and noncancer pain, the Sackler Pharma
Theresa Sackler                      Enterprise, owned, directed and controlled at all times by
                                     the Sackler Defendants, engaged in a scheme to unlawfully
                                     increase their profits and sales, and grow their share of the
                                     prescription painkiller market.”




       27
            Non-Purdue defendants were also named.


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                           CERTIFICATE OF COMPLIANCE

       Pursuant to Federal Rule of Bankruptcy Procedure 8015(h), as modified by Judge

McMahon’s instruction at the October 12 Scheduling Hearing regarding page and word

limitations, the undersigned certifies that the above memorandum contains 43,294 words. The

above memorandum also complies with the typeface requirements of Federal Rule of

Bankruptcy Procedure 8015(a)(5) and type-style requirements of Federal Rule of Bankruptcy

Procedure 8015(a)(6), as modified by the January 29, 2020 Individual Practices and

Procedures—Chief Judge Colleen McMahon § V(D), because this memorandum has been

prepared in a proportionally spaced typeface using Microsoft Word 2016 in Times New

Roman 12-point font.




                                                       /s/ Marshall S. Huebner
                                                       Marshall S. Huebner
